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               7
               8                          UNITED STATES BANKRUPTCY COURT
               9                           CENTRAL DISTRICT OF CALIFORNIA
           10                                       SANTA ANA DIVISION
           11
                   In re                                )           Case No. 8:20-bk-13014-MW
           12                                           )
                                                        )           Chapter 11
           13              NORTHERN HOLDINGS, LLC,      )
                                                        )           DEBTORS’ OPPOSITION TO
           14                                           )           MOTION FOR RELIEF FROM THE
                                                Debtor. )           AUTOMATIC STAY UNDER 11 U.S.C.
           15                                           )           § 362 (2380 Live Oak Road, Paso Robles,
                                                        )           CA 93446, 1172 San Marcos Road, Paso
           16                                           )           Robles, CA 93446 and APN 027-145-
                                                        )           022); DECLARATIONS OF LEROY
           17                                           )           CODDING AND BRANT A.
                                                        )           SHEAFFER IN SUPPORT THEREOF
           18                                           )
                                                        )           Date: November 30, 2020
           19                                           )           Time: 9:00 a.m.
                                                        )           Place: Courtroom 6C
           20                                           )                  411 West Fourth Street,
                                                        )                  Santa Ana, CA 92701
           21
                            TO THE HONORABLE MARK S. WALLACE, UNITED STATES
           22
                   BANKRUPTCY JUDGE; MOVANT FARM CREDIT WEST, FLCA AND ITS
           23
                   ATTORNEYS OF RECORD; AND TO ALL INTERESTED PARTIES:
           24
                            Northern Holdings, LLC the debtor and debtor-in-possession (“DIP”) in the above-
           25
                   referenced Chapter 11 case (the “Debtor”), hereby submits its opposition to the Motion for
           26
                   Relief from the Automatic Stay under 11 U.S.C. §362(d)(1), (2), and (4) (the “Motion for
           27
                   Relief”) [Docket No. 11] filed by Farm Credit West, FLCA (the “Movant”), as follows:
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               1                                    I.   INTRODUCTION
               2         The Debtor owns real properties located at 2380 Live Oak Road, Paso Robles, CA
               3 93446 (“Live Oak”), 1172 San Marcos Road, Paso Robles, CA 93446 (“1172”), and APN
               4 027-145-022 (“Texas Road”) (collectively, the “Subject Properties”).
               5         On or about March 17, 2020, the Debtor’s sole and managing member, Leroy
               6 Codding - through his other limited liability company, Business Loan Capital - obtained a
               7 certified valuation report of the Subject Properties, prepared by The Property Sciences
               8 Group, Inc. (the “Appraisal Report”). The Appraisal Report is attached and incorporated
               9 herein and asserts a value of $25,500,000 for the Subject Properties. Per the Motion for
           10 Relief, the Movant holds a lien on the Subject Properties in the amount of $19,040,509.25.
           11 As such, the Movant is secured by an equity cushion of 25.33%.
           12            On the other hand, the Movant asserts that the value of the Subject Properties is
           13 $15,000,000 based on a declaration from the previous owner, Erich Russell in his Chapter
           14 11 bankruptcy case. See Declaration of Erich Russell in Response to Farm Credit West
           15 Motion re Use, Accounting and Control of Cash Collateral filed on February 14, 2020 (the
           16 “Russell Declaration”) [Docket No. 45 in Case 9:20-bk-10035-DS]. The Movant fails to
           17 attach an appraisal or a broker price opinion of the Subject Properties to the Motion for
           18 Relief. The Movant’s evidence of value is therefore inferior to the Debtor’s evidence of
           19 value.
           20            The Subject Properties were sold to the Debtor for value because Erich Russell
           21 (“Mr. Russell”) transferred title in exchange for debt assumption and a promissory note to
           22 Mr. Russell for the difference between outstanding debt and appraised value consisting of
           23 $6,440,000. The sale was an arms-length transaction because Mr. Russell is not a member
           24 of the Debtor, is not related and does not have any other relation to Mr. Codding, other
           25 than what is disclosed herein. This was not an insider transaction.
           26            The Movant makes unsubstantiated allegations that the “Debtor is an insider of Mr.
           27 Russell” and that “Mr. Russell is an insider of the Debtor.” There is no evidence provided
           28 in support of those allegations. The Movant just requests that the Court assume that the
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               1 Debtor is an insider of Mr. Russell. As set forth in detail below, the Debtor is not an
               2 insider of Mr. Russell nor is Mr. Russell an insider of the Debtor.
               3
               4                               II.   STATEMENT OF FACTS
               5         a.      Background
               6         The Debtor commenced its bankruptcy case by filing for relief under Chapter 11 of
               7 11 U.S.C. §101 et seq. (the "Bankruptcy Code") on October 28, 2020. The Debtor is
               8 operating its business and managing its financial affairs as a DIP pursuant to §§1107 and
               9 1108 of the Bankruptcy Code.
           10            The Debtor is a Minnesota LLC created on April 30, 2012 for the purpose of
           11 acquiring and restructuring a wine importer/distribution company in St. Paul, MN.
           12 Subsequently, the business held a minority stake in a newly formed import company and
           13 later disbanded in spinoffs.
           14            Leroy Codding is the sole and managing member of the Debtor (“Mr. Codding”).
           15            The Debtor owns and operates three real properties as set forth below. The Debtor
           16 acquired the above properties from Mr. Russell on October 27, 2020.
           17       “Live Oak”                                       FMV $9,700,000

           18       2380 Live Oak Road                               1st TD:
           19       Paso Robles, CA 93446                            Farm Credit (cross-collateralized with
                                                                     1172 and Texas Road)
           20       2 homes on the property.                         $19,040,509.25 (per the Motion for Relief)
           21       Unit #1 is vacant (tenant moved           Property Taxes:
           22       10/20/2020); new tenants to move in on/or County of San Luis Obispo County Tax
                    about 12/1/2020 for $1,800/month.         Collector
           23                                                 $13,625.84
                    Tenant #2 is former owner Erich Russell
           24
                    (see below) who pays $12,000; lease ends
           25       1/1/2022; rent is current.
           26       Debtor will contract with a third party to
           27       farm and will receive revenue from fruit
                    sales.
           28
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               1    “1172”                                           FMV $11,500,000

               2    1172 San Marcos Road                             1st TD:
               3    Paso Robles, CA 93446                            Farm Credit (cross-collateralized with Live
                                                                     Oak and Texas Road)
               4    Winery facility (42,000 sq ft) and               $19,040,509.25 (per the Motion for Relief)
                    residential apartment.
               5                                                     Property Taxes:
               6    Winery tenant is Rabbit Ridge Wine               County of San Luis Obispo County Tax
                    Winery. Base rate of $15,000/month; rent         Collector
               7    is current. Profit share of third party          $3,200,000
                    Custom Crush revenue of approximately
               8
                    $11,400/month. Billed monthly in arrears.
               9
                    Apartment tenant is Bill Tolar who pays
           10       $1,600; lease ends 6/30/2021; rent is
           11       current.

           12       Debtor will contract with a third party to
                    farm and will receive revenue from fruit
           13
                    sales.
           14
                    “Texas Road”                                     FMV $4,300,000
           15
                    Address or only APN 027-145-022                  1st TD:
           16                                                        Farm Credit (cross-collateralized with
           17       42-acre vineyard (permits obtained for a         1172 and Live Oak)
                    single family residence but no plan to           $19,040,509.25 (per the Motion for Relief)
           18       proceed with construction at this point)
                                                                     Property Taxes:
           19
                    Debtor will contract with a third party to       County of San Luis Obispo County Tax
           20       farm and will receive revenue from fruit         Collector
                    sales.                                           $6,618.26
           21
           22
                          The Debtor also owns equipment: various pumps and irrigation capital equipment;
           23
                   trellis systems, miscellaneous winery equipment.
           24
                          This case was filed in order to stop a foreclosure sale of the Subject Properties by
           25
                   Movant and so that the Debtor can reorganize its financial affairs.
           26
                          In or about 2019, Mr. Russell and the Debtor became acquainted because Mr.
           27
                   Codding originally approached Mr. Russell with a financial backer and an offer to
           28
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               1 purchase the winery facility and 1172 for $12,800,000. Mr. Russell declined. On or about
               2 September 2019, Mr. Russell and Mr. Codding had another agreement with a different
               3 buyer to lease the vineyard and buy out the winery facility for $9,800,000. Because the
               4 Movant refused to decouple its cross-collateralization on the Subject Properties, the
               5 agreement failed.
               6         In early 2020, Mr. Codding, through another one of his entities worked on an if-
               7 come deal to structure a business plan for Mr. Russell via third party recapitalization. Mr.
               8 Russell was unable to secure such third-party financing and therefore, he sold the above
               9 assets to the Debtor for their appraised value on October 27, 2020. The payment came in
           10 the form of debt assumption and a promissory note to Mr. Russell for the difference
           11 between outstanding debt and appraised value.
           12            The company that Mr. Russell used to operate the above assets is called Rabbit
           13 Ridge Wine Sales, Inc. (“RRWSI”) and was acquired by a distinct entity. Mr. Russell is
           14 not a shareholder of, an officer or director of, or have any interest in RRWSI after it was
           15 acquired. It held and holds no land or physical plant assets.
           16
           17            b.     Progress Since Case Was Filed
           18            The Movant filed its Motion for Relief nine days after the case was filed. The
           19 Debtor filed its Schedules and Statements on November 10, 2020 [Docket No. 17]. The
           20 Debtor is in substantial compliance with the requirements of the U.S. Trustee’s Office
           21 (“UST”).
           22            The Debtor is currently negotiating the sale of 1172 for $11,400,000. The Debtor is
           23 also currently negotiating lease agreements of some or all of the vineyard blocks to third
           24 party growers. This will generate additional income for the Debtor.
           25            The Debtor believes that with the potential sale of 1172 and/or a refinance with the
           26 additional income from the vineyard blocks that it will pay Movant’s claim, the property
           27 taxes on the Subject Properties, and Mr. Russell’s unsecured claim.
           28
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               1                                       III.   ARGUMENT
               2         a.       11 U.S.C. §362(d)(1)
               3         The Movant claims that it should be granted relief from the automatic stay under 11
               4 U.S.C. §362(d)(1) based on “cause.” Specifically, the Movant asserts that 1) the Movant’s
               5 interest in the Subject Properties is not adequately protected and 2) the case was filed in
               6 bad faith.
               7         However, the Debtor proposes to pay adequate protection payments and there is an
               8 equity cushion of 25.33%. Thus, there is no cause to grant relief.
               9
           10                   i.      Adequate protection
           11            The Debtor offers Movant the following adequate protection:
           12            -    Monthly adequate protection payments of $30,400, starting December 1, 2020,
           13                 through confirmation of a plan of reorganization (“plan”), or until a stipulation
           14                 for Plan treatment is negotiated, and/or case dismissal.
           15            The source of the adequate protection payments is the rental income from Live Oak
           16 and 1172.
           17            Based on the forgoing, the Movant is adequately protected by the Debtor’s
           18 proposed adequate protection payments and the Movant’s equity cushion of 25.33%, as
           19 analyzed in detail below.
           20
           21                  ii.      Equity Cushion
           22            Pursuant to 11 U.S.C. §362(g), the Movant has the burden of proof on the issue of
           23 equity in the property. In In re Mellor, 734 F.2d 1396, 1401 (9th Cir. 1984), the Ninth
           24 Circuit explained that although the existence of an equity cushion as a method of adequate
           25 protection is not specifically mentioned in §361, it is the classic form of protection for a
           26 secured debt justifying the restraint of lien enforcement by a bankruptcy court. Further,
           27 the existence of an equity cushion, standing alone, can provide adequate protection and
           28
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               1 that a 20% cushion has been held to be an adequate protection by itself for a secured
               2 creditor.
               3         On or about March 17, 2020, the Debtor’s sole and managing member, Leroy
               4 Codding - through his other limited liability company, Business Loan Capital - obtained a
               5 certified valuation report of the Subject Properties, prepared by Brant A. Sheaffer of The
               6 Property Sciences Group, Inc. (the “Appraisal Report”). A true and correct copy of the
               7 Appraisal Report is Exhibit “A” to the attached Declaration of Mr. Shaeffer. The
               8 Appraisal Report asserts a value of $25,500,000 for the Subject Properties.
               9         Per the Motion for Relief, the Movant holds a lien on the Subject Properties in the
           10 amount of $19,040,509.25. As such, the Movant is secured by an equity cushion of
           11 $6,459,490.75 – or 25.33% of the fair market value of the Real Properties. 1 This standing
           12 alone provides the Movant adequate protection.
           13            Moreover, the Movant submits inferior evidence to support its assertions that the
           14 Subject Properties are allegedly worth $15,000,000: a declaration submitted by Mr.
           15 Russell in his Chapter 11 case (the “Russell Declaration”) [Docket No. 45 in Case 9:20-
           16 bk-10035-DS].
           17            The Russell Declaration was filed as of February 14, 2020, about one month prior
           18 to the “as of” date of the Appraisal Report. Although an owner can testify to value of their
           19 property pursuant to the Rule 701 of the Federal Rules Evidence, Mr. Russell’s testimony
           20 should be given little weight because he fails to assert or explain that he has the
           21 knowledge, skill, experience, training or education to value the Subject Properties or
           22 properties of this sort. Hence Mr. Russell’s testimony has little credibility.
           23 ///
           24 ///
           25 ///
           26 ///
           27
           28            1
                             Equity cushion calculation ($25,500,000-$19,040,509.25)/$25,500,000) = 25.33%
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               1                   iii. The Debtor Filed this Case in Good Faith
               2         The Movant asserts that the case was filed in bad faith because 1) “this Court
               3 already found there is no equity in the Collateral as part of its prior relief from stay ruling,
               4 and the Debtor should be bound by the same result on collateral estoppel grounds and
               5 because the Debtor is a non-statutory insider of Russell.” The Movant asserts and requests
               6 that the Court assume, without submitting evidence, that the Debtor is an insider of Mr.
               7 Russell. See Memorandum of Points and Authorities in Support of Motion for Relief
               8 [Docket No. 11-1], pg. 8, lines 11-15.
               9         The Movant also asserts, without submitting evidence, that the Subject Properties’
           10 value “is eroding postpetition due to the accrual of ad valorem real property taxes.” See
           11 Memorandum of Points and Authorities in Support of Motion for Relief [Docket No. 11-1],
           12 pg. 8, lines 17.
           13            In the Ninth Circuit, a bankruptcy filing will only be deemed to be lacking in "good
           14 faith" where the evidence establishes that the debtor's actions constitute a "clear abuse of
           15 the bankruptcy process." Idaho Dep't of Lands v. Arnold (In re Arnold), 806 F.2d 937, 939
           16 (9th Cir. 1986) (emphasis added); see In re Yanik, 8 F.3d 34 (9th Cir. 1993). In ruling
           17 upon a good faith challenge, the courts weigh "an amalgam of factors", and "no single fact
           18 or factor will be dispositive." In re Arnold, 806 F.2d at 939.
           19            “The test is whether a debtor is attempting to unreasonably deter and harass
           20 creditors or attempting to effect a speedy, efficient reorganization on a feasible basis. Id.”
           21 See In re Marsch, 36 F.3d 825, 828 (9th Cir. 1994)
           22            The good faith inquiry "is essentially directed to two questions: (1) whether the
           23 debtor is trying to abuse the bankruptcy process and invoke the automatic stay for
           24 improper purposes; and (2) whether the debtor is really in need of reorganization." In re
           25 Marshall, 298 B.R. 670, 680-81 (Bankr. C.D. Cal. 2003).
           26            The Bankruptcy Appellate Panel for the Ninth Circuit stated in In re Thirtieth
           27 Place, Inc., 30 B.R. 503, 505 (9th Cir. BAP 1983) (quoting In re Loeb Apartments, Inc., 89
           28 F.2d 461, 463 (7th Cir, 1937)):
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               1             If it is obvious that a debtor is attempting unreasonably to deter and harass
                             creditors in their bona fide efforts to realize upon their securities, good faith
               2             does not exist. But if it is apparent that the purpose is not to delay or defeat
                             creditors but rather to put an end to long delays, administration expenses ...
               3             to mortgage foreclosures, and to invoke the operation of the [bankruptcy
                             law] in the spirit indicated by Congress in the legislation, namely, to attempt
               4             to effect a speedy efficient reorganization, on a feasible basis ... good faith
                             cannot be denied.
               5
                      The Fifth Circuit stated:
               6
                             Determining whether the debtor's filing for relief is in good faith depends
               7             largely upon the bankruptcy court's on-the-spot evaluation of the debtor's
                             financial condition, motives, and the local financial realities. Findings of lack
               8             of good faith in proceedings based on §§ 362(d) or 1112(b) have been
                             predicated on certain recurring but non-exclusive patterns, and they are based
               9             on a conglomerate of factors rather than on any single datum. Several, but
                             not all, of the following conditions usually exist. The debtor has one asset,
           10                such as a tract of undeveloped or developed real property. The secured
                             creditors' liens encumber this tract. There are generally no employees except
           11                for the principals, little or no cash flow, and no available sources of income
                             to sustain a plan of reorganization or to make adequate protection payments
           12                pursuant to 11 U.S.C. §§ 361, 362(d)(1), 363(e), or 364(d)(1). Typically,
                             there are only a few, if any, unsecured creditors whose claims are relatively
           13                small. The property has usually been posted for foreclosure because of
                             arrearages on the debt and the debtor has been unsuccessful in defending
           14                actions against the foreclosure in state court.”
           15 Matter of Little Creek Development Co., 779 F.2d 1068, 1072-73 (5th Cir. 1986)
           16         In order to determine that an entity is a non-statutory insider, “ it is not necessary
           17 that a non-statutory insider have actual control; rather, the question "is whether there is a
           18 close relationship [between debtor and creditor] and . . . anything other than closeness to
           19 suggest that any transactions were not conducted at arm's length."” In re Winstar Comm,
           20 554 F.3d 382, 396-97 (3d Cir. 2009); See In re U.S. Med., 531 F.3d 1272, 1277 (10th Cir.
           21 2008); S.Rep. No. 95-989, at 25 (1978).
           22          The appeal in In re Winstar Comm, arose “out of the self-described ‘strategic
           23 partnership’ between Winstar Communications, Inc. (the bankrupt corporation) and Lucent
           24 Technologies Inc. (one of Winstar's primary creditors and suppliers), [and] presents us
           25 with an issue of first impression — when a creditor can be considered a non-statutory
           26 insider for purposes of extending the time for recovery of preferential payments.”
           27 (Emphasis Added). In re Winstar Comm, 554 F.3d at 388; See U.S. Bank N.A. v. Village at
           28 Lakeridge, LLC, 814 F.3d 993, 1000 (9th Cir. 2016).
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               1         “Whether a creditor is an insider is a factual inquiry that must be conducted on a
               2 case-by-case basis.” U.S. Bank N.A. v. Village at Lakeridge, LLC, 814 F.3d at 1000; See,
               3 e.g., In re Friedman, 126 B.R. 63, 67, 70–71 (B.A.P. 9th Cir. 1991) (describing in detail
               4 the alleged insiders' relationships with the debtor); Miller v. Schuman (In re Schuman),81
               5 B.R. 583, 586–87 (9th Cir. BAP 1987) (per curiam) (analyzing facts to determine whether
               6 the debtor and alleged insider had a sufficiently close relationship to warrant finding
               7 insider status).
               8         Insider status may be based on a professional or business relationship with the
               9 debtor, in addition to the Code's per se classifications, where such relationship compels the
           10 conclusion that the individual or entity has a relationship with the debtor, close enough to
           11 gain an advantage attributable simply to affinity rather than to the course of business
           12 dealings between the parties. In re Friedman, 126 B.R. at 70. “Courts may not bypass this
           13 intensive factual analysis by finding that a third party became an insider as a matter of law
           14 when he acquired a claim from an insider.” U.S. Bank N.A. v. Village at Lakeridge, LLC,
           15 814 F.3d at 1000.
           16            Here, the Movant requests that the Court make assumptions, without
           17 providing evidence, that would lead it to make a finding that the case was filed in bad
           18 faith. It simply has not shown any cause for the Court to grant relief pursuant to
           19 §362(d)(1).
           20            First, the Subject Properties have significant equity as shown by the Appraisal
           21 Report. The equity cushion is 25.00%, which is considerably above the threshold of 20%.
           22 The Movant relies on the opinion of Mr. Russell for the value without providing a
           23 foundation as to his expertise or skill at valuing these properties. The Court should give
           24 Mr. Russell’s opinion little weight.
           25            Second, the Movant asserts “this Court” already found that the Subject Properties
           26 lacked equity and the Debtor “should be bound by the same result on collateral estoppel
           27 grounds….” This Court has clearly not yet made any findings.
           28
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               1        Mr. Russell filed his Chapter 11 in the Northern District. That Bankruptcy Court
               2 made a decision on value based on the record in front of it. However, property values are
               3 not stagnant, but fluctuate. To that end, the Debtor obtained the Appraisal Report valuing
               4 the Subject Properties as $25,500,000 as of March 2020 – this was about a month after the
               5 Russell Declaration. Moreover, the Appraisal Report is the basis of the Debtor’s purchase
               6 price of the Subject Properties; certainly, the Debtor would not pay $10,000,000 more for
               7 these properties than they are worth. At a minimum, the parties should be given an
               8 opportunity to obtain current appraisals so that the Court can determine value.
               9        Third, the Movant asserts that the Debtor is an insider of Mr. Russell. The totality
           10 of the “evidence” attached to the Motion for Relief to show that the Debtor is an insider is
           11 just a collection of emails from the Movant’s counsel and Mr. Russell’s counsel discussing
           12 Mr. Codding’s role in working to negotiate a new loan on behalf of Mr. Russell… It
           13 should be noted that the Debtor is not mentioned in the email chain and Mr. Codding is
           14 referred to as the managing partner of Fluid Advisors.
           15           These emails in no way demonstrate that the relationship between the Debtor and
           16 Mr. Russell compels a conclusion that the relationship was close enough for the Debtor to
           17 gain an advantage attributable simply to affinity rather than to the course of business
           18 dealings between the parties. The Debtor requests that the Court set an evidentiary hearing
           19 to determine whether the Debtor is an insider of Mr. Russell and whether Mr. Russell is an
           20 insider of the Debtor.
           21           Fourth, the Movant asserts that the property taxes are causing the Subject Properties
           22 to decline in value. The Movant provides no evidence as to how or why the property taxes
           23 are causing the properties to decline in value. The Movant has an equity cushion of 25%.
           24 Nonetheless, the Debtor still proposes to pay the Movant monthly adequate protection
           25 payments, which will consist of all rental income generated by the Subject Properties.
           26 ///
           27 ///
           28 ///
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               1         Fifth, the Movant asserts that further cause exists based on a discussion in Matter of
               2 Little Creek Development Co. of what facts typically exist when showing that a case was
               3 filed in bad faith. Again, the Movant requests that the Court find bad faith without
               4 sufficient evidence.
               5         The Motion for Relief was filed nine days after the Debtor filed the case and before
               6 the Debtor had not yet filed its Schedules and Statements. The Meeting of Creditors
               7 pursuant to 11 U.S.C §341(a) and Chapter 11 Status Conference have yet to be held. The
               8 Debtor has not been given an opportunity to explain its plan for reorganization. It is
               9 mystifying how the Movant can assert, without evidence in support, that there is “no
           10 chance of reorganizing and was filed merely to delay FCW’s foreclosure remedies.”
           11            Additionally, this case is not just a two-party dispute. Based on the equity in the
           12 Subject Properties, the Debtor will seek to not only pay Movant’s claim in full but also the
           13 property taxes and Mr. Russell’s unsecured claim in full.
           14            Thus, the Movant provides no evidence showing cause for granting of relief.
           15
           16            b.     11 U.S.C. §362(d)(2)(A) and (d)(2)(B)
           17            Movant argues that it should be granted relief from the automatic stay under 11
           18 U.S.C. §362(d)(2)(A) and (d)(2)(B) because there is no equity in the Subject Properties
           19 and the properties are not necessary to an effective reorganization.
           20            As shown above, the Subject Properties have significant equity, but the lack of
           21 equity in a property for a debtor or the estate alone is simply not sufficient grounds for
           22 relief from the stay if the property is necessary to an effective reorganization that is in
           23 process.
           24            The Supreme Court, in its seminal decision, United Sav. Ass'n v. Timbers of Inwood
           25 Forest Assoc. Ltd., 484 U.S. 365 (1988), made it clear that merely establishing a lack of
           26 equity is not enough to entitle a secured creditor to relief from stay where the debtor can
           27 establish that the property is necessary to an effective reorganization. The Court held that
           28 in determining whether a property is necessary for an effective reorganization, a debtor
RESNIK HAYES
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               1 must show that there is “a reasonable possibility of a successful reorganization within a
               2 reasonable time.” Id. at 376.
               3
               4               i.      Reorganization is in Process
               5         The Debtor filed its Schedules and Statements on November 10, 2020 [Docket No.
               6 17]. The Debtor is in substantial compliance with the requirements of the U.S. Trustee’s
               7 Office (“UST”).
               8         The Debtor is currently negotiating the sale of 1172 for $11,400,000. The Debtor is
               9 also currently negotiating lease agreements of some or all of the vineyard blocks to third
           10 party growers. This will generate additional income for the Debtor.
           11            The Debtor believes that with the potential sale of 1172 and/or a refinance with the
           12 additional income from the vineyard blocks that it will be pay Movant’s claim, the
           13 property taxes on the Subject Properties, and Mr. Russell’s unsecured claim.
           14
           15                 ii.      The Property is Necessary for an Effective Reorganization
           16            The Subject Properties are necessary to an effective reorganization as the Debtor
           17 intends to sell 1172 for $11,400,000. The Debtor anticipates that with the net sale
           18 proceeds from 1172, along with for the rental income, and the third party revenue sharing,
           19 it will be able to pay all claims in full during this bankruptcy case. Therefore, the Subject
           20 Properties are vital to its financial “bottom-line.”
           21            If the Movant is granted relief from the stay, the Debtor will lose all of its assets and
           22 income source, which will be disastrous to Debtor’s financial rehabilitation. In fact, there
           23 will be no reorganization without the properties and the income they generate or will
           24 generate in the future. Thus, the Subject Property are necessary for an effective
           25 reorganization.
           26
           27            c.     11 U.S.C. §362(d)(4)
           28            The Movant is requesting extraordinary relief.
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               1          The Court must find three elements to be present for the Movant to obtain relief
               2 under §362(d)(4). First, the debtor's bankruptcy filing must have been part of a scheme.
               3 Second, the object of the scheme must be to delay, hinder, or defraud creditors. Third, the
               4 scheme must involve either (a) the transfer of some interest in the real property without the
               5 secured creditor's consent or court approval, or (b) multiple bankruptcy filings affecting
               6 the property. In re First Yorkshire Holdings, Inc., 470 B.R. 864, 870 (9th Cir. BAP 2012).
               7          For the court to grant relief under § 362(d)(4), and trigger two years of prospective
               8 relief as to the subject real property, it must affirmatively find that the three elements
               9 above are present. Id. at 871; See In re Abdul Muhaimin, 343 B.R. 159, 169
           10 (Bankr.D.Maryland 2006) ("The precise language is: `if the court finds....' For the court to
           11 make such an affirmative finding, it must have proof of the elements required to justify
           12 such relief.").
           13             The Ninth Circuit stated that,
           14                     “Certain "badges of fraud" strongly suggest that a transaction's purpose is to
                                  defraud creditors unless some other convincing explanation appears. These
           15                     factors, not all of which need be present, include 1) a close relationship
                                  between the transferor and the transferee; 2) that the transfer was in
           16                     anticipation of a pending suit; 3) that the transferor Debtor was insolvent or
                                  in poor financial condition at the time; 4) that all or substantially all of the
           17                     Debtor's property was transferred; 5) that the transfer so completely depleted
                                  the Debtor's assets that the creditor has been hindered or delayed in
           18                     recovering any part of the judgment; and 6) that the Debtor received
                                  inadequate consideration for the transfer.”
           19
                   In re Woodfield, 978 F.2d 516, 518 (9th Cir. 1992).
           20
                          Here, the Movant desires to obtain possession of the Subject Properties and
           21
                   foreclose because they have significant equity. A foreclosure sale should easily pay the
           22
                   Movant’s claim in full. As such, the Movant makes wild accusations about schemes that
           23
                   do not exist and invent facts that suit its narrative.
           24
                          However, the Debtor can provide a “convincing explanation” as to why Mr. Russell
           25
                   transferred the Subject Properties to the Debtor for valuable consideration as explained
           26
                   above. Mr. Russell could not obtain refinancing or sell the properties. Mr. Russell lives
           27
                   and works on Live Oak. If the Movant was able to foreclosure, the new owner would evict
           28
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               1 Mr. Russell. He would need to move and lose his livelihood (the winery facility on Live
               2 Oak). Rather than lose everything, Mr. Russell transferred title to the Debtor in exchange
               3 for debt assumption and a promissory note to Mr. Russell for the difference between
               4 outstanding debt and appraised value consisting of $6,440,000. The transfer was for
               5 valuable consideration. The Debtor requests that the Court set an evidentiary hearing to
               6 determine whether transfer was for valuable consideration.
               7        Furthermore, the badges of fraud are not present here. There is no close
               8 relationship between the Debtor and Mr. Russell. The Movant submits no evidence
               9 supporting this allegation. The Debtor concedes that the transfer for value was on the eve
           10 of foreclosure, but that is not per se indicative of fraud. The Debtor does not know the
           11 financial condition of Mr. Russell, but the Subject Properties’ value exceeds all liens on
           12 them. The purpose of the transfer was to allow the Debtor to pay all claims in full and to
           13 maximize the ability for the Subject Properties to generate income. The Debtor desires to
           14 pay the Movant in full within a reasonable amount of time. As shown above, the transfer
           15 was for valuable consideration.
           16           Thus, there is simply no scheme to defraud and for that reason, the Movant is not
           17 entitled to in rem relief.
           18 ///
           19 ///
           20 ///
           21 ///
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               1
               2                                    IV.    CONCLUSION
               3         WHEREFORE, the Debtor respectfully requests that the Court deny the Motion for
               4 Relief and/or set an evidentiary hearing to determine the Subject Properties’ value, to
               5 determine whether the Debtor is an insider of Mr. Russell, and/or determine whether the
               6 transfer between Mr. Russell and the Debtor was for valuable consideration.
               7
               8 Dated: November 16, 2020                      RESNIK HAYES MORADI LLP
               9
                                                               By: /s/ Roksana D. Moradi-Brovia
           10                                                         Roksana D. Moradi-Brovia
                                                                      W. Sloan Youkstetter
           11                                                         Attorneys for Debtor
                                                                     Northern Holdings, LLC
           12
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               1                         DECLARATION OF LEROY CODDING
               2
               3         I, Leroy Codding, declare as follows:
               4
               5         1.     I am over the age of 18. I have personal knowledge of the facts set forth
               6 herein, and if called as a witness, I could and would testify competently with respect
               7 thereto. Where facts are alleged upon information and belief, I believe them to be true.
               8         2.     I am the sole and managing member and the custodian of records of
               9 Northern Holdings, LLC, the debtor and debtor-in-possession herein (the “Debtor”). I am
           10 authorized to make decisions for the Debtor.
           11            3.     The Debtor is a Minnesota LLC created on April 30, 2012 that I created for
           12 the purpose of acquiring and restructuring a wine importer/distribution company in St.
           13 Paul, MN. Subsequently, the business held a minority stake in a newly formed import
           14 company and later disbanded in spinoffs.
           15            4.     I have been in the wine business since 1993, which I entered upon graduating
           16 from Cal Poly with a degree in agricultural business and a concentration in wine
           17 marketing. I grew up in a farming family, which is what drew me to agriculture.
           18            5.     For about a decade, I was chiefly involved in sales and marketing/sales
           19 management in wine. Then in my early 30s, I became involved in operations. There was a
           20 basis for this in my formal education and training.
           21            6.     Thereafter, I was responsible for operations, finance, sales/ marketing and
           22 public relations for a family owned winery: Talbott Vineyards. We were the largest
           23 private vineyard holder in Monterey county.
           24            7.     My area of responsibility included 1200 acres under vine in three distinct
           25 sub-AVAs across five parcels. I was also responsible for a winery facility producing
           26 120,000 9L cases annually and financial management, including profit and loss
           27 responsibility, as well as cash flow was under my purview.
           28
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               1        8.     During this time, we were remitting about $2 million quarterly in cash to the
               2 parent company, Robert Talbott Inc.
               3        9.     After leaving day to day responsibilities at Talbott, I remained on the board
               4 until the wine company was sold to Gallo some years later.
               5        10.    During that time, I ran a wine distribution and import company with the
               6 purpose of getting it rehabilitated and sold. When we accomplished this sale to Southern
               7 Wine and Spirits, I restructured another small wine wholesaler/ importer. This was when
               8 the Northern Holding LLC was founded. Subsequent to that, I was responsible for
               9 initiating the business plan and obtaining funding for a ground-up national import
           10 company with a portfolio from Italy, France, Chile, Argentina and South Africa.
           11           11.    I make this declaration in support of the Debtor’s opposition to the Motion
           12 for Relief from the Automatic Stay under 11 U.S.C. §362(d)(1), (2), and (4) (the “Motion
           13 for Relief”) [Docket No. 11] filed by Farm Credit West, FLCA (the “Movant”)
           14           12.    The Debtor commenced its bankruptcy case by filing for relief under Chapter
           15 11 of 11 U.S.C. §101 et seq. (the "Bankruptcy Code") on October 28, 2020. The Debtor is
           16 operating its business and managing its financial affairs as a DIP pursuant to §§1107 and
           17 1108 of the Bankruptcy Code.
           18           13.    The Debtor owns and operates three real properties as set forth below. The
           19 Debtor acquired the above properties from Erich Russell (“Mr. Russell”) on October 27,
           20 2020.
           21 ///
           22 ///
           23 ///
           24 ///
           25 ///
           26 ///
           27 ///
           28 ///
RESNIK HAYES
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               1
               2   “Live Oak”                                    FMV $9,700,000

               3   2380 Live Oak Road                            1st TD:
               4   Paso Robles, CA 93446                         Farm Credit (cross-collateralized with
                                                                 1172 and Texas Road)
               5   2 homes on the property.                      $19,040,509.25 (per the Motion for Relief)
               6   Unit #1 is vacant (tenant moved           Property Taxes:
               7   10/20/2020); new tenants to move in on/or County of San Luis Obispo County Tax
                   about 12/1/2020 for $1,800/month.         Collector
               8                                             $13,625.84
                   Tenant #2 is former owner Erich Russell
               9
                   (see below) who pays $12,000; lease ends
           10      1/1/2022; rent is current.
           11      Debtor will contract with a third party to
           12      farm and will receive revenue from fruit
                   sales.
           13
                   “1172”                                        FMV $11,500,000
           14
                   1172 San Marcos Road                          1st TD:
           15
                   Paso Robles, CA 93446                         Farm Credit (cross-collateralized with Live
           16                                                    Oak and Texas Road)
                   Winery facility (42,000 sq ft) and            $19,040,509.25 (per the Motion for Relief)
           17      residential apartment.
           18                                                    Property Taxes:
                   Winery tenant is Rabbit Ridge Wine            County of San Luis Obispo County Tax
           19      Winery. Base rate of $15,000/month; rent      Collector
                   is current. Profit share of third party       $3,200,000
           20
                   Custom Crush revenue of approximately
           21      $11,400/month. Billed monthly in arrears.
           22      Apartment tenant is Bill Tolar who pays
           23      $1,600; lease ends 6/30/2021; rent is
                   current.
           24
                   Debtor will contract with a third party to
           25
                   farm and will receive revenue from fruit
           26      sales.
           27
           28
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               1   “Texas Road”                                  FMV $4,300,000

               2   Address or only APN 027-145-022               1st TD:
               3                                                 Farm Credit (cross-collateralized with
                   42-acre vineyard (permits obtained for a      1172 and Live Oak)
               4   single family residence but no plan to        $19,040,509.25 (per the Motion for Relief)
                   proceed with construction at this point)
               5                                                 Property Taxes:
               6   Debtor will contract with a third party to    County of San Luis Obispo County Tax
                   farm and will receive revenue from fruit      Collector
               7   sales.                                        $6,618.26
               8        14.    Mr. Russell is not a member of the Debtor. I was not or currently an insider
            9 of Mr. Russell. We are not related. We have a business relationship that will be described
           10 below.
           11           15.    The Debtor also owns equipment: various pumps and irrigation capital
           12 equipment; trellis systems, miscellaneous winery equipment.
           13       16.    This case was filed in order to stop a foreclosure sale of the Subject
           14 Properties by the Movant and so that the Debtor can reorganize its financial affairs.
           15       17.     In or about 2019, Mr. Russell and I became acquainted because I originally
           16 approached Mr. Russell with a financial backer and an offer to purchase the winery facility
           17 and 1172 for $12,800,000. Mr. Russell declined. On or about September 2019, Mr.
           18 Russell and I had another agreement with a different buyer to lease the vineyard and buy
           19 out the winery facility for $9,800,000. Because the Movant refused to decouple its cross-
           20 collateralization on the Subject Properties, the agreement failed.
           21        18.     In early 2020, I, through another one of my entities worked on an if-come
           22 deal to structure a business plan for Mr. Russell via third party recapitalization. Mr.
           23 Russell was unable to secure such third-party financing and therefore, he sold the above
           24 assets to the Debtor for their appraised value on October 27, 2020. The payment came in
           25 the form of debt assumption and a promissory note to Mr. Russell for the difference
           26 between outstanding debt and appraised value. I believe that the transfer was for valuable
           27 consideration.
           28
RESNIK HAYES
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               1         19.    The company that Mr. Russell used to operate the above assets is called
               2 Rabbit Ridge Wine Sales, Inc. (“RRWSI”) and was acquired by a distinct entity. Mr.
               3 Russell is not a shareholder of, an officer or director of, or have any interest in RRWSI
               4 after it was acquired. It held and holds no land or physical plant assets.
               5         20.    The Movant filed its Motion for Relief nine days after the case was filed.
               6 The Debtor filed its Schedules and Statements on November 10, 2020 [Docket No. 17].
               7 The Debtor is in substantial compliance with the requirements of the U.S. Trustee’s Office
               8 (“UST”).
               9         21.    I am currently negotiating the sale of 1172 for $11,400,000. I am also
           10 currently negotiating lease agreements of some or all of the vineyard blocks to third party
           11 growers. This will generate additional income for the Debtor.
           12            22.    I believe that with the potential sale of 1172 and/or a refinance with the
           13 additional income from the vineyard blocks that it will pay the Movant’s claim, the
           14 property taxes on the Subject Properties, and Mr. Russell’s unsecured claim.
           15            23.    The Subject Properties are vital to its financial “bottom-line.” I believe that
           16 the Subject Properties are necessary for an effective reorganization.
           17            24.    On or about March 17, 2020, I - through my other limited liability company,
           18 Business Loan Capital - obtained a certified valuation report of the Subject Properties,
           19 prepared by The Property Sciences Group, Inc. (the “Appraisal Report”). I obtained the
           20 appraisal for potential financing on the Subject Properties.
           21
           22            I declare under penalty of perjury under the laws of the United States of America
           23 that the foregoing is true and correct.
           24            Executed on Monday, November 16, 2020, at _______________, California.
           25
           26                                                       SEE NEXT PAGE

           27                                                                  Leroy Codding
                                                                               Declarant
           28
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                1           19.      The company that Mr. Russell used to operate the above assets is called
                2 Rabbit Ridge Wine Sales, Inc. (“RRWSI”) and was acquired by a distinct entity. Mr.
                3 Russell is not a shareholder of, an officer or director of, or have any interest in RRWSI
                4 after it was acquired. It held and holds no land or physical plant assets.
                5           20.      The Movant filed its Motion for Relief nine days after the case was filed.
                6 The Debtor filed its Schedules and Statements on November 10, 2020 [Docket No. 17].
                7 The Debtor is in substantial compliance with the requirements of the U.S. Trustee’s Office
                8 (“UST”).
                9           21.      I am currently negotiating the sale of 1172 for $11,400,000. I am also
              10 currently negotiating lease agreements of some or all of the vineyard blocks to third party
              11 growers. This will generate additional income for the Debtor.
              12            22.      I believe that with the potential sale of 1172 and/or a refinance with the
              13 additional income from the vineyard blocks that it will pay the Movant’s claim, the
              14 property taxes on the Subject Properties, and Mr. Russell’s unsecured claim.
              15            23.      The Subject Properties are vital to its financial “bottom-line.” I believe that
              16 the Subject Properties are necessary for an effective reorganization.
              17            24.      On or about March 17, 2020, I - through my other limited liability company,
              18 Business Loan Capital - obtained a certified valuation report of the Subject Properties,
              19 prepared by The Property Sciences Group, Inc. (the “Appraisal Report”). I obtained the
              20 appraisal for potential financing on the Subject Properties.
              21
              22            I declare under penalty of perjury under the laws of the United States of America
              23 that the foregoing is true and correct.
              24                                                      Paso Robles
                            Executed on Monday, November 16, 2020, at _______________, California.
              25
              26
              27                                                                    Leroy Codding
                                                                                    Declarant
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RESNIK HAYES
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               1                        DECLARATION OF BRANT A. SHEAFFER
               2
               3         I, Brant A. Sheaffer, declare and state as follows:
               4
               5         1.     I have personal knowledge of the facts set forth herein, and if called as a
               6 witness, I could and would testify competently with respect thereto. Where facts are
               7 alleged upon information and belief, I believe them to be true.
               8         2.     I am a California certified appraiser (State Certification No. AG033878) and
               9 have been in good standing in the State of California. I am a member of the Appraisal
              10 Institute (“MAI”) (member #474916).
              11         3.     I am employed as the Senior Vice President – Managing Director of the
              12 Commercial Division for The Property Sciences Group, Inc. (“PSG”). PSG’s offices are
              13 located at 130 North Brand Boulevard, Suite 415, Glendale, CA 91203.
              14         4.     I have prepared certified valuation reports for a multitude of property types,
              15 including: retail, commercial, office, multi‐family, industrial, residential subdivisions and
              16 land. I have also prepared certified valuation reports of eight wineries and vineyards. I am
              17 qualified to make this declaration based upon my extensive knowledge of appraising
              18 wineries and vineyards.
              19         5.     Leroy Codding, on behalf of Business Loan Capital LLC, retained me to
              20 prepare a value appraisal report of three properties located at:
              21         - 1172 San Marcos Road, Paso Robles, CA 93446 – APN 026-104-001 (“1172”);
              22         - 2380 Live Oak Road, Paso Robles, CA 93446 – APN 026-342-039 (“Live Oak”);
              23         - APN 027-145-022, no street address for this property, access through 1172
              24         (“Texas Road”).
              25         6.     Collectively, these real properties are hereinafter referred to as the “Subject
              26 Properties.”
              27
              28


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               1         7.      I thereafter prepared a report which values the Subject Properties at
               2 $25,500,000, as of March 17, 2020 (the “Appraisal Report”). Attached hereto as Exhibit
               3 “A” is a true and correct copy of the Appraisal Report.
               4         8.      In the course of preparing the Appraisal Report, I followed the practices and
               5 procedures required of my profession in determining the value of wineries and vineyards.
               6         9.      Other than as set forth herein, I have no preexisting relationship with Leroy
               7 Codding, Business Loan Capital LLC or Northern Holdings, LLC, the debtor and debtor-
               8 in-possession in Chapter 11 Case No. 8:20-bk-13014-MW.
               9         10.     I do not own an interest in the Subject Properties and have not been offered
              10 an interest in it.
              11
              12         I declare under penalty of perjury pursuant to the laws of the United States of
              13 America that the foregoing is true and correct.
              14
              15         Executed on November ___, 2020, at _______________, California.
              16
                                                                                     SEE NEXT PAGE
              17                                                                    Brant A. Sheaffer
                                                                                       Declarant
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 1          7.     I thereafter prepared a report which values the Subject Properties at
 2 $25,500,000, as of March 17, 2020 (the “Appraisal Report”). Attached hereto as Exhibit
 3 “A” is a true and correct copy of the Appraisal Report.
 4          8.     In the course of preparing the Appraisal Report, I followed the practices and
 5 procedures required of my profession in determining the value of wineries and vineyards.
 6          9.     Other than as set forth herein, I have no preexisting relationship with Leroy
 7 Codding, Business Loan Capital LLC or Northern Holdings, LLC, the debtor and debtor-
 8 in-possession in Chapter 11 Case No. 8:20-bk-13014-MW.
 9          10.    I do not own an interest in the Subject Properties and have not been offered
10 an interest in it.
11
12          I declare under penalty of perjury pursuant to the laws of the United States of
13 America that the foregoing is true and correct.
14
15          Executed on November 16th, 2020, at Pleasant Hill, California.
16
17
                                                                   Brant A. Sheaffer
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                                                                      Declarant
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                         EXHIBIT A
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APPRAISAL OF A
Winery & Vineyards
                                                    EFFECTIVE DATE:   As Is: March 17, 2020
                                                    DATE OF REPORT:   March 31, 2020
                                                    PREPARED FOR:     Business Loan Capital
                      PROPERTY
                                                    PREPARED BY:      The Property Sciences Group Inc.
                      1172 San Marcos Road & 2380
                      Live Oak Road
                      Paso Robles, CA 93446
                      PSG File Number: 855971
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March 31, 2020
Ms. Carrie Beavers
Business Loan Capital
15375 Barranca Parkway, Suite B-202
Irvine, CA 92618

Dear Ms. Beavers:

In response to your request we have completed an appraisal of the property indicated in the following table:

             Property Type                                          Winery & Vineyards
             Address                                                1172 San Marcos Road
                                                                    & 2380 Live Oak Road
             City, State, Zip Code                                  Paso Robles, CA 93446
             Report Type                                            Appraisal Report
             Effective Date                                         March 17, 2020
             Interest Appraised                                     Fee Simple
             Intended Use                                           Collateral Lending
             Site Area                                              18,168,440 sq. ft. (417.09 acres)
             Gross Building Area                                    57,181 sq. ft.
             Number of Units


The value stated herein is based on our understanding of the site and improvement descriptions as represented
to us by the owner's representative, client, public records, our inspection and other available sources. It is your
responsibility to read the report and inform the appraisers of any errors or omissions you are aware of prior to
utilizing it. This report is for the exclusive use of the client indicated above, and no other party shall have any
right to rely on any service provided by The Property Sciences Group, Inc. without prior written consent. Except
as noted within the engagement letter, release of this appraisal to any third party without authorization from The
Property Sciences Group, Inc. is expressly prohibited. The Property Sciences Group, Inc. will not be responsible
for any actions or occurrences as a result of unauthorized use of this report.

The following conclusions are premised on the Scope of Work as set forth throughout the attached report,
Appraisers' Certification and the Assumptions and Limiting Conditions as cited in the attached report,as well as
the facts and circumstances as of the valuation date. In addition, our appraisal is in compliance with the
                                          The Property Sciences Group, Inc.
                                                 www.PropSci.com

            Seattle                           Florida                      Northern California                  Southern California
1830 Cascade Ave S, Suite 225     4651 Salisbury Road, Suite 4012    395 Taylor Boulevard, Suite 250   130 North Brand Boulevard, Suite 415
      Seattle, WA 98188               Jacksonville, FL 32256             Pleasant Hill, CA 94523               Glendale, CA 91203
     Tel:(206) 319-5215                 Tel:(925) 246-7300                 Tel:(925) 246-7300                   Tel:(213) 443-4500
     Fax(925) 273-9876                  Fax(925) 273-9876                  Fax(925) 273-9876                    Fax(925) 273-9876
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requirements of the Uniform Standards of Professional Appraisal Practice (USPAP), adopted by the Appraisal
Standards Board of The Appraisal Foundation; and Title XI, Real Estate Appraisal Reform Amendments, of the
Financial Institutions Reform, Recovery, and Enforcement Act of 1989 (FIRREA). The report also complies with
the Supplemental Standards of Appraisal Practice and Code of Professional Ethics of the Appraisal Institute. We
certify that this assignment was not based on a requested minimum valuation, a specific valuation, or the
approval of a loan. In addition, we have read, understood, and satisfied the Competency Provision of the USPAP.

An "Extraordinary Assumption" is defined by USPAP as "an assumption directly related to a specific assignment
of the effective date of the assignment results, which if found to be false, could alter the appraiser’s opinions or
conclusions." USPAP further states that "Extraordinary Assumptions" presume as fact otherwise uncertain
information about physical, legal, or economic characteristics of the subject property; or about conditions external
to the property, such as market trends; or about the integrity of data used in the analysis.

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is contrary to what is known by the appraiser to exist on the effective date of the assignment results, but is used
for the purpose of the analysis." USPAP further states that "Hypothetical Conditions" are contrary to known facts
about physical, legal or economic characteristics of the subject property; or about conditions external to the
property such as market conditions or trends; or about the integrity of the data used in the analysis. The use of
extraordinary assumptions and/or hypothetical conditions may have affected the assignment results.

 Inspection of Residential Villa - On the date of inspection we were unable to inspect the interior of residential
 villa on the Live Oak Road vineyard property as an elderly family member was under a shelter in place order
 due to the outbreak of the COVID-19 virus. We were provided with a few photos of the interior and have relied
 on these along with discussions with the owner. The appraisal analysis that the property is in good condition
 and that the condition and quality of interior finishes is consistent with the details we were provided. Any
 change in these assumptions may result in different value estimates.

 Delinquent Property Taxes - According to the County Tax Collector, as of the date of the report, taxes for
 two of the three parcels that make up the subject property are delinquent. The taxes for 026-342-039, the
 Live Oak Road Vineyard and Residence are delinquent resulting from unpaid prior year taxes for 2019. The
 outstanding redemption balance is $927.79 according to the assessor’s records. The taxes for 026-104-001,
 the San Marcos Road Winery and Vineyard are delinquent resulting in unpaid taxes from 2005 through 2018.
 The outstanding balance for this parcel totals $2,814,407.80. There may be interest accruing on these
 delinquent amounts and the balance due may be more than the amount noted or the owner may have already
 instituted a re-payment plan. This appraisal analysis assumes that all tax payments, liens and judgments will
 be made, or are, current and that there will be no adverse effect on the subject property resulting from unpaid
 taxes, liens or judgments.
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As of the effective date, the short and long-term impact on the real estate market from the COVID-19 virus is
unknown. However, due to the virus, it is reasonable to assume that current market conditions will extend
marketing times beyond the recent historical levels. Additionally, it could have a negative impact on values, but
the impact is still unknown

The effective date of the As Is Market Value is March 17, 2020, the date of inspection. As a result of our study
and investigation, we conclude that the estimated As Is Market Value of the subject property's Fee Simple Estate,
predicated on an estimated exposure time of up to 12 months, as of March 17, 2020, was:

                                        AS IS MARKET VALUE
                            Twenty-Five Million Five Hundred Thousand Dollars
                                               ($25,500,000)


Thank you for the opportunity to provide this service. Respectfully submitted,


The Property Sciences Group, Inc.




   Brant A. Sheaffer, MAI                                               Arthur O. Neudek, MAI AI-GRS
   VP, Regional Manager                                                 Managing Director
   AG033878                                                             3002063
   Exp. 2/14/2021                                                       Exp. 4/7/2020
   Phone: (206) 319-5215                                                Phone: (925) 246-7342
   Email: Brant.Sheaffer@PropSci.com                                    Email: Arthur.Neudek@PropSci.com
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We certify that, to the best of our knowledge and belief,
the statements of fact contained in this report are true and correct.

The reported analyses, opinions, and conclusions are limited only by the reported assumptions and limiting conditions, and are our
personal, unbiased professional analyses, opinions, and conclusions.

We have no present or prospective interest in the property that is the subject of this report, and we have no personal interest or bias with
respect to the parties involved; any specified interest or bias has not affected the impartiality of my opinions and conclusions.

Our engagement in this assignment was not contingent upon developing or reporting predetermined results.

Our compensation for completing this assignment is not contingent upon the development or reporting of a predetermined value or
direction in value that favors the cause of the client, the amount of the value, the attainment of a stipulated result, or the occurrence of a
subsequent event directly related to the intended use of this appraisal.

Our analyses, opinions, and conclusions were developed, and this report has been prepared, in conformity with the Uniform Standards
of Professional Appraisal Practice (USPAP), Title XI of the Financial Institutions Reform, Recovery, and Enforcement Act of 1989
(FIRREA), and the requirements of the Code of Professional Ethics and the Standards of Professional Appraisal Practice of the Appraisal
Institute.

The use of this report is subject to the requirements of the Appraisal Institute relating to review by its duly authorized representatives.

Brant A. Sheaffer, MAI has not inspected the subject property but has prepared the report. Arthur O. Neudek, MAI AI-GRS did not inspect
the subject property but has supervised the appraisal process, made a thorough review of the work file including the finished report,
recommended changes where appropriate, and concurs with the analysis and value conclusions stated herein. Mr. Sheaffer and Mr.
Neudek have met the minimum continuing education and ethics requirements for Members of the Appraisal Institute. The Property
Sciences Group Inc. accepts full and complete responsibility for the appraisal.

The undersigned hereby acknowledge that they have the necessary education and appropriate experience to complete the appraisal
assignment in a competent manner.

The appraisers acted in an independent capacity and not as employees/partners, principals, nor agents of the clients institution.

The appraiser has not performed appraisal services, as appraiser or in any other capacity, for the subject property within the three years
immediately preceding acceptance of this assignment.

Robert Barnes (AG041310 exp. 11/16/2020) a certified general real estate appraiser and employee of The Property Sciences Group Inc.
provided significant professional assistance to the persons signing this report by performing an interior/exterior inspection of the subject
and furnishing photographs, descriptions and measurements of the site and improvements. No other person(s) provided significant
professional assistance to the person(s) signing this report.

                                                                               March 31, 2020

 Brant A. Sheaffer, MAI                AG033878                                 Date
 VP, Regional Manager                  Exp. 2/14/2021




                                                                               March 31, 2020

 Arthur O. Neudek, MAI AI-GRS          3002063                                  Date
 Managing Director                     Exp. 4/7/2020




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PROPERTY AND REPORT SUMMARY
Property Type                                  Winery & Vineyards
Address                                        1172 San Marcos Road & 2380 Live Oak Road
City, State, Zip                               Paso Robles, CA 93446
APN(s)                                         026-104-001,027-145-022,026-342-039
Zoning                                         AG - Agricultural (San Luis Obispo County)
Ownership                                      Erich Russell
Interest Appraised                             Fee Simple
Intended Use of Appraisal                      Collateral Lending
Site Area                                      18,168,440 sq. ft. (417.09 acres)
Gross Building Area                            57,181 sq. ft.
Net Rentable Area                              57,181 sq. ft.


Dates of Value
As Is Market Value                             March 17, 2020
Date of Report                                 March 31, 2020




VALUATION SUMMARY
Cost Approach                 $25,500,000                       Final Market Value Conclusions


                                                                As Is Value         $25,500,000
Sales Approach                Not Developed
                                                                Exposure Time       12 months


Income Approach               Not Developed                     Insurable Value     $11,680,000
                                                                Liquidation Value   $16,470,000




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SUBJECT PROPERTY




       SUBJECT PROPERTY
       Property Type                                 Winery & Vineyards
       Address                                       1172 San Marcos Road & 2380 Live Oak Road
       City, State, Zip                              Paso Robles, CA 93446
       APN:                                          026-104-001, 027-145-022, 026-342-039
   The subject consists of a winery facility with three vineyards with a total gross land area of 471 acres, of which
   252 acres is planted with various varietals of wine grapes. Building improvements include a 7,532 square foot
   residential villa and a 43,210 square foot winery facility that includes production and storage, administrative
   offices and a wine tasting area located in the barrel storage area. The properties are operated as the Rabbit
   Ridge Winery with the San Marcos Road and Texas Road vineyards located northwest of Paso Robles in the
   Paso Robles -San Miguel District AVA and the Live Oak Road vineyard located southwest of Paso Robles in the
   Paso Robles - Willow Creek District AVA. The site and its primary improvements are summarized as follows:

                                      Pa rce l              Size (Acre s)          W illia mson Act
                                    026-342-039                160.00                      Yes
                                    026-104-001                156.09                      No
                                    027-145-022                155.00                      Yes
                            Total                              471.09




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                                        P R IMAR Y V IN E Y AR D S U MMAR Y
                     V a rie ty                T ota l Blocks T ota l S ize (P roduction Acre s)
                     Cabernet Sauvignon               13                      42.28
                     Zinfandel                        10                      39.29
                     Petite Sirah                      6                      27.32
                     Petit Verdot                      8                      24.65
                     Syrah                             7                      23.57
                     Grenache Blanc                   11                      20.71
                     Primitivo                         3                      19.18
                     Sauvignon Blanc                   3                      17.79
                     Merlot                            4                      14.28
                     Cabernet Franc                    3                       6.40
                     Tempranillo                       1                       4.54
                     Mourvedre                         2                       4.38
                     Viognier                          3                       3.14
                     Aglianico                         1                       2.58
                     Nero d'Avola                      1                       1.42
                     Marsanne                          1                       0.92
                     Total                            77                     252.43

                                        P R IMAR Y IMP R OV E ME N T S U MMAR Y
                     T ype                           Y r. Built         T ota l S ize (S q. Ft.)
                     Residential Villa                  1987                     7,532
                     Labor Dwelling                     2000                       900
                     Manufactured Home                  2000                       900
                     Shop Building                      2000                     2,400
                     Winery Facility                    2007                     43,210
                     Barn / Shop Building               1990                       943
                     Barn / Shop Building               1990                     1,296
                     Total                                                       57,181


APPRAISERS
Brant A. Sheaffer, MAI                                  VP, Regional Manager             CA – AG033878
Arthur O. Neudek, MAI, AI-GRS                           Managing Director                CA – 3002063
The Property Sciences Group, Inc.                       Phone: 925.246.7300
395 Taylor Blvd, Suite 250                              Fax:      925.349.7200
Pleasant Hill, CA 94523                                 http://www.propsci.com



CLIENT
Client:                                        Ms. Carrie Beavers
                                               Business Loan Capital
Address:                                       15375 Barranca Parkway, Suite B-202
                                               Irvine, CA 92618




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 DATE OF APPRAISAL
 Effective Date of As-Is Value                 March 17, 2020
 Date of Inspection                            March 17, 2020
 Date of Report                                March 31, 2020



 OWNER AND OCCUPANCY
 Preliminary Report                            No
 Owner                                         Erich Russell
 Occupancy Rate                                Tenant : 0%
                                               Vacant : 0%
                                               Total : 100%



 SALE HISTORY
 Transfers in past 5 years                          No
                                     Source         Public Record


The subject property is not currently listed for sale and to the best of our knowledge, the subject has not sold or
otherwise transferred in the past five years.


REPORT TYPE

This is an Appraisal Report, compliant with FIRREA (Financial Institutions, Reform, Recovery, and Enforcement
Act of 1989, as amended by the Dodd-Frank Reform Act) and the reporting requirements set forth under
Standards Rule 2-2 (a) of the Uniform Standards of Professional Appraisal Practice (USPAP) for an Appraisal
Report. It contains the data, reasoning, and analyses used in the appraisal process to develop the appraiser's
opinion of value. Supporting documentation concerning the data, reasoning, and analyses is retained in the
appraiser's file. The depth of discussion contained in this report is specific to the needs of the client and for the
stated intended use. The appraisers are not responsible for unauthorized use of this report. The appraisers
possess the necessary experience and competence to complete this appraisal in conformity with the USPAP
competency rule.




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STANDARD OF VALUE


"Market Value Definition" is stated as follows (Federal Register 12 CFR, part 34, Subpart C-Appraisals 34.42
Definitions (g)): The most probable price which a property should bring in a competitive and open market under
all conditions requisite to a fair sale, the buyer and seller each acting prudently and knowledgeably, and
assuming the price is not affected by undue stimulus. Implicit in this definition is the consummation of a sale as
of a specified date and the passing of title from seller to buyer under conditions whereby:

   •    Buyer and seller are typically motivated;

   •    Both parties are well informed or well advised, and acting in what they consider their own best interests;

   •    A reasonable time is allowed for exposure in the open market;

   •    Payment is made in terms of cash in U.S. dollars or in terms of financial arrangements comparable
        thereto;

   •    The price represents the normal consideration for the property sold unaffected by special or creative
        financing or sales concessions granted by anyone associated with the sale;

"As Is Market Value" is stated as follows: An estimate of the market value of a property in the condition observed
upon inspection and as it physically and legally exists without hypothetical conditions, assumptions, or
qualifications as of the date of inspection.



INTENDED USE & INTENDED USER

The intended use of this report is for Collateral Lending any other use is prohibited. The intended user of this
report is Business Loan Capital. Release of this appraisal to any third party without authorization from The
Property Sciences Group Inc. is expressly prohibited. A third party is defined as anyone other than the client
indicated on the cover page. The Property Sciences Group Inc. will not be responsible for any actions or
occurrences as a result of unauthorized use of this report.




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PROPERTY INTEREST APPRAISED


A "Fee Simple Estate" is defined as follows: Absolute ownership unencumbered by any other interest or estate,
subject only to the limitations imposed by the governmental powers of taxation, eminent domain, police power,
and escheat.

Personal property is defined as follows: 1. Identifiable tangible objects that are considered by the general public
as being "personal"-for example, furnishings, artwork, antiques, gems and jewelry, collectibles, machinery and
equipment; all tangible property that is not classified as real estate. (USPAP, 2010-2011 ed.) 2. Consists of
every kind of property that is not real property; movable without damage to itself or the real estate; subdivided
into tangible and intangible.

No items of personal property were included in the valuation of the subject.
The definition noted above is derived from the Dictionary of Real Estate Appraisal, Appraisal Institute, 5th Edition, 2010.




SCOPE OF APPRAISAL AND REPORTING PROCESS

The scope of the appraisal included:

     •     interior/exterior inspection
     •     reviewed operating statements
     •     reviewed historical operating statements
     •     researched comparable sales
     •     interviewed principals leasing brokers, appraisers, city and government personnel and/or local property
           managers
     •     reviewed published surveys
     •     reviewed public records
     •     reviewed private data providers
     •     reviewed PSG files


The type and extent of the analysis is further addressed in the Methodology Section of this Report. The
appraisers have analyzed/appraised the subject's property type before and possess the necessary competence
to complete this appraisal in conformity with the competency provision of USPAP. This appraisal has been
prepared in conformity with the:


     ➢     Uniform Standards of Professional Appraisal Practice (USPAP)
     ➢     Financial Institutions Reform, Recovery, & Enforcement Act of 1989 (FIRREA)




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   ➢    Appraisal Institute Code of Professional Ethics
   ➢    Appraisal Institute Standards of Professional Appraisal Practice
   ➢    Federal Deposit Insurance Corporation (FDIC)
   ➢    Code of Federal Regulations (CFR) requirements for above


The appraisers reviewed:

   ➢    published market reports from leading brokerage houses and providers
   ➢    public records
   ➢    private party data providers including Costar Inc., Loopnet, TRW, Dataquick, and Multiple Listing Services among
        others
   ➢    proprietary data retained in Property Sciences files

The Scope of Work is further delineated throughout the various sections of this report. The reader is directed to
the various sections of this report for a more detailed explanation of the scope of work as it relates to the relative
section of the report.



EXTRAORDINARY ASSUMPTIONS & HYPOTHETICAL CONDITIONS

An "Extraordinary Assumption" is defined by USPAP as "an assumption directly related to a specific assignment
of the effective date of the assignment results, which if found to be false, could alter the appraiser’s opinions or
conclusions." USPAP further states that "Extraordinary Assumptions" presume as fact otherwise uncertain
information about physical, legal, or economic characteristics of the subject property; or about conditions external
to the property, such as market trends; or about the integrity of data used in the analysis.

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 change in these assumptions may result in different value estimates.



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 The outstanding balance for this parcel totals $2,814,407.80. There may be interest accruing on these
 delinquent amounts and the balance due may be more than the amount noted or the owner may have already
 instituted a re-payment plan. This appraisal analysis assumes that all tax payments, liens and judgments will
 be made, or are, current and that there will be no adverse effect on the subject property resulting from unpaid
 taxes, liens or judgments.

EXPOSURE TIME

Exposure Time is defined in the Dictionary of Real Estate Appraisal (Appraisal Institute, 5th Edition, 2010) as
"The estimated length of time the property interest being appraised would have been offered on the market prior
to the hypothetical consummation of a sale at market value on the effective date of the appraisal."

As noted in the Sales Comparison Approach, there have been several sales of comparable properties within the
market area. The marketing time for the comparable sales ranged from five months to approximately two years.
Given the availability of mortgage financing, the desire for similar product, and specific information regarding
sales of comparable properties, a reasonable Market Value Conclusion at the estimate of Market Values,
assuming sufficient and reasonable marketing efforts, was up to 12 months. Additionally, assuming an active
market with adequate buyers and sellers in addition to adequate financing, the estimated marketing time for the
subject is also 12 months.




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GEOGRAPHIC DESCRIPTION




         REGIONAL DESCRIPTION

   The subject is part of the South Central Coast Region, which comprises the Counties of Monterey, San Luis
   Obispo, Santa Barbara and Ventura Counties. The region is separated from the inland Central Valley by the
   Santa Lucia Mountains and provides for the fertile Salinas, Santa Maria and Santa Ynez Valleys of the South
   Central Coastal Region. The coastal region is characterized by Pacific Coast beaches, ocean views, warm
   climate, and intensive agriculture. The mild climate, picturesque coastline, scenic mountains, and numerous
   parks and beaches make the region a popular tourist and relocation destination.

   San Luis Obispo, Santa Barbara and Ventura Counties are often referred to as the "tri-counties" region.




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REGIONAL MAP




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COUNTY DESCRIPTION

Created in 1850 as one of 27 original counties in California, San Luis Obispo County is part of CaliforniaÆs
Central Coast area and is part of the Tri-Counties region, which incorporates Santa Barbara and Ventura
Counties to the south. San Luis Obispo County is midway between Los Angeles (200 miles south) and San
Francisco (200 miles north) and comprises approximately 3,316 square mile of land. The County is accessible
north-to-south by U.S. Highway 101 and scenic Highway 1. Routes from the east include State Highways 41,
46, 58 and 166. The County is bordered by Santa Barbara County on the south, Monterey County to the north,
Kern County to the east, and approximately 80 miles of Pacific coastline on the west. Much of the county is
mountainous, with most of the developed land and the majority of the population located along Highway 101,
which runs down the central fertile valleys of the County.

There are seven incorporated cities within San Luis Obispo County, including Arroyo Grande, Atascadero, Grove
Beach, Morro Bay, Paso Robles, Pismo Beach and San Luis Obispo. There are several unincorporated towns
and communities including Baywood-Los Osos, Cambria, Cayucous, Nipomo, Oceano, San Miguel, San
Simeon, Santa Margarita and Templeton. Of the total San Luis Obispo County area, 3,250 square miles are
unincorporated. Approximately 21% of the County population is classified as ôruralö by the California
Department of Finance.

Commercial air carriers American Eagle, US Airways, Delta Connection (SkyWest), and United Express
(SkyWest), provide daily service to Las Vegas, Los Angeles, Phoenix, San Francisco, San Jose, and Salt Lake
City, from San Luis Obispo County Regional Airport (SBP). Greyhound Bus Lines maintains a daily schedule to
bus stations located in Arroyo Grande, Atascadero, Paso Robles, and San Luis Obispo. Amtrak offers daily
service from the Coast Starlight and Pacific Surfliner trains to depots in San Luis Obispo, Paso Robles and
Grover Beach (Arroyo Grande).

The Santa Lucia Mountains running diagonally from the northwest to southeast generally divide San Luis Obispo
County into a coastal area and the rolling hills of a high-desert inland area. Other major geographic features
include the San Andreas Fault, which cut across the extreme eastern portion of the County; the headwaters of
the Salinas River; and Lake Nacimiento. The southern part of San Luis Obispo County is relatively level, while
the northwest portion of the County is generally more rugged. To the south, the Santa Maria River borders San
Luis Obispo County.




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The mainstays of the economy are California Polytechnic State University with its almost 20,000 students,
tourism, and agriculture. San Luis Obispo County is the third largest producer of wine in California, surpassed
only by Sonoma and Napa Counties. Wine grapes are by far the largest agricultural crop in the County, and the
wine production they support creates a direct economic impact and a growing wine country vacation industry.
The area has ideal climatic conditions. Summer temperature hovers around mid-80s in the daytime and declines
to mild 50s in the nighttime. The coastal areas have typical California coast weather û foggy mornings with cool
breezes later in the day.

The mild climate, picturesque coastline, scenic mountains, and numerous parks and beaches make San Luis
Obispo County a popular tourist and relocation destination. The County is famous for its beaches and is also
home to more than 60 wineries with some 30,000 acres of planted vineyards located in South San Luis Obispo
County. In recent years the agricultural base has shifted from cattle ranching and fruit production to grape
production for the growing wine industry. With warm sunny days and cool evenings, the valleys share a unique
microclimate suited to growing a wide variety of grapes as well as other agricultural crops. Agriculture is dominant
in San Luis Obispo County with strawberries being the dominant row crop.

Also, located along the central coast are Vandenberg Air Force Base, located to the southwest in Santa Barbara
County, and Fort Hunter Liggett Army Base, located to the northwest in Monterey County. The 98,000-acre
Vandenberg Air Force Base was originally established in 1941 as the US Army's Camp Cooke. The base was
transferred to the US Air Force in 1957 and began its transformation into a space and ballistic missile test facility.
In 1972 Vandenberg was selected as the West Coast Space Shuttle launch and landing site. Over four billion
dollars was spent on new space shuttle modifications to the existing facility. Currently the base is regularly used
for the launch of government and private satellites into orbit and the facility is also one of the main development
centers of the U.S. Missile Defense System. Fort Hunter Liggett serves primarily as a training facility, where
activities such as field maneuvers and live fire exercises are performed. The fort comprises 165,000 acres and
is the largest United States Army Reserve command post. Both of these bases have added to the economic
base of San Luis Obispo County.

Mining is becoming less significant countywide, as oil and gas development and production decrease.
Manufacturing has slowly been recovering from the recession of the early 1990s. Government is the largest
industry employer in the County, providing about 20% of all employment, with the majority of jobs in education.
The largest projected growth industries in the County over the next several years are services and retail trade.
The County's largest employers with 1,000 or more, full or part-time employees are shown below:




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CITY DESCRIPTION

Paso Robles is located approximately 18 miles inland from the Pacific coast and is midway between Los Angeles
and San Francisco on Highway 101, about 220 miles from each city. The City is strategically located
approximately 30 miles north of San Luis Obispo, benefiting from the nearby urban support while taking in the
serenity of the local environment. Located on the Salinas River, the city is known for its hot springs, its abundance
of wineries, production of olive oil, almond orchards, and for playing host to the California Mid-State Fair. Highway
46 enters Paso Robles on its eastern border, easily connecting California’s San Joaquin Valley and Interstate 5
to Paso Robles. State Highway continues west allowing access to the coast near the towns of Cambria and San
Simeon.

Paso Robles is located in the rolling hills of the upper Salinas River Valley, which is mainly dry grassland and
oak woodland. Primarily a farming community for many decades, Paso Robles now renowned for thermal springs
and wines. Paso Robles has an attractive downtown and linear commercial corridors along Spring Street. The
City offers residents a small-town lifestyle combined with modern amenities.




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POPULATION CHARACTERISTICS

The population distribution within the Paso Robles Area reveals a similar number of people living in rural San
Luis Obispo County as in the City of Atascadero, highlighting the dispersement of the rural economy. Population
growth is expected to slow in Paso Robles, while remaining steady in the more populated areas within San Luis
Obispo County, San Luis Obispo, and other competing rural markets.
                                     Population – County and Selected Cities
                                                         2000     2010    2018    2023
                      San Luis Obispo County              246,672 269,637 284,993 291,433
                      Arroyo Grande                       15,840   17,252  18,263  18,701
                      Atascadero                          26,751   28,310  30,105  30,792
                      El Paso de Robles (Paso Robles)     24,454   29,793  31,630  32,383
                      Grover Beach                        12,898   13,156  13,974  14,307
                      Pismo Beach                         8,260    7,655   8,075   8,266
                      San Luis Obispo                     41,094   45,119  47,652  48,737
                      San Miguel, San Luis Obispo County 1,428     2,336   2,564   2,621
                      Templeton                           6,208    7,674   8,285   8,478




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                              Population Change (%) County and Selected Cities
                                                                 2000-2010 2010-2018 2018-2023
                            San Luis Obispo County                9.3 %     5.7 %     2.3 %
                            Arroyo Grande                         8.9 %     5.9 %     2.4 %
                            Atascadero                            5.8 %     6.3 %     2.3 %
                            El Paso de Robles (Paso Robles)       21.8 %    6.2 %     2.4 %
                            Grover Beach                          2.0 %     6.2 %     2.4 %
                            Pismo Beach                           -7.3 %    5.5 %     2.4 %
                            San Luis Obispo                       9.8 %     5.6 %     2.3 %
                            San Miguel, San Luis Obispo County    63.6 %    9.8 %     2.2 %
                            Templeton                             23.6 %    8.0 %     2.3 %




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INCOME CHARACTERISTICS




The median household income for the Paso Robles was $94,874, slightly lower than the County and only higher
than two other cities within the County. Its average household income is near the low end of the range compared
to many nearby cities.




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HOUSING CHARACTERISTICS




According to CoreLogic, the median home price for a single-family residence in the subject''s Paso Robles area
as of January 2020 was $484,000. Overall, housing prices decreased by approximately 5.1% in the subject''s
area from January 2019 to January 2020. In general, Paso Robles has more owner occupied homes than rental
housing units. The city has about 55% owner occupied housing.




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EMPLOYMENT CHARACTERISTICS




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The City of Paso Robles has a diverse employment base, which encompasses many different areas of the
economy. As illustrated in the table above, manufacturing and wholesale trade is the largest employment sector,
providing 33% of jobs within the city. The second sector is other jobs, which accounts for 24.54% of total
employment, while retail accounts for 17.12% of employment in the city.

As of January 2020, the San Luis Obispo-Paso Robles MSA reported an unemployment rate of 3.1%, lower than
the statewide rate of 3.9% reported for California as a whole during the same period.



SUMMARY AND ANALYSIS

Paso Robles offers all the amenities of family life including attractive and available housing, ample City services,
state-of-the-art recreation facilities, easy access retail shopping, well rated public schools, and attractive
neighborhoods. Paso Robles has sustained strong, uninterrupted economic growth since 1993. While Paso
Robles retains the characteristics of a rural community, it is developing into a center of industry, viticulture, art,
recreation, commerce, and housing for San Luis Obispo County and strong regional economic indicators suggest
the area is position to grow and maintain its current status for the foreseeable future.




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NEIGHBORHOOD

Live Oak Road Vineyard

The subject’s Live Oak Vineyard and Residential Villa is located north of Live Oak Road in unincorporated rural
are approximately four miles southwest of Downtown Paso Robles. The area is part of the Paso Robles Willow
Creek District AVA and consists of primarily agricultural land uses predominantly concerned with vineyard
cultivation as well as supporting rural residential estate development with a number of noteworthy wineries in
the area. The neighborhood boundaries are best defined by the Willow Creek AVA designation.

The neighborhood as well as its infrastructure is rural. Both roads feature older asphalt paving and do not feature
lane markers nor are they improved with curbs or gutters. However, PG&E utilities and various county services
are available to the site, which is additionally serviced by a shared private well and septic system. The properties
in the area generally reflect average levels of maintenance and condition and the market appeal and acceptance
of the properties is average. The neighborhood is in the stable stage of its life cycle. The stable stage is defined
as "a stage in a neighborhood life cycle in which the neighborhood experiences equilibrium without marked gains
or losses."

San Marcos Road & Texas Road Vineyards

The subject’s San Marcos Road Winery and Vineyard and Texas Road Vineyard are located south and north,
respectively, of San Marcos Road in unincorporated rural are approximately five miles north of Downtown Paso
Robles. The area is part of the Paso Robles San Miguel District AVA and consists of primarily agricultural land
uses predominantly concerned with vineyard cultivation as well as supporting rural residential estate
development with a number of noteworthy wineries in the area. The neighborhood boundaries are best defined
by the San Miguel AVA designation.

The neighborhood as well as its infrastructure is rural. Both roads feature older asphalt paving and do not feature
lane markers nor are they improved with curbs or gutters. However, PG&E utilities and various county services
are available to the site, which is additionally serviced by a shared private well and septic system. The properties
in the area generally reflect average levels of maintenance and condition and the market appeal and acceptance
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MAP OF PASO ROBLES AVA AND DISTRICTS




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MARKET OVERVIEW




        OVERVIEW

    AGRICULTURAL MARKET OVERVIEW
   The following data is extracted from various sources specializing in agricultural land data including the USDA
   Economic Research Service. It is noted that large-scale agricultural land value studies occur with less frequency
   than do those for more traditional commercial real estate product and the data presented is considered to be the
   most current and relevant information available at the time of this report. Since the mid-1980’s farm crisis, farm
   real estate values have been predominantly rising in both nominal and inflation-adjusted terms.

   According to preliminary data from the 2018 CDFA Crop Year Report, In 2018, California's farms and ranches
   received almost $50 billion in cash receipts for their output. This represents a slight increase over adjusted cash
   receipts for 2017.

   California's agricultural abundance includes more than 400 commodities. Over a third of the country's vegetables
   and two-thirds of the country's fruits and nuts are grown in California. California is the leading US state for cash
   farm receipts, accounting for over 13 percent of the nation's total agricultural value. The top producing
   commodities for 2018 include:

                   Dairy Products, Milk — $6.37 billion                   Strawberries — $2.34 billion

                          Grapes — $6.25 billion                             Lettuce — $1.81 billion

                         Almonds — $5.47 billion                           Floriculture — $1.22 billion

                     Cattle and Calves — $3.19 billion                      Tomatoes — $1.20 billion

                        Pistachios — $2.62 billion                           Oranges — $1.12 billion




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There are many factors that play a significant role in farmland values. Farmland values are determined by factors
that affect the land market as a whole, as well as factors that affect the value of individual parcels relative to
each other. Often nationwide trends obscure regional variances. Historically, crop and pasture land prices did
not diverge significantly because pasture was essential for feeding farm animals; however, in recent years, on a
nationwide basis cropland values have exceeded pasture values due to primarily higher returns associated with
cropland. In California typically cropland, such as the subject, commands a significantly higher value per acre
than pastureland does with an average 2017 value recorded of $11,740 per acre, representing a 4.0% year over
year increase as of August versus $2,700 per acre for pasture land which is unchanged over the past five years.




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It is noted that nonfarm-related factors also have an impact on farmland values. Empirical studies of farmland
values have found that in some areas of the country, returns form agricultural production are secondary in terms
of value to a parcel’s proximity to urban areas. The demand for land that can be developed for urban use is the
most significant nonfarm factor affecting farmland values in areas experiencing faster population growth.
However, it is noted that beyond a certain threshold, the relationship between urban proximity and farmland
values becomes less relevant.




The United States farm real estate value, a measurement of the value of all land and buildings on farms,
averaged $3,140 per acre for 2018, up $60 per acre (1.9 percent) from 2017 values. Regional changes in the
average value of farm real estate ranged from an 8.3 percent increase in the Southern Plains region to 1.4
percent decrease in the Northern Plains region. The highest farm real estate values were in the Corn Belt region
at $6,430 per acre. The Mountain region had the lowest farm real estate value at $1,140 per acre.

The United States cropland value averaged $4,130 per acre, an increase of $40 per acre from the previous year.
In the Southern Plains region, the average cropland value increased 4.7 percent from the previous year, while
in the Lake region, cropland values decreased by 0.6 percent.

The United States pasture value increased by $40 per acre (3.0 percent) from 2017 values. The Southern Plains
region had the highest increase from 2017 at 5.6 percent. The Pacific region remained unchanged at $1,650 per
acre.




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CALIFORNIA AGRICULTURAL MARKET
2019 Cal-ASFMRA Trends in Agricultural Land and Lease Values Report (Region 6 – Central Coast):

In regards to the San Luis Obispo County wine grape market the 2019 California Chapter of the ASFRMA trends
report summarizes the current state of the market as follows.
        “This market is broken down into three fairly distinct growing areas, which impacts the underlying land and vineyard
        values, along with grape/bottle prices. Unlike Monterey County, land suitable for vineyards in San Luis Obispo
        County has little to no competition from vegetable and berry growers.
        Starting at the north end of the county, vineyards located west of Paso Robles/Templeton and Highway 101 set the
        upper end of the range, with vineyards currently selling for approximately $50,000 to more than $70,000 per net
        vine acre. These values are influenced by above average grape and bottle pricing (Cabernet Sauvignon), smaller
        parcel sizes, and rural estate and/or winery site appeal. Most of the sales in this area are purchased by wineries
        looking to secure fruit or lifestyle buyers looking to enter the wine industry.
        Staying at the north end of the county and moving east of Highway 101, parcels tend to get larger and rural estate
        and winery site appeal has less influence on the land and vineyard values. These large vineyard properties are
        mostly owned and purchased by growers, wineries, and institutional investors. Grape pricing for this area tends to
        be closer to county average and the profitability of the vineyard has a significant impact on value. Most of the
        plantable land in this area is within the Paso Robles Ground Water Basin that restricts new plantings and additional
        water usage without an off-set as outlined by the county. These restrictions have resulted in increased demand and
        value for vested, plantable land, with values mostly falling between $15,000 and $22,500 per acre. Plantable land
        sales that require an off-set for its irrigation supply indicate values less than $15,000 per acre, with some non-
        vested land sales as low as $5,000 to $10,000 per acre. In 2018 there was a group of vineyard sales that had below
        average profitability and in many cases were approaching the end of their economic life. These sales can be
        generalized as having grape pricing near county average, with historical production dropping below four tons per
        acre, and in some cases only break-even production (less than three tons per acre). These less profitable/interim
        vineyards supported values near plantable land and up to around $30,000 per net vine acre. The next group of
        vineyard sales for this area are near mid-life with average production levels and grape prices, indicating values
        mostly between $30,000 and $40,000 per net vine acre. Vineyard values beyond $40,000 per net vine acre are
        mostly young to mid-life, with production levels near or above five tons per acre, and grape pricing near county
        average. In 2018 a new high was set near $70,000 per net vine acre for an East Paso Robles/Shandon vineyard.
        This was purchased by an institutional investor and the property featured a large young vineyard, with good water
        resources, and exceptional production capabilities. Even with this new high observed in the East Paso
        Robles/Shandon growing area, demand for grapes going into the 2018 harvest started to soften, with several reports
        of uncontracted Cabernet Sauvignon selling for a steep discount. This is not uncommon for a large crop year and
        time will tell if there is any impact on vineyard values going forward. With that said, there was no measurable
        evidence of softening vineyard or land values in 2018.
        Edna Valley is the most established southern vineyard market in San Luis Obispo County and has some similarities
        to West Paso Robles/Templeton, in that values are influenced by above average grape and bottle pricing (Pinot
        Noir & Chardonnay), smaller parcel sizes, and rural estate and/or winery site appeal. Enda Valley is not an active
        market and values historically have been at the upper end of the range for San Luis Obispo County and more in
        line with the cool climate growing areas in Santa Barbara County.”




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For dry range/pastureland in the region the 2019 Trends report goes on to note the following:
        For several years, the Temblor Mountain Range/Carrizo Plains market was influenced by out of town buyers
        purchasing ranches for recreational, retreat and home-site purposes. Since the downturn in the economy, the
        demand from these types of buyers has been reduced. These sales are divided into two main groups: ranches of
        1,500 acres and smaller, and ranches 1,500 acres to 15,000 acres. The first group ranges from $800 to $7,000 per
        acre, while the second group ranges from $300 to $1,200 per acre. The primary influence that drove prices up on
        the smaller parcels was residential and/or recreational uses. The larger ranches may also be further divided into
        parcels purchased for recreational, retreat and home site desirability, versus those ranches purchased for grazing
        land. The larger ranches that offer scenic vistas, hunting, and other forms of recreation are typically forested,
        watershed land and of little use for grazing. These ranches tend to set the upper limit of the price range. The large
        ranches purchased for cattle grazing are selling for between $500 and $1,500 per acre. A large 21,000± acre dry
        pasture ranch in northern San Luis Obispo/Monterey County, sold in December 2016 for $1,482/acre.
        Parcels along the Pacific Ocean and Coastal Mountain Range with rural residential appeal have continued to remain
        stable to strong during the past several years. After 2007, this market saw a decline in activity and prices; however,
        it has shown substantial recovery over that past several years. This area is very attractive for large, rural home
        sites, with these properties typically being less than 1,000 acres. Sales range from $2,500 per acre for large dry
        pasture ranches with limited utility and/or lack of ocean views, to $15,000 per acre for smaller, desirable parcels
        with coastal influence, ocean views and/or cultivatable land. There have been several sales of small to medium size
        (120-600 acres) ranch properties along the coastal Santa Lucia Mountains in 2017 and 2018. These sales ranged
        in price from $9,000 to $13,750 per acre. The primary differences in pricing were due to location, ocean views and
        buyer/seller motivation.”




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Source: 2019 Cal-ASFMRA Trends in Agricultural Land and Lease Values Report




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WINERY / VINEYARD REAL ESTATE MARKET OVERVIEW
California Wine Industry
The revival of winemaking in California began in the mid-1950s.         Frank Bartholomew revived Agoston
Haraszthy's long idle Buena Vista Winery one of the region’s original wineries from the mission era; J.D.
Zellerbach founded Hanzell Winery; and the Sebastianis began producing wines under their label in the early
1960s. Today there are 3,540 total bonded wineries scattered throughout California.

In recent years, the industry's production has become more centralized. A few wineries now produce and
distribute most of the standard competitive wines, and a number of smaller wineries produce the higher quality,
more expensive wines. Many of these wines have gained a worldwide reputation for quality and value. Both
types of wineries produce wines, which represent some of the best buys for the American wine consumers.
Although in recent years the U.S. average annual consumption of wine has stabilized near 3.5 gallons per person
per year, there is continued demand for quality wines at reasonable prices with China becoming a burgeoning
market.




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                                               Source: Wine Institute




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Major California Wine Regions
Grapes can be grown in California wherever soil and water conditions are favorable, except at higher elevations
or near the coast, where the temperatures and/or heat summations are too low. In general, the grape growing
areas of California have mild to moderate winters, with rainfall varying from 3 to 4 inches in the southern deserts
to 40 inches in parts of northern Sonoma and Mendocino Counties. The ripening season is usually rainless
except in the dry-wine areas of the coastal valleys, where occasional rains may occur after September 1.
Damaging hailstorms almost never occur. The hot, dry summers and cold winters, tend to suppress the spread
of Phylloxera. Downy mildew, black rot, and anthracnose are unknown in cultivate vineyards. Similarly, the
grape moths Eudemis, Cochylis, and the berry moth are absent.

There are six major geographical grape growing regions in California. The geographic regions are distinguished
by their differences in climates brought about by the topography of the state and its proximity to the ocean. The
regions are the North Coast, Central Coast, South Coast, Central Valley, Shasta Cascade, and the Hot Desert.

Rootstock Varieties
The selection of grape vine rootstock has a significant impact on the overall health of the grape vine and in turn
the quality of the fruit, and ultimately vineyard value. The grape vine pest-Phylloxera (Pronounced Fy-lox-er-a),
was first seen in California in 1852, and is now generally distributed throughout Northern California. The major
impact of this underground insect is that it attacks the roots of grape vines, causing a reduction in yield over time.
In 1863, species of native American grapes were taken to Botanical Gardens in England. These cuttings carried
Phylloxera, which is indigenous to North America and native vine varieties had developed resistance. European
vines had no such evolutionary protection. By 1865. Phylloxera had spread to vines in Provence. Over the next
20 years, it inhabited and decimated nearly all the vineyards of Europe. After failing to eradicate the pest,
Thomas Munson, a horticulturist in Texas, suggested grafting the European vinifera vines onto American riparian
rootstocks. It was only in this manner that the European wine industry could be retrieved from extinction. The
use of Phylloxera resistant rootstock is now the main preventative measure. Generally, most vines grown today
are grafted onto disease resistant rootstock.

There are several Phylloxera resistant rootstocks available to growers, but only a few are deemed suitable for
use in California. St. George and AXR1 have been two rootstocks commonly used in Northern California. St.
George is a variety of Vitis rupestris, a Phylloxera resistant species native to the Eastern United States. It is
most suited for the drier hillside locations of the non-irrigated coastal valleys. It is not resistant to nematodes
or to oak root fungus. AXR1 is a hybrid between Vitis vinifera and Vitis rupestris. This rootstock was believed
to have been resistant to Phylloxera and produces greater yields than St. George rootstock. It performs well
under irrigation and in the deeper, heavier soils of the floors of the coastal valleys. Over the years, other
rootstocks such as 3309, 1103 and SO4, which have high resistance to Phlloxera.




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In addition to Phylloxera, many vineyards along creeks and rivers had become infested with Pierce's disease,
which also affects vines and lowers yields over time. This disease is due to bacteria, which is transmitted by the
"Leaf Hopper” or glassy-winged sharpshooter. The insect leaps from leaf to leaf along the vines, and inject the
bacterium into the sap of nearby grapevines. The bacterium lives and multiplies in a plant’s xylem, eventually
blocking the movement of water and killing the vine. All rootstocks are susceptible to the disease and the main
method of prevention is the use of pesticides to keep the insects away from the vines.

While 15 counties have been identified by the State as being infested with the insect, primarily in Southern
California and Southern San Joaquin Valley, damage by Pierce’s disease has affected less than one percent of
the state’s 568,000 wine grape acres since 1994, but because the glassy-winged sharpshooter moves quickly
and Pierce’s disease can kill a vine in two years, California has responded to stop this potentially devastating
threat. Recently, the Los Alamos National Laboratory and UC Davis have come up with a hybrid grape vine that
is immune to Xylella Fastidiosa (XF), a bacterium that causes Pierces Disease. This Hybrid produces an
antimicrobial protein that blocks XF infection. The experts imagine that with this new technology it will help the
farmer to have less reliance on chemicals, as growers fend off the glassy winged sharp shooter.

Central Coast Wine Region
The subject property is located in the greater Central Coast Californian Wine Region. The Central Coast is a
large encompassing American Viticultural Area (AVA) that extends from the south of San Francisco all the way
to Santa Barbara, California. The region contains 40 AVAs including Paso Robles, Santa Cruz Mountains,
Monterey, and Santa Barbara and each of these sub-regions specializes in different types and expressions of
wine. While the Central Coast may not have the same namesake as Napa Valley, it does happen to produce
some of California’s most intriguing, up-and-coming wines.


The Central Coast AVA in California covers the long stretch of coastline from San Francisco Bay south to Santa
Barbara and reaches inland from the Pacific Ocean to the borders of the Central Valley. The climate and
topography vary enormously across this immense region, making it impossible to generalize about winegrowing
conditions. Chardonnay and Pinot Noir are the most important grapes planted in the region, but Cabernet
Sauvignon, Zinfandel and Sauvignon Blanc make up a sizable chunk of the wines produced here.

Running for approximately 280 miles from Contra Costa County to the Santa Ynez Valley, the Central Coast
AVA covers some of California's most famous AVAs outside of Napa and Sonoma counties, including Paso
Robles, Chalone, Santa Cruz Mountains and Santa Maria Valley. The rugged, mountainous topography of the
area has been brought about by years of tectonic shift, and the famous San Andreas Fault cuts much of the AVA
off from the rest of the United States. The Santa Lucia Mountains, the Galiban Range and the Santa Cruz
Mountains all run through this part of California.




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The first cultivated vineyards in the Central Coast were planted in the 1700s, although early Spanish explorers
found wild grapes growing around the rivers in the region. The early vineyards (mostly planted to the Mission
variety) were established by Spanish missionaries moving north toward San Francisco from the first missions in
San Diego and Los Angeles counties. The steadily growing wine industry in this part of California was all but
killed off in the 1920s by Prohibition and didn't begin to recover until the American wine renaissance of the 1960s
and 1970s, when winemakers began to look for interesting examples of terroir in the state.

The San Andreas Fault contributes significantly to the soil types found in the AVAs of the Central Coast. Soil on
the western side of the fault is marked by areas of limestone all the way up the coast. This area was once part
of an ancient seabed, and the calcareous soils here are the result of fossilized marine animals. There are also
areas of shale and loam in the Salinas Valley in Monterey, and sandy, gravelly soils surrounding San Francisco
Bay. Soils range in depth and fertility across the Central Coast AVA, with thin, mountainous types being more
suited to quality and the more fertile alluvial types in the valleys being better for high yields and bulk production.

The eastern boundary of the Central Coast AVA is around 60 miles inland, and much of the region is influenced
by winds from the Pacific Ocean, funneled into the vineyard areas by a series of important valleys and mountain
gaps throughout the region. Monterey Bay is arguably the most important contributor, blowing strong winds and
fog down the Salinas Valley as well as providing cool breezes to the more inland areas of San Benito and the
southern end of the Santa Clara Valley. San Francisco Bay is important as well but, being on the northern edge
of the AVA, it has more of an influence on the North Coast and Central Valley AVAs.

The cool climate in much of the Central Coast AVA is excellently suited to the Burgundy varieties of Pinot Noir
and Chardonnay, despite the fact that the northernmost part of the region is a full 10 degrees closer to the
equator than Burgundy. The hotter, more inland areas of the Central Coast are also good for Zinfandel, which is
planted in San Benito County and Paso Robles. Cabernet Sauvignon does well in the higher-altitude parts of the
AVA, particularly in the Santa Cruz Mountains north of Monterey Bay.

Small wineries are abundant on the Central Coast, as are large, well-respected producers who use the Central
Coast AVA for wines made with grapes grown in more than one county. Many of the cult Sine Qua Non wines
are labeled under this AVA, meaning that some of the most expensive single wines in California (and indeed the
whole of the New World) are sold under the Central Coast AVA.




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CONCLUSION
The subject consists of a rural residential/agricultural property consisting of three vineyards, a large residential
villa and a winery facility. Two of the vineyards are located in the Paso Robles San Miguel District AVA, and one
is in the Paso Robles Willow Creek District AVA. All three parcels are suitable for a vineyard and have been
used for permanent plantings (wine grapes), a winery facility and residential occupancy. The majority of
California appears to have emerged a recent period of prolonged drought, which began in 2012 and endured to
reach historical levels making it the worst drought of the past 100 years, the sustainability of available water
supplies continue to impact the outlook for farmland and vineyards. Historically, agricultural land has been among
the most stable real estate products available, through the future of the California agricultural market is heavily
depended on the ability to minimize susceptibility to extreme drought conditions such as those seen in recent
years and the ability to sustain a sufficient production volume for farmers to remain profitable at current
commodity prices.




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SITE AND BUILDING DESCRIPTION




        SITE DESCRIPTION
        Assessor’s Parcel Number                           026-104-001,027-145-022,026-342-039
        Lot Area (acres)                                   417.09 acres
        Lot Area (sq. ft.)                                 18,168,440 sq. ft.         Source                   Public Record
        Shape                                              Irregular
        Topography                                         Rolling
        Census Tract                                       100.16
                                                           Map                        Date                     Zone
        FEMA                                               06079C0400G                November 16, 2012        X
                                                           The subject sites are located in Flood Zone X, defined as, “Areas determined to be
                                                           outside 500-year floodplain determined to be outside the 1% and 0.2% annual
                                                           chance floodplains.” Flood insurance is not required for properties in this zone.
        Easements                                          No
        CC&Rs                                              No


        SITE DESCRIPTION
                                 The subject property consists of three parcels that total 471.09 acres. The Assessor's parcel maps are
                                 copied later in this report. The subject property consists of a three legally separate parcels summarized
                                 in the following table.




        VINEYARD DESCRIPTION
        The subject has 16 primary varieties of grapes. The predominant varietals grown at the subject are Cabernet
        Sauvignon, Zinfandel, Petite Sirah, Petit Verdot, Syrah, Grenache Blanc, Primitivo, Sauvignon Blanc, and
        Merlot. All vines are provided water by drip irrigation.




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PIERCE’S DIESEASE

The subject property’s vineyards are located on hillsides. According a statement from the owner, the vineyard
is not affected by the disease. Irrigation water is distributed to the individual blocks of the subject property via
a drip irrigation system. This system consists of one drip line with emitters per row. Each drip line is suspended
from each vineyard stake.




The vineyard blocks are summarized above and maps of the vineyard are included on the following pages. Of
the 87.92 acres planted at the Live Oak Road Vineyard, the majority were replanted from 2017 to present with
a handful of older vines form 1999 and 2008 remaining. In addition to this, there are 38.5 acres of the site that
have been terraced and are ready to be planted and have irrigation systems installed to cultivate additional
wine grapes.


The vines at the San Marcos Road Vineyard are older having been planted in 1997 and 1998. Currently only
34 acres are actively being farmed and the remaining 57 acres have been allowed to fallow and are eligible
for replanting under the TAP program for vine replacement which provided subsidies for the costs of materials
associated with replanting a vineyard. The majority of the vines at the Texas Road Vineyard were planted
between 2003 and 2007. Currently 74.5 acres are being farmed with 4046 acres that have fallowed and are
eligible for replanting under the TAP program.


Determining the economic life of vineyard plantings can be challenging. Many commercial producers would
conclude the optimum winemaking economic lifespan of a vine is between 20 and 40 years old, placing the
majority of the subject plantings within this range and suggesting a replanting event may be on the horizon.




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However, many boutique winemakers prefer older vineyards for the greater depth of flavor of the fruit they
produce and it is not uncommon for “old vine” commercial plantings to reach an age range of 50 to 60 years
or as many as 100 years old for “ancient vine” designation. Therefore, while yields tend to diminish
substantially on older vines, this loss in volume can often be recovered by the higher bottle prices that wines
produced from old vine grapes can command. Accordingly given the subject’s market position and its appeal
to the premium market segment, the remaining economic life of the subject’s plantings is deemed adequate
so as to not negatively impact the value or marketability of the subject property.


                                               Live Oak Vineyard Map




Water for the Live Oak Rd Vineyard is supplied from five wells on site which provide sufficient water for the
residence and vineyard. The GPM pump capacity was not disclosed. There is one 30,000-gallon cement
storage tank and two 5,000-gallon plastic storage tanks.




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                                               San Marcos Road Vineyard Map




Water for the San Marcos Rd Vineyard is supplied from three wells on site which provide sufficient water for
the winery and vineyard. The well has a 65-75 GPM pump capacity and there are three water storage tanks
with on 60,000-gallon raw water tank, a 30,000 gallon tank for reverse osmosis water for the winery, and a
30,000 gallon cement tank for vineyard irrigation water.




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                                               Texas Road Vineyard Map




Water is supplied from on wells on site which provides sufficient water for the vineyard with a capacity of 75-
100 GPM and two 5,000-gallon plastic storage tanks and a pumping station.


Groundwater


Groundwater resources have long played a significant role in the development, growth and sustainability of
the Santa Luis Obispo Valley. The major groundwater resources are detailed as follows:




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On September 16, 2014, Governor Jerry Brown signed into law a three-bill legislative package, composed of
AB 1739 (Dickinson), SB 1168 (Pavley), and SB 1319 (Pavley), collectively known as the Sustainable
Groundwater Management Act (SGMA). For the first time in its history, California has a framework for
sustainable, groundwater management - “management and use of groundwater in a manner that can be
maintained during the planning and implementation horizon without causing undesirable results.”

SGMA requires governments and water agencies of high and medium priority basins to halt overdraft and
bring groundwater basins into balanced levels of pumping and recharge. Under SGMA, these basins should
reach sustainability within 20 years of implementing their sustainability plans. For critically over-drafted basins,
that will be 2040. For the remaining high and medium priority basins, 2042 is the deadline.

Through the Sustainable Groundwater Management Program, DWR provides ongoing support to local
agencies through guidance and financial and technical assistance. SGMA empowers local agencies to form
Groundwater Sustainability Agencies (GSAs) to manage basins sustainably and requires those GSAs to adopt
Groundwater Sustainability Plans (GSPs) for crucial groundwater basins in California. The subject’s Live Oak




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Road Vineyard derives its groundwater from a high priority SGMA basin according to AQUAOSO’s water
mapping services and accordingly is subject to the 2042 deadline. The subject’s San Marcos Road and Texas
Road Vineyards derive their groundwater from a very low priority basin and are not subject to the deadline.

Williamson Act

According to the information provided and confirmed by Santa Barbara County the subject property is subject
to a Williamson Act contract. The California Land Conservation Act of 1965 — known as the Williamson Act
— enables local governments to enter into contracts with private landowners for the purpose of restricting
specific parcels of land to agricultural or related open space use. In return, landowners receive property tax
assessments, which are much lower than normal because they are based upon farming and open space uses
as opposed to full market value. The preferred method of cancellation for these contracts is through a non-
renewal process. Minimum contract periods range from 10 to 20 years and typically the non-renewal process
must commence within the first year of the new contract period. In order to cancel outside of these
circumstances an application for cancellation must be granted by the local government in finding that:

     1. That the cancellation is for land on which a notice of nonrenewal has been served.
     2. That cancellation is not likely to result in the removal of adjacent lands from agricultural use.
     3. That cancellation is for an alternative use which is consistent with the applicable provisions of the city
        or county general plan.
     4. That cancellation will not result in discontiguous patterns of urban development.
     5. That there is no proximate, noncontracted land which is both available and suitable for the proposed
        use or that development of the contracted land would provide more contiguous patterns of urban
        development (GC §51282(b)).

If a cancellation is granted the owner is subject to a cancellation fee equal to 12.5% of the fair market value
of the land in question.


LEGAL DESCRIPTION


         The Assessor's Parcel Number 026-104-001,027-145-022,026-342-039 A Preliminary Report was not
         provided for our review; however, we assume that the legal description coincides with the Assessor's
         Parcel Map.




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ALQUIST-PRIOLO GEOLOGIC HAZARDS ACT
         All properties in California are subject to some degree of seismic risk. The Alquist-Priolo Special
         Studies Zone Act of 1972 was enacted by the State of California to regulate development near active
         earthquake faults. The Act required the State Geologist to delineate earthquake fault zones along
         known faults in California. Cities and counties affected by the identified zones must limit certain
         development projects within the zones unless geologic investigation demonstrates that the sites are
         not threatened by surface displacement from future faulting. The Alquist-Priolo maps identify areas at
         risk of having surface ruptures; they do not address seismic risk due to soil composition or distance
         from an active fault. According to information provided by the California Department of Conservation
         website (http://www.conservation.ca.gov) the subject property is not located within the boundaries of a
         Special Studies Zone. The appraisers are not qualified in the determination of seismic risk, and the
         client is advised to consult a geotechnical expert in the determination of seismic risk.


SOIL CONDITIONS/TOXIC CONDITIONS
         Soil studies of the subject property were not made available or reviewed as part of this appraisal. The
         soils are presumed adequate to support development, as evidenced by the existing improvements.
         This appraisal is based on the special assumption that the property is not adversely affected by any
         environmental or toxic conditions. The appraisers are not qualified in the determination of
         environmental or toxic conditions, and the client is advised to consult an expert in this area.


         Soil composition maps for the subject’s vineyards obtained from the USDA Web Soil Survey mapping
         system are copied below.




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EASEMENTS
         A Preliminary Report, which typically contains easements of record, was not provided for our review.
         No easements were noted during our inspection, other than typical public utility easements, and this
         appraisal assumes there are no easements that negatively impact the use, marketability, or value of
         the subject property.




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CC&Rs
         A Preliminary Report, which would typically contain reference to conditions, covenants and restrictions
         (CC&Rs), was not provided for our review. This appraisal assumes there are no CC&Rs that negatively
         impact the use, marketability, or value of the subject property.



SITE IMPROVEMENTS

Parking Total                 13                     Ratio                  0.22/1,000 sq. ft.GBA
Open Spaces                   13                     Surface                Asphalt
Garage Spaces                 0
Landscaping                   Average
Curbs                         No                     Sidewalks              No
Storm Drains                  No
Water Service                 Private                Sewer Service          Septic




REAL ESTATE TAXES
          Parcel #                                      026-342-039 026-104-001 027-145-022
          Land                                             $277,975   $1,538,138   $173,023
          Improvements                                    $2,205,052 $10,827,217  $1,082,841
          Personal Property                                  $11,460  $1,399,711          $0
          Exemptions                                         ($7,000)         $0          $0
          Total Assessed Value                            $2,487,487 $13,765,066  $1,255,864

          Tax Rate                                           1.08368%         1.08368%              1.08368%
          Annual Taxes                                         $26,956         $149,169               $13,610
          Special Assessments/Direct Charges                        $0               $0                    $0
          Sub Total                                            $26,956         $149,169               $13,610

          Defaulted Taxes                                          Yes             Yes                    No
          Payment Plan in Effect                                    No              No                    No
          Redemption Amount                                      $928       $2,814,408                    $0
          Total Taxes                                          $27,884      $2,963,577               $13,610




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Specific property tax information for the 2019/2020 tax year is shown in the preceding table and represents
current information based on current assessed value. According to the County Tax Collector, as of the date of
the report, taxes for two of the three parcels that make up the subject property are delinquent. The taxes for 026-
342-039, the Live Oak Road Vineyard and Residence are delinquent resulting from unpaid prior year taxes for
2019. The outstanding redemption balance is $927.79 according to the assessor’s records. The taxes for 026-
104-001, the San Marcos Road Winery and Vineyard are delinquent resulting in unpaid taxes from 2005 through
2018. The outstanding balance for this parcel totals $2,814,407.80. There may be interest accruing on these
delinquent amounts and the balance due may be more than the amount noted or the owner may have already
instituted a re-payment plan. This appraisal analysis assumes that all tax payments, liens and judgments will be
made, or are, current and that there will be no adverse effect on the subject property resulting from unpaid taxes,
liens or judgments.

In 1978, the voters of California enacted Proposition 13. This bill limited property taxes to 1% of the 1975
assessed value plus any voter approved city, special district or county bonds. The State Board of Equalization
cannot increase the assessed values more than 2% per year. However, if a property is sold or substantially
improved, the assessed or taxable value adjusts to market value of the property (usually sales price) as estimated
by the County Assessor's Office as of the transaction date.




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 ZONING DESCRIPTION
 Primary Zoning                            AG - Agricultural (San Luis Obispo County)
 Purpose
 Permitted Uses                            The majority of uses aside from Agricultural Accessory Structures require
                                           additional project based permitting, most in the form of an administrative land use
                                           permit. These uses include crop production and grazing, animal keeping, forestry,
                                           cannabis activities, and kennels.
 Change in Zoning Likely                   No


 Development Standards                     Permitted                                    Subject's Actual
 Lot Size                                  Not specified                                18,168,440
 FAR                                       Not specif                                   0.00
 Coverage                                  Not specif                                   0%
 Parking                                   8                                            13
 Legally Permitted                         Yes
 Conforming                                Yes
For winery uses, parking is required at a rate of 1 space per 2,000 sf of active use area, 1 per 5,000 sf of storage.
According to the Municipal Code, the subject property's current use and development are legal and conforming.
The improvements could be re-built to their current density if destroyed by natural disaster.




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                                               Aerial Photo - Live Oak Rd




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                                               Parcel Map - Live Oak Rd




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                                               Aerial Photo - San Marcos Rd




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                                               Parcel Map - San Marcos Rd




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                                               Aerial Photo - Texas Rd




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                                               Parcel Map - Texas Road




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BUILDING DESCRIPTION

The subject consists of a winery facility with three vineyards with a total gross land area of 471 acres, of which
252 acres is planted with various varietals of wine grapes. Building improvements include a 7,532 square foot
residential villa and a 43,210 square foot winery facility that includes production and storage, administrative
offices and a wine tasting area located in the barrel storage area. The primary improvements are summarized
as follows.

                                        P R IMAR Y IMP R OV E ME N T S U MMAR Y
                     T ype                           Y r. Built         T ota l S ize (S q. Ft.)
                     Residential Villa                  1987                     7,532
                     Labor Dwelling                     2000                       900
                     Manufactured Home                  2000                       900
                     Shop Building                      2000                     2,400
                     Winery Facility                    2007                     43,210
                     Barn / Shop Building               1990                       943
                     Barn / Shop Building               1990                     1,296
                     Total                                                       57,181




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SUBJECT PHOTOS




                    View of Winery Facility                     View of Winery Facility




                    View of Winery Facility                     View of Winery Facility




                    View of Winery Facility                     View of Winery Facility




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SUBJECT PHOTOS




                    View of Winery Facility                     View of Winery Facility




                   San Marcos Rd Vineyard                      San Marcos Rd Vineyard




                      Texas Rd Vineyard                           Texas Rd Vineyard




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SUBJECT PHOTOS




                    Live Oak Rd Vineyard                        Live Oak Rd Vineyard




                    Live Oak Rd Vineyard                        Live Oak Rd Vineyard




                    Live Oak Rd Vineyard                        Live Oak Rd Vineyard




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                                  HIGHEST AND BEST
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HIGHEST AND BEST USE




         HIGHEST & BEST USE AS VACANT


    LEGALLY PERMISSIBLE
                       Zoning for the subject property is AG - Agricultural (San Luis Obispo County). Permitted uses in a AG -
                       Agricultural zoning district are primarily agricultural and single family residential. A change in the current
                       zoning is unlikely. The site is suitable for agricultural and rural residential use.

    PHYSICALLY POSSIBLE
                       The subject consists of three parcels that total Site Area Square Feet> sq. ft., Site Area Acres acres. The
                       topography is rolling / hilly with no apparent drainage or easement problems. No soil problems are
                       presumed. All customary and usual utilities are available. The site has average access and average street
                       visibility. The site is not limited by its physical characteristics, except for size.

    FINANCIALLY FEASIBLE
                       The subject lies in unincorporated, San Luis Obispo County near the city of Paso Robles. Land uses around
                       the subject are primarily agricultural and rural residential. The area is among one of the more well-regarded
                       wine producing regions in California, outside of the Napa and Sonoma with generally appreciating
                       agricultural values and agricultural production is generally believed to be financially feasible in the current
                       economic climate. However, increasing operating costs, especially including labor costs, and recent
                       declines in commodity prices stand to have a negative impact on the long-term viability of less productive
                       or smaller scale operations.

    MAXIMALLY PRODUCTIVE USE AND IDEAL IMPROVEMENT
                       It has been concluded in the previous sections that the subject site is constrained by its size, the zoning
                       regulations that apply to the site, and the demand for allowable uses. Considering the subject's location,
                       nearby uses, zoning, and current real estate marketplace, an agricultural and rural residential use would
                       result in maximum productivity to site.

    CONCLUSION
                       A development similar to the current rural residential and winery / vineyard use combined, would be legally
                       permissible, physically possible, financially feasible, and will result in the maximum productivity to the
                       site. These uses therefore result in the highest and best use, as though vacant.




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HIGHEST AND BEST USE AS IMPROVED

The subject property is currently improved with an Estate Vineyard & Winery Property. This use is physically
possible based on the size, shape and location of the site; it is legally permissible based on zoning, building and
other applicable codes; it is financially feasible given the historical occupancy and use, demand in the market for
similar properties. The combination of these factors with the remaining physical and economic life of the
structure, result in this being the maximally productive use. The building improvements are assumed to be in
good physical condition and functional for their current use. No adverse external influences were noted.
Therefore, continued Estate Vineyard & Winery use of the subject property is the highest and best use as
improved

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                                 VALUATION METHODOLOGY
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VALUATION METHODOLOGY




   The Cost Approach adds land acquisition costs and building costs (direct and indirect), to arrive at a total
   replacement cost for the subject property. From this figure the applicable depreciation is subtracted to determine
   an As Is depreciated value. The Cost Approach is a good indicator of value when the subject property is new
   and accurate data exists on building costs. There must also be recent land sales in order to estimate the site
   value. However, the Cost Approach is subject to discrepancy in the assemblage of information required including:
   building costs, estimation of depreciation, and estimation of entrepreneurial incentive or profit.

   The Cost Approach was developed due to the unique nature of the subject property's improvements as a special
   purpose property and the availability of recent land sales in this market from which to determine a site value.

   The Sales Comparison Approach involves direct comparisons of the property being appraised to
   similar properties that have sold in the same or a similar market in order to derive an estimate of value for the
   subject property. This approach is based on the principle of substitution and that an informed purchaser would
   not pay more for a property than the cost of acquiring another property with similar utility. This approach is
   applicable when an active market provides a sufficient quantity of comparable sales that can be verified from
   reliable sources.

   The Sales Comparison Approach was excluded in appraising the subject property since adequate data from
   reliable comparable sales was not available to provide a reasonable value estimate for the subject property.

   The Income Capitalization Approach is based on the principle of anticipation and is a procedure in
   appraisal analysis that converts anticipated benefits to be derived from the ownership of property into a present
   dollar value estimate. The Income Capitalization Approach is widely applied in appraising income-producing
   properties since they are typically purchased for investment purposes and the projected net income stream and
   capitalization rate are the critical factors determining market value via this approach.

   Given the specific characteristics of the subject property, the fact that large vineyards are not often leased and
   there is a lack of adequate lease comparable data, and the fact that the going concern value of the winery
   operation was beyond the scope of our assignment, the Income Capitalization Approach was not performed.




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COST APPROACH




   The Cost Approach adds land acquisition costs and building costs (direct and indirect), thereby arriving at a
   total replacement cost for the subject property. From this figure, the applicable depreciation is subtracted. The
   Cost Approach has been developed to estimate the value of the subject’s real property, including the FF&E. We
   have estimated the replacement costs of the building and site improvements. No vineyard establishment costs
   were included in our depreciated replacement cost analysis as the available land sales featured relatively
   comparable levels of planted vineyard land and therefore our adjusted land value indicators have already
   accounted for this factor.

   Site Value Estimate          A summary of the data on comparable vineyard land sales is itemized in the following
   table. All of the comparables feature a relatievely comparable level of planted vineyard land relative to the overall
   site area. The selected indicated is the price per net vineyard acre which is the relationship between sale price
   relative to the plantage acreage as planted acreage is the primary driver of value and this is the preferred metric
   utilized by local market participants. However, in order to accommodate for the incremental value of the additional
   non-planted land area we have adjusted for variances in this factor at a rate of $10,000 per non-vineyard acre
   variance factored as the difference in the percentage of planted acreage relative to the sale price. The sales
   produced an unadjusted price range from $27,449 to $84,591 per net vine acre (planted acreage) and are
   considered the best available comparables at the time of this report.


   As the subject consists of three vineyards with differing characteristics, we have included an adjustment grid for
   each vineyard. The subject’s Live Oak Road Vineyard is located southwest of Paso Robles in the Willow Creek
   District of the Paso Robles AVA. This vineyard has better soils than the other two and has produced grapes that
   have been used in several highly rated wines in recent years.


   The subject’s San Marcos Road Vineyard and the Texas Road Vineyard are located adjacent to each other.
   These viveyards are located northwest of Paso Robles in the San Miguel District of the Paso Robles AVA.




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COMPARABLE LAND SALES PHOTOS




                            SALE 1                                  SALE 2




                            SALE 3                                  LISTING




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Live Oak Road Vineyard Site
The adjusted land sale prices range from $34,270 to $63,003 per net vineyard (planted) acre, with an average
of $50,297. Taking into account the Willow Creek District AVA, soil quality and history of producing highly rated
wines, we have concluded at a price per acre at the upper end of the range. Accordingly, it is our opinion that a
unit indicator of $60,000 per net vineyard (planted) acre is supportable for the subject’s 87.9 acres of planted
vineyards.


In addition to the the planted acreage, the subject has 38.5 acres of plantable land that has been terraced and
is ready for planting. To estimate a value of the plantable land, we have deducted the costs associated with
planting the vines and installing the irrigation system. Planting costs are estimated at $8,375 per acre (based
on $5 per vine and 1,675 vines per acre) and the cost of installing a drip irrigation system is estimate at $6,000
per acre, resulting in total costs of $14,375 per acre that must be deducted from the unit indicator above.
Deducting these costs from the estimate of $60,000 for a planted acre results in a price indication of $45,625
($60,000 - $14,375 = $45,625) per plantable acre. Accordingly we have estimated the subject’s 38.5 acres of
plantable land based on $45,000 per acre.


The subject’s site value for the Live Oak Road Vineyard is calculated as follows:


                                     Site Value Estimate - Live Oak Road
                                                         Size
                                       Item             (acres)    $/Acre   Value Indication
                          Planted Vineyards               87.9    $60,000     $5,275,200
                          Plantable Land                  38.5    $45,000     $1,732,500
                          Indicated Value                                     $7,007,700
                          Rounded to nearest $100,000                         $7,000,000




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San Marcos Road Vineyard Site
The adjusted land sale prices range from $37,302 to $63,400 per net vineyard (planted) acre, with an average
of $53,509. Taking into account the San Miguel District AVA, and soil quality, we have concluded at a price per
acre at the lower end of the range. Accordingly, it is our opinion that a unit indicator of $40,000 per net vineyard
(planted) acre is supportable for the subject’s 34.0 acres of planted and actively farmed vineyards.


In addition to the the planted acreage, the subject has 57.0 acres of land that was previously planted with vines
that have now fallowed, is fully trellised and irrigated, and is eligible for replanting under the TAP Program
incentives. To estimate a value of the plantable land, we have deducted the costs associated with planting the
vines. Planting costs are estimated at $8,375 per acre (based on $5 per vine and 1,675 vines per acre) that
must be deducted from the unit indicator above. Deducting these costs from the estimate of $40,000 for a planted
acre results in a price indication of $31,625 ($40,000 - $8,375 = $31,625) per plantable acre. Accordingly we
have estimated the subject’s 57.0 acres of plantable land based on $31,500 per acre.


The subject’s site value for the San Marcos Road Vineyard is calculated as follows:


                                  Site Value Estimate - San Marcos Road
                                                         Size
                                       Item             (acres)    $/Acre   Value Indication
                          Planted Vineyards               34.0    $40,000     $1,360,000
                          Plantable Land                  57.0    $31,500     $1,795,500
                          Indicated Value                                     $3,155,500
                          Rounded to nearest $100,000                         $3,200,000




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Texas Road Vineyard Site
The adjusted land sale prices range from $33,809 to $60,233 per net vineyard (planted) acre, with an average
of $48,786. Taking into account the San Miguel District AVA, and soil quality, we have concluded at a price per
acre at the lower end of the range. Accordingly, it is our opinion that a unit indicator of $40,000 per net vineyard
(planted) acre is supportable for the subject’s 74.5 acres of planted and actively farmed vineyards.


In addition to the the planted acreage, the subject has 40.46 acres of land that was previously planted with vines
that have now fallowed, is fully trellised and irrigated, and is eligible for replanting under the TAP Program
incentives. To estimate a value of the plantable land, we have deducted the costs associated with planting the
vines. Planting costs are estimated at $8,375 per acre (based on $5 per vine and 1,675 vines per acre) that
must be deducted from the unit indicator above. Deducting these costs from the estimate of $40,000 for a planted
acre results in a price indication of $31,625 ($40,000 - $8,375 = $31,625) per plantable acre. Accordingly we
have estimated the subject’s 40.46 acres of plantable land based on $31,500 per acre.


The subject’s site value for the Texas Road Vineyard is calculated as follows:


                                       Site Value Estimate - Texas Road
                                                         Size
                                       Item             (acres)    $/Acre   Value Indication
                          Planted Vineyards               74.5    $40,000     $2,981,600
                          Plantable Land                  40.5    $31,500     $1,274,490
                          Indicated Value                                     $4,256,090
                          Rounded to nearest $100,000                         $4,300,000




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VALUE OF IMPROVEMENTS
In estimating the replacement cost new of the subject improvements, cost estimates for the buildings and site
improvements were derived from the Marshall Valuation Service (Calculator Method), a widely used and well
regarded guide for the development of reproduction and replacement cost estimates. This service provides data
on a variety of building types and classes of construction with appropriate adjustments for quality, condition,
timing and geographic location.

Costs developed reflect the final cost to the owner and include typical costs of:
1. Architectural and engineering services, including normal surveying costs.
2. Plans, plan checking and estimated average permit fees.
3. Normal construction loan fees and interest during typical course of construction.
4. Sales tax on materials.
5. Utilities from the lot line to the structure for typical setbacks.
6. Contractor overhead and profit, including on-site supervision, but not developer/entrepreneurial profit.
7. Costs of typical site preparation, including foundation excavation and backfill.

Direct Costs

Estimates for direct costs were separated into three main categories: main residential building improvements,
retail winery improvements, and wine production facility improvements. To account for economies of scale, the
building base cost was adjusted using an area/shape multiplier and height multiplier. Current and local cost
multipliers were also incorporated into the cost analysis to account for local and current market conditions. As
previously noted no vineyard establishment costs were included in our depreciated replacement cost analysis
as the majority of available land sales featured relatively comparable levels of planted vineyard land and
therefore our adjusted land value indicators have already accounted for this factor.

Indirect Costs

Indirect costs include interest, property taxes, excess municipal and professional fees, and developer’s profit.
For the purpose of our analysis, the construction period was estimated at twelve months. Taxes were estimated
at 1.08368% of the land value for 18 months. Conversations with several developers indicated an anticipated
developer’s profit range of 5% to 20% of the total direct and indirect costs. A 10% profit was considered
appropriate for the subject given the current economic climate.

Estimate of Accrued Depreciation

Depreciation is a loss in utility and, thus, value from any cause. We have estimated the life expectancy and
depreciation rate for each component of the subject’s improvements. A depreciation breakdown is shown at the




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bottom of the Replacement Cost Summary Table. We also considered other forms of depreciation such as
functional and external obsolescence which the subject does not exhibit.

FF&E Value Valuation of the subject’s FF&E was beyond the scope of our assignment and we would advise
the client obtain a valuation from a personal property appraiser experienced in valuing equipment and fixtures
for wineries.


Site Value As discussed in the fee simple site value estimate section of this report the value of the subject’s
supporting vineyard sites was estimated at $7,000,000 for the Live Oak Road Vineyard site which is improved
with the Residential Villa, and at $3,200,000 for the San Marcos Road Vineyard site which is improved with the
Rabbit Ridge Winery facility.

Presentation of Cost Approach                  The value of the improved sites for the Live Oak Road Vineyard and
Residence and the San Marcos Road Vineyard and winery facility are presented in the tables on the following
pages. No table is presented for the Texas Road Vineyard as there are no building improvements on that site.




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                                                    REPLACEMENT COST SUMMARY
                                          Rabbit Ridge - Live Oak Rd Residential Villa & Vineyard
 Direct Building Costs

 Main Buildings - Residences
 Marshall Valuation Service - Average/Good/Excellent Quality, Class D* Residence, Section 12, Page 27, 29 (August 2018)
 Primary Residential Villa                                             7,532    SF                   @               $   343.00 $      2,583,476
 Labor Dwelling                                                         900     SF                   @               $    82.00 $         73,800
 Mobile Home                                                            900     SF                   @               $    82.00 $         73,800
 Height Multiplier                                                                                                                           1.00
 Current Multiplier                                                                                                                          1.02
 Local Multiplier (Santa Barbara)                                                                                                            1.21        $3,279,610

 Accessory Improvements
 Marshall Valuation Service - Average/Good Quality, Class S Farm Buildings, Section 17 (May 2019)
 Shop Building                                                         2,400    SF                   @               $    30.50 $         73,200
 Perimeter Multiplier                                                                                                                       1.000
 Current Multiplier                                                                                                                          1.02
 Local Multiplier (Santa Barbara)                                                                                                            1.21           $90,343

 Site Improvements
 Included in Vineyard Land Value

 Indirect Building Costs                                                 Construct. Period                     Rate  Land Value
 Taxes on Land                                                          18      months                    1.08368% $ 7,000,000 $         113,929
 Permits & Fees                                                                                                  @     5%       $        168,498
 Professional Fees (Architects, engineers, surveys, etc.)                                                        @     5%       $        168,498
 Marketing Fees                                                                                                                 $         15,000
 Total Indirect Costs                                                                                                                                      $465,924

 Total Direct & Indirect Costs                                                                                                                           $3,835,878
 Developer's Profit (% of Total Direct & Indirect Costs)                                                     10.0%                                         $383,588
 TOTAL REPLACEMENT COSTS NEW                                                                                                                             $4,219,466

 Minus Total Depreciation
   Physical                                                                                  36%                                 $     (1,530,923)       -$1,530,923
   Subtotal - Physically Depreciated Replacement Costs                                                                                                    $2,688,542
   Functional                                                                                   0%                               $            -
   External                                                                                     0%                               $            -                  $0
 Total Depreciated Replacement Cost                                                                                                                      $2,688,542

 Plus Site Value                                                                                                                                         $7,000,000
 TOTAL REPLACEMENT COST                                                                                                                                  $9,688,542

As Is Market Value Indicated by the Cost Approach (Rounded to nearest $100,000):                                                                     $ 9,700,000
 Depreciation Table
                                                           Life Expectancy           Eff. Age        % Deprec.           Replacement Costs *            Depreciation
 Residences                                                       55                    20               36%                           $4,106,348        $1,493,217
 Accessory Buildings                                              45                    15               33%                             $113,118           $37,706
 Total Depreciation via Age/Life Method                                                                  36%                           $4,219,466        $1,530,923
 * Replacement cost adjusted by local and current multipliers




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                                                      REPLACEMENT COST SUMMARY
                                               Rabbit Ridge - San Marcos Rd Winery & Vineyard
 Direct Building Costs

 Winery Buildings - Production/Tasting/Office/Guest Suite
 Marshall Valuation Service - Good/Excellent Quality, Class D/C Winery Buildings, Section 13 Page 24 (May 2018)
 Main Winery Building                                                 43,210    SF                   @               $   153.00 $      6,611,130
 Perimeter Multiplier                                                                                                                       1.000
 Current Multiplier                                                                                                                          1.04
 Local Multiplier (Santa Barbara)                                                                                                            1.21        $8,319,446

 Wine Production & Accessory Improvements
 Marshall Valuation Service - Average/Good Quality, Class S Farm Buildings, Section 17 (May 2019)
 Barn/Shop Building                                                     943     SF                   @               $    30.50 $         28,762
 Barn/Shop Building                                                    1,296    SF                   @               $    30.50 $         39,528
 Perimeter Multiplier                                                                                                                       1.000
 Current Multiplier                                                                                                                          1.02
 Local Multiplier (Santa Barbara)                                                                                                            1.21           $84,283

 Site Improvements
 Included in Vineyard Land Value

 Indirect Building Costs                                                 Construct. Period                     Rate  Land Value
 Taxes on Land                                                          18      months                    1.08368% $ 3,200,000 $          52,159
 Permits & Fees                                                                                                  @    10%       $        840,373
 Professional Fees (Architects, engineers, surveys, etc.)                                                        @     5%       $        420,186
 Marketing Fees                                                                                                                 $         15,000
 Total Indirect Costs                                                                                                                                    $1,327,719

 Total Direct & Indirect Costs                                                                                                                            $9,731,448
 Developer's Profit (% of Total Direct & Indirect Costs)                                                     10.0%                                          $973,145
 TOTAL REPLACEMENT COSTS NEW                                                                                                                             $10,704,592

 Minus Total Depreciation
   Physical                                                                                  22%                                 $     (2,390,727)       -$2,390,727
   Subtotal - Physically Depreciated Replacement Costs                                                                                                    $8,313,865
   Functional                                                                                   0%                               $            -
   External                                                                                     0%                               $            -                   $0
 Total Depreciated Replacement Cost                                                                                                                       $8,313,865

 Plus Site Value                                                                                                                                          $3,200,000
 TOTAL REPLACEMENT COST                                                                                                                                  $11,513,865

As Is Market Value Indicated by the Cost Approach (Rounded to nearest $100,000):                                                                     $ 11,500,000
 Depreciation Table
                                                           Life Expectancy           Eff. Age        % Deprec.           Replacement Costs *             Depreciation
 Winery Building                                                  45                    10               22%                          $10,597,233         $2,354,941
 Accessory Improvements                                           45                    15               33%                             $107,359            $35,786
 Total Depreciation via Age/Life Method                                                                  22%                          $10,704,592         $2,390,727
 * Replacement cost adjusted by local and current multipliers




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Conclusion       As indicated on the Cost Approach Summary Tables included on the preceding pages, adding
land value to the depreciated replacement cost results in a total value estimate.

The value conclusion for the three parcels that make up the subject are summarized below:
                                               AS IS VALUE CONCLUSION
                          Item                                           Value Conclusion
                            Live Oak Road Vineyard & Residential Villa       $9,700,000
                            San Marcos Road Vineyard & Winery Facility      $11,500,000
                            Texas Road Vineyard                              $4,300,000
                          Total As Is Value                                 $25,500,000

Accordingly, the as is real property value of the subject property’s Fee Simple interest, as derived by the Cost
Approach, as of March 17, 2020, was:

                                       As Is Market Value via The Cost Approach

                         TWENTY-FIVE MILLION FIVE HUNDRED THOUSAND DOLLARS

                                                     ($25,500,000)




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RECONCILIATION AND CONCLUSION




               APPROACHES TO VALUE                                                         VALUE INDICATOR
               Cost Approach                                                                   $25,500,000
               Sales Approach                                                                Not Developed
               Income Approach                                                               Not Developed

               Concluded As Is Market Value                                                    $25,500,000




    The Cost Approach was developed due to the unique nature of the subject property's improvements as a special
    purpose property and the availability of recent land sales in this market from which to determine a site value.
    The Cost Approach is our sole valuation methodology as large winery properties like the subject are generally
    built by owner users for their own specific use.


    The Sales Comparison Approach was not developed due to the lack of recent sales data on winery and vineyard
    properties of a similar size that would be directly comparable to the subject property.

    The Income Capitalization Approach has not been developed as similar properties with a large component of
    non-producing open space are predominantly purchased by owner-users and not for leased investments.

      As of the effective date, the short and long-term impact on the real estate market from the COVID-19 virus is
    unknown. However, due to the virus, it is reasonable to assume that current market conditions will extend
    marketing times beyond the recent historical levels. Additionally, it could have a negative impact on values, but
    the impact is still unknown

    The effective date of the As Is Market Value is March 17, 2020, the date of engagement for this assignment. As
    a result of our study and investigation, we conclude that the estimated As Is Market Value of the subject
    property's Fee Simple Estate, predicated on an estimated exposure time of up to 12 months, as of March 17,
    2020, was:

                                                            AS IS MARKET VALUE
                                                Twenty-Five Million Five Hundred Thousand Dollars
                                                                  ($25,500,000)




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INSURABLE REPLACEMENT VALUE

At the request of the client, an insurable replacement cost estimate is provided. Insurable Replacement Cost is
defined as:

      The current replacement cost of building structures only, including existing tenant improvements. The
      estimate of Insurable Replacement Cost should include allowances for repair, engineering and design fees,
      building permit fees, as well as contractor's overhead and profit. It will not include: (1) costs associated with
      land acquisition and development; (2) professional fees not directly related to repairs; (3) taxes; (4) financing
      costs; (5) property owner's overhead and profit; (6) loss of income during repairs; (7) loss of personal property
      not necessary to the operation, management or marketing of the project; and (8) any/all other costs not
      relevant to the repair of the insured damages.


The estimated cost new of improvements is based on current prices of labor and materials to either reproduce
the improvements or to replace the improvements with equally desirable facilities with similar utility. In estimating
the replacement cost new of the subject improvements, Marshall Valuation Service figures for construction
similar building improvements were used. Costs developed reflect the final cost to the owner and include typical
costs of:


        1.    Professional fees such as average architect's & engineer's fees, landscape design, etc.
        2.    Plans, plan checking and estimated average permit fees.
        3.    Normal construction loan fees and interest during typical course of construction.
        4.    Materials, sales tax on materials, and labor costs are included.
        5.    Utilities from the lot line to the structure for typical setbacks.
        6.    Contractor overhead and profit, including on-site supervision, workmen's compensation, fire & liability
              insurance, unemployment insurance, equipment, temporary facilities, security, etc. are included. It is noted
              that the developer/entrepreneurial profit is not included.
        7.    Costs of typical site preparation, including foundation excavation and backfill.


The costs reflect the current replacement cost of fully finished buildings, including engineering and design fees;
permit fees; contractor’s overhead and profit, and all tenant improvements. The costs do not include costs
associated with land acquisition and development; professional fees not directly related to repairs, taxes,
financing costs, owner’s overhead and profit; loss of income during repairs, chattels not included above; and all
other costs not relevant to the repair of insured damages.

NOTE: The Insurable Replacement Cost provided should be considered a preliminary estimate. The
appraisers are not licensed contractors or professional insurance underwriters. The estimate provided
is based on published guidelines for general property types and not specific to the subject property.
For a complete and accurate account of the cost to replace the existing improvements, we recommend
that a licensed contractor or insurance company be contacted to estimate the current construction
costs.




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LIQUIDATION VALUE
The estimated liquidation (disposition) valuation of the subject is premised on the As Is Market Value estimated
in the referenced appraisal. The disposition value differs from the market value in the respect that a disposition
value is based upon the seller being under compulsion to sell.

The Liquidation (Quick Sale) Value1 is stated as the most probable price, which a specified interest in real
property is likely to bring under all of the following conditions:

     1. Consummation of the sale will occur within a limited future marketing period specified by the client;
     2. The actual market conditions currently prevailing are those to which the appraised property interest is subject;
     3. Buyer and seller each acting prudently and knowledgably:
     4. The seller is under compulsion to sell:
     5. The buyer is typically motivated;
     6. Both parties acting in what they consider their best interests;
     7. An adequate marketing effort made for the limited time for completion of sale;
     8. Payment is made in cash, in U.S. dollars or in terms of financial arrangements comparable thereto;
     9. The price represents the normal consideration for the property sold unaffected by special or creative financing or
        sales concessions granted by anyone associated with the sale.

Given the current financial market and lack of demand for service station properties, a significant discount over
the previously concluded As Is Real Property Value is reasonable for the estimate of a disposition value for the
subject. It reflects not only the discounted price but also the cost to hold and sell the real estate during the short
marketing period. The Disposition Value assumes an immediate sale and closing of the property within one
month timeframe, as stipulated by the client.

To establish an appropriate discount to apply in this process, we believe the annual return projected for the
property would have to be increased to a level that would catch the immediate attention of investors and justify
a very short due diligence period and the immediate execution of purchase on the property. Given the good
quality and large size of the subject property, which would limit the potential pool of buyers, a 15% discount is
deemed reasonable. The estimated 15% discount is indicated in the following table as “lender ownership factors”.

In addition to the overall 15% discount there are other fees that need to be deducted to arrive at the liquidation
value. These fees include costs of taking possession of the asset, management of the asset, existing liens,
delinquent taxes (if any), and brokerage fees associated with disposition of the asset. The estimated fees
applicable to the subject are summarized in the following table.




1 The definition noted above is derived from the Dictionary of Real Estate Appraisal, 5th Edition, 2010.


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ADDENDA
                 Assumptions and Limiting Conditions
                 Professional Qualifications
                 Assessor's Information
                 Property Tax Bills
                 Vineyard Details
                 Client's Engagement Letter




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                      ASSUMPTIONS AND LIMITING CONDITIONS

BY THIS NOTICE, ALL PERSONS AND FIRMS REVIEWING, UTILIZING OR RELYING UPON THIS REPORT IN
ANY MANNER, BIND THEMSELVES TO ACCEPT THESE ASSUMPTIONS AND LIMITING CONDITIONS. Do not
use this report if you do not so accept. These conditions are a part of the appraisal report; they are a preface to any
value conclusion, certification, definition, fact or analysis. This appraisal report is an economic study to estimate
value as defined herein. It is not a geotechnical, engineering, construction, legal or architectural study nor survey,
and expertise in these areas, among others, is not implied.


1.   LIMIT OF LIABILITY:
The liability of the Appraisers, The Property Sciences Group Inc. and employees and affiliated independent
contractors is limited to the client only (client indicated on cover page of report) and to the fee actually received by
the Appraisers (total per appraisal). Further, there is no accountability, obligation, nor liability to any third party. A
third party is defined as anyone other than the client indicated on the cover page. If, however, this report is placed in
the hands of anyone other than client, the client shall make such party aware of all assumptions and limiting
conditions of the assignment and related discussions. The Appraisers are in no way to be responsible for any costs
incurred to discover or correct deficiencies of any type present in the property; physically, financially, and/or legally.
In the case of limited partnerships or syndication offerings or stock offerings in real estate, client agrees that in case
of lawsuit (brought by lender, partner or part owner in any form of ownership, tenant, or any other party), any and all
awards, settlements of any type in such suit, regardless of outcome, client will hold Appraisers completely harmless
in any such action.


2.   COPYRIGHT, PUBLICATION, DISTRIBUTION, USE OF REPORT:
This report is Copyrighted© and reproduction of this document (any part thereof or in its entirety) without the
authorization from The Property Sciences Group Inc. is expressly prohibited.


Possession of this report or any copy thereof does not carry with it the right of publication, nor may it be used for
other than its intended use; the physical report(s) remain the property of the Appraisers for the use of the client, the
fee being for the analytical services only.


The Bylaws and Regulations of the Appraisal Institute require each Member and Candidate to control the use and
distribution of each appraisal report signed by such Member or Candidate; except as hereinafter provided, the client
may not distribute copies of this appraisal to any third party. This report may not be released to any third party
without the authorization of The Property Sciences Group Inc. Any unauthorized release will render the appraisal to
be invalid. Neither all nor any part of this appraisal report shall be disseminated to the general public by the use of
advertising media, public relations, news, sales or other media for public communication without the prior written
consent of the Appraisers. (See last item in following list for client agreement/consent.)
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3.   CONFIDENTIALITY:
This appraisal is to be used only in its entirety and no part is to be used without the whole report. All conclusions
and opinions concerning the analysis set forth in the report were prepared by the Appraisers whose signatures
appear on the appraisal report, unless indicated as "Review Appraiser." No change of any item in the report shall be
made by anyone other than the Appraisers and/or officer of The Property Sciences Group Inc. The Appraisers and
The Property Sciences Group Inc. shall have no responsibility if any such unauthorized change is made.


The Appraisers may not divulge the material (evaluation) contents of the report, analytical findings or conclusions,
or give a copy of the report to anyone other than the client or his/her designee as specified in writing except as may
be required by the Appraisal Institute for standards or ethics enforcement, or by a court of law or body with the
power of subpoena.


4.   TRADE SECRETS:
This appraisal was obtained from The Property Sciences Group Inc. or related companies and/or its individuals or
related independent contractors and consists of "trade secrets and commercial or financial information" which is
privileged and confidential and exempted from disclosure under 5 U.S.C. 552 (b) (4). Notify the Appraisers signing
the report or officers of The Property Sciences Group Inc. of any request to reproduce this appraisal in whole or part.


5.   INFORMATION USED:
No responsibility is assumed for accuracy of information furnished by work of or work by others, the client, his/her
designee, or public records. This information includes, but is not limited to, numerical street address, lot and block
numbers, Assessors Parcel Numbers, lot dimensions, lot sizes, dimensions of the improvements, gross building areas,
net rentable areas, rent schedules or rent rolls, income data, operating expenses, operating budgets, property taxes,
and related data. The Appraisers are not liable for such information or the work of possible subcontractors. The
comparable data relied upon in this report has been confirmed with one or more parties familiar with the transaction or
from affidavit or other source thought reasonable; all are considered appropriate for inclusion to the best of our
factual judgment and knowledge.       An impractical and uneconomic expenditure of time would be required in
attempting to furnish unimpeachable verification in all instances, particularly as to engineering and market-related
information. It is suggested that the client consider independent verification as a prerequisite to any transaction
involving sale, lease, loan, or other significant commitment of funds on the subject property. Any material error in
any of the above data could have a substantial impact on the value conclusions indicated in the appraisal. Therefore,
the Appraisers reserve the right to amend the appraisal and value conclusions if made aware of any such error.
Accordingly, the client should carefully review all assumptions, data, leases, rent rolls, relevant calculations, and
value conclusions within 30 days after the delivery of this report (the delivery date being indicated on the transmittal
letter) and notify the Appraisers of any errors/omissions.


6.   TESTIMONY, CONSULTATION, COMPLETION OF CONTRACT FOR APPRAISAL SERVICES:
The contract for appraisal, consultation or analytical service, is fulfilled and the total fee payable upon completion of
the report. The Appraisers or those assisting in preparation of the report will not be asked or required to give
testimony in court or hearing because of having made the appraisal, in full or in part, nor engage in post-appraisal
consultation with client or third parties except under separate and special arrangement and at additional fee. If
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testimony or deposition is required because of any subpoena, the client shall be responsible for any additional time,
fees, and charges regardless of issuing party.


7.    EXHIBITS:
The sketches and maps in this report are included to assist the reader in visualizing the property and are not
necessarily to scale. Various photos, if any, are included for the same purpose as of the date of the photos. Site
plans are not surveys u nless shown from separate surveyor.


8.    LEGAL, ENGINEERING, FINANCIAL, STRUCTURAL, OR MECHANICAL NATURE HIDDEN COMPONENTS,
      SOIL:
The Appraisers and/or The Property Sciences Group Inc. has no responsibility for matters legal in character or
nature, nor of any architectural, structural, mechanical, or engineering nature. No opinion is rendered as to the title,
which is presumed to be good and merchantable. The property is appraised as if free and clear, unless otherwise
stated in particular parts of the report. No attempt has been made to render an opinion of or status of easements that
may exist, unless stated otherwise (i.e. that the scope of the assignment does indeed include an analysis of
easements).


The legal description is assumed to be correct as used in this report as furnished by the client, his/her designee, or
other sources. However, the Appraisers and The Property Sciences Group Inc. can not guarantee the accuracy of the
legal description. The client should verify the accuracy of the legal description before recordation with any deeds of
trust. This responsibility remains with the client and is not maintained by the Appraisers nor The Property Sciences
Group Inc.


Please note that no advice is given regarding mechanical equipment or structural integrity or adequacy, nor soils and
potential for settlement, drainage, and such (seek assistance from qualified architect and/or engineer) nor matters
concerning liens, title status, and legal marketability (seek legal assistance), and such. The lender and owner should
inspect the property before any disbursement of funds. Further, it is likely that the lender or owner may wish to
require mechanical or structural inspections by qualified and licensed contractor, civil or structural engineer,
architect, or other expert.


The Appraisers have inspected as far as possible, by observation, the land and the improvements. However, it was
not possible to personally observe conditions beneath the soil or hidden structural, or other components. We have
not critically inspected mechanical components within the improvements and no representations are made herein as
to these matters unless specifically stated and considered in the report. The value estimate considers there being no
such conditions that would cause a loss of value. The land or the soil of the area being appraised appears firm,
unless otherwise stated in the report. However, subsidence in the area is unknown. The Appraisers do not warrant
against this condition or occurrence of problems arising from soil conditions.


The appraisal is based on there being no hidden, unapparent, or apparent conditions of the property site, subsoil, or
structures or toxic materials which would render it more or less valuable. The Appraisers and/or The Property
Sciences Group Inc. have no responsibility for any such conditions or for any expertise or engineering to discover
them. All mechanical components are assumed to be in operable condition and status standard for properties of the
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subject type. Conditions of heating, cooling, ventilating, electrical and plumbing equipment are considered to be
commensurate with the condition of the balance of the improvements unless otherwise stated. No judgment may be
made by us as to adequacy of insulation, type of insulation, or energy efficiency of the improvements or equipment
which is assumed standard for subject age and type.


If the Appraisers have not been supplied with a termite inspection, survey or occupancy permit, no responsibility or
representation is assumed or made for any costs associated with obtaining same or for any deficiencies discovered
before or after they are obtained. No representation or warranties are made concerning obtaining the above
mentioned items.


The Appraisers have no responsibility for any costs or consequences arising due to the need, or the lack of need for
flood hazard insurance. An agent for the National Flood Insurance Program should be contacted to determine the
actual need for flood hazard insurance.


9.    LEGALITY OF USE:
The appraisal is based on the premise that, there is full compliance with all applicable federal, state and local
environmental regulations and laws, unless otherwise stated in the report, and also that all applicable zoning,
building and use regulations and restrictions of all types have been complied with unless otherwise stated in the
report. Further, it is assumed that all required licenses, consents, permits, or other legislative or administrative
authority, local, state, federal and/or private entity or organization have been or can be obtained or renewed for any
use considered in the value estimate.


10.   COMPONENT VALUES:
The distribution of the total valuation in this report between land and improvements applies only under the existing
program of utilization.   The separate valuations for land and building must not be used independently, or in
conjunction with any other appraisal and are invalid if so used.


11.   AUXILIARY AND RELATED STUDIES:
No environmental or impact studies, special market study or analysis, highest and best use analysis study or
feasibility study have been requested or made unless otherwise specified in an agreement for services or in the
report.


12.   DOLLAR VALUES, PURCHASING POWER:
The market value estimated, and the costs used, are as of the date of the estimate of value. All dollar amounts are
based on the purchasing power and price of the dollar as of the date of the value estimate.


13.   INCLUSIONS:
Furnishings and equipment or personal property or business operations, except as specifically indicated and
typically considered as a part of real estate, have been disregarded with only the real estate being considered in the
value estimate unless otherwise stated. In some property types, business and real estate interests and values are
combined.
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14.   PROPOSED IMPROVEMENTS, CONDITIONED VALUE:
Improvements proposed, if any, on or off-site, as well as any repairs required are considered, for purposes of this
appraisal to be completed in good and workmanlike manner according to information submitted and/or considered by
the Appraisers. In cases of proposed construction, the appraisal is subject to change upon inspection of property
after construction is completed. This estimate of market value is as of the date shown, as proposed, as if completed
and operating at levels shown and forecasted.


15.   VALUE CHANGE, DYNAMIC MARKET, INFLUENCES, ALTERATION OF ESTIMATE BY APPRAISERS:
The estimated market value, which is defined in the report, is subject to change with market changes over time; value
is highly related to exposure, time, promotional effort, terms, motivation and conditions surrounding the offering.
The value estimate considers the productivity and relative attractiveness of the property physically and economically
in the marketplace. The appraisal report and value estimate are subject to change if physical or legal entity or
financing are different than that envisioned in this report.


16.   MANAGEMENT OF THE PROPERTY:
It is assumed that the property which is the subject of this report will be under prudent and competent ownership and
management; neither inefficient nor superefficient.


17.   FEE:
The fee for this appraisal or study is for the service rendered and not for the time spent on the physical report or the
physical report itself. Amount or payment of fee for services is not contingent on any result, approval amount or
other estimates or statements.


18.   AUTHENTIC COPIES:
The authentic copies of this report are signed in blue ink. Any copy that does not have the above is unauthorized
and may have been altered.


19.   INSULATION AND TOXIC MATERIALS:
In this appraisal assignment, the existence of potentially hazardous material used in the construction or maintenance
of the building, such as the presence of urea-formaldehyde foam insulation, and/or the presence of asbestos
containing building materials (ACBM), and/or the existence of toxic waste, which may or may not be present on the
property, was not observed, unless stated in the report; nor do the Appraisers have any knowledge of the exis tence
of such materials on or in the property. The Appraisers, however, are not qualified to detect such substances. The
existence of urea-formaldehyde insulation, or ACBM, or other potentially hazardous waste material may have an
effect on the value of the property. It is recommended that the client retain an expert in this field, if desired. If such
substances are present, the value of the property may be adversely affected and re-appraisal at additional cost will be
necessary to estimate the effects of such.
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20.   REVIEW:
Unless otherwise noted herein, named Review Appraiser of/from The Property Sciences Group Inc. has reviewed the
report only as to general appropriateness of technique and format, and has not necessarily inspected the subject or
market comparable properties.


21.   CHANGES, MODIFICATIONS:
The Appraisers and/or officers of The Property Sciences Group Inc. reserve the right to alter statements, analysis,
conclusions or any value estimates in the appraisal if there becomes known to us facts pertinent to the appraisal
process which were unknown to us when the report was finished.


22.   AFTER TAX ANALYSIS AND/OR VALUATION:
Any "after" tax income or investment analysis and resultant measures of return on investment are intended to reflect
only possible and general market considerations, whether as part of estimating value or estimating possible returns
on investment at an assumed value or price paid. Note that the Appraisers do not claim expertise in tax matters and
advises client and any others using the appraisal to seek competent tax advice. The Appraisers are in no way to be
considered as tax advisors or investment advisors.


23.   INCOME PROJECTIONS:
Any cash flows indicated in the appraisal are forecasts of estimated future operating characteristics, and are
predicated on the information and assumptions contained within the appraisal. Any projections of income, expenses,
and/or economic conditions utilized in the appraisal are not predictions of the future. Rather, they are estimates of
current market expectations of future income, expenses, and/or economic conditions. The achievement of these
financial projections will be affected by fluctuating economic conditions and is dependent upon other future
occurrences that can not be assured. Actual income and expenses may vary from the projections contained in the
appraisal. The Appraisers and/or The Property Sciences Group Inc. does not warrant that these income and
expenses will occur. Projections may be affected by circumstances beyond the current realm of knowledge or control
of the Appraisers and/or The Property Sciences Group Inc.


24.   RECOMMENDATIONS (IMPLIED AND/OR EXPLICIT):
Unless specifically set forth in the body of the appraisal, nothing contained in said shall be construed to represent
any direct or indirect recommendation of the Appraisers and/or The Property Sciences Group Inc. to buy, sell, or hold
the properties at the values stated. Such decisions involve substantial investment strategy questions and must be
specifically addressed in consultation form. Such decisions are beyond the scope of the appraisal analysis, unless
stated otherwise (i.e. that the scope of the appraisal does indeed include a recommendation to buy, sell, or hold the
subject property).


25.   CLEAR AND MARKETABLE TITLE:
Unless specifically noted in the body of the appraisal, it is assumed that title to the subject property (or properties)
are clear and marketable, and that there are no recorded or unrecorded liens, leases, matters, or exceptions to title that
would adversely affect the subject's marketability or market value. The Appraisers and/or The Property Sciences
Group Inc. are not aware of any title defects nor have been advised of any title defects, unless such as specifically
noted in the report. However, the Appraisers and/or The Property Sciences Group Inc. have not examined title and
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makes no representations relative to the condition thereof. Unless stated otherwise, the Appraisers have not been
provided with (nor reviewed) a preliminary title report. The Appraisers are not qualified experts in title matters.


26.   AMERICANS WITH DISABILITIES ACT (ADA):
The Americans with Disabilities Act (ADA) became effective January 26, 1992. Unless otherwise noted in the report,
the Appraisers have not made a specific compliance survey and analysis of the property to determine whether or not
it is in conformity with the various detailed requirements of the ADA. It is possible that a compliance survey of the
property, together with a detailed analysis of the requirements of the ADA, could reveal that the property is not in
compliance with one or more of the requirements of the Act. If so, this fact could have a negative effect upon the
value and marketability of the property. Unless otherwise noted in the report, the Appraisers have no direct evidence
relating to this issue and have not considered possible noncompliance with the requirements of the ADA in
estimating the value of the property.


27.   CONDITIONS OF ACCEPTANCE:
Acceptance of, and/or use of this appraisal report by client constitutes acceptance of the above conditions.
Appraisers' liability extends only to stated client, not subsequent third parties nor users of any type, and the total
liability of Appraisers and The Property Sciences Group Inc. is limited to the amount of the appraisal fee received.
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                             PROFESSIONAL QUALIFICATIONS OF
                                   Brant A. Sheaffer, MAI
                       Brant.sheaffer@propsci.com ‐ direct: 503‐704‐8661

Brant Sheaffer is the Vice President –Regional Manager, Pacific Northwest of the Commercial
Division for Property Sciences. Mr. Sheaffer has returned to the firm, having started his
appraisal career with Property Sciences in Northern California in 2002. Prior to rejoining the
company Mr. Sheaffer worked for Colliers International and previously worked for CBRE. Mr.
Sheaffer has valued a multitude of property types including, retail, office, multi‐family,
industrial, residential subdivisions and land. Areas of expertise include valuation of multifamily
properties for agency lenders (Fannie Mae, Freddie Mac), retail properties ranging from net
leased assets to regional shopping malls, hospitality and lodging properties and retail fuel
stations. Mr. Sheaffer is an experienced ARGUS user.

PROFESSIONAL EXPERIENCE

THE PROPERTY SCIENCES GROUP INC., Seattle, WA
An appraisal, research, and consulting services firm focusing on every major category of real estate and
most special purpose type properties throughout the United States.
Vice President –Regional Manager, Pacific Northwest                                   10/2016 – Present

COLLIERS INTERNATIONAL, Seattle, WA
Worked on a team focused on valuation of multifamily properties. Assignments included large
investment grade properties for agency lending (Fannie Mae, Freddie Mac), student housing, micro-
apartments, congregate housing, LIHTC transaction and HUD Rent Comparability Studies.
Senior Valuation Specialist                                                          6/2011-10/2016

CBRE, Seattle, WA & Portland, OR
Worked as a Senior Appraiser for a global real estate services firm, and supervised two trainee
appraisers. Assignments were primarily for institutional clients (CMBS market, life insurance & pension
companies, and national lenders). Worked on a variety of property types, but with a primary focus on
retail properties ranging from single tenant net lease up to regional shopping malls.
Senior Appraiser                                                                          7/2006-6/2011

THE PROPERTY SCIENCES GROUP INC., Concord, CA
Started as a trainee working on commercial assignments Upon being licensed, was promoted to
supervising, training and reviewing trainee appraisers.
Senior Staff Appraiser (Trainer/Reviewer)                                           1/2005-6/2006
Associate                                                                           9/2002-1/2005
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EDUCATION
BS, Bachelor of Science, Business Administration ‐ Emphasis in Marketing Management
California State University, Hayward ‐ College of Business & Economics                2001

PROFESSIONAL LICENSES/AFFILIATIONS
     State of Washington – Certified General Appraiser, 1101767 Exp. 6/2020
     State of Oregon – Certified General Appraiser, C001276 Exp. 6/2020
     State of Idaho ‐ Certified General Appraiser, CGA-3333 Exp. 6/2020
     State of California ‐ Certified General Appraiser, AG033878 Exp. 2/2021


    Appraisal Institute – MAI Designated Member # 474916
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                             PROFESSIONAL QUALIFICATIONS OF
                             Arthur O. Neudek, MAI, AI‐GRS
                       Arthur.Neudek@PropSci.com ‐ Direct: 925‐246‐7342

Arthur Neudek, MAI is the Vice President of Institutional Client Services at Property Sciences and
currently manages the firm’s Southern California Branch. He has worked with several national
accounting firms providing real estate valuation services. Primary emphasis of these valuations was
preparation of lease‐by‐lease analysis of large, institutional grade multi‐tenant properties. He served as
a Beta tester for ARGUS in Dallas in the 1980’s and has worked with the software since. He has an
additional specialty in hospitality properties, having worked with a real estate appraisal firm solely
involved in valuing hospitality properties.

PROFESSIONAL EXPERIENCE

THE PROPERTY SCIENCES GROUP INC., Commercial Division, Pleasant Hill, CA/Glendale, CA
Prepare and review commercial appraisals with a specialty in hospitality.
Vice President                                                                      2013‐Present

NATIONAL VALUATION CONSULTANTS (NVC), Boston, MA
Prepared appraisals on investment grade real estate nationally, with specialties in hospitality and senior
housing. Clients included CALPERS, Angelo Gordon, CALSTRS, LACERA, and RREEF.
Senior Associate                                                                                2011‐2013

INTEGRA REALTY RESOURCES, Boston, MA
Prepared appraisals and did litigation support on hospitality and recreational properties throughout
New England, as well as various types of investment grade real estate.
Appraiser                                                                                     2009‐2011

ACCENTURE (fka ZENTA), New York, NY
Worked on contract CMBS underwriting team at several large investment banks. Assets underwritten
included shopping centers, industrial buildings, hotels, apartment complexes, and office buildings
located in major US markets. Primary personal responsibility included reviewing third‐party appraisals
for lending purposes.
Vice President                                                                                2005‐2007

RESORT REALTY ADVISORS & INTEGRA REALTY RESOURCES, Boston, MA
Prepared feasibility and appraisal reports on hospitality and recreation properties. Types of properties
included nationally franchised limited and full‐service hotels, four‐diamond rated resorts on the East
Coast, golf course and golf course subdivisions and mountainside time‐share projects.
Appraiser                                                                                       2002‐2005
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CITIZENS BANK, Providence, RI
Created and managed real estate appraisal, environmental for growing bank corp. Reviewed and
prepared real estate appraisals for lending purposes. Prepared debt restructures plans for troubled real
estate loans. Responsibilities included supervision, review and training of junior staff. Integral part of
loan committee and reviewed all real estate loans.
Chief Real Estate Appraiser                                                                        1992‐1994

KENNETH LEVENTHAL/ERNST & YOUNG, Dallas, TX
Managed real estate valuation services for national consulting firm. Assignments included purchase
price allocations, appraisals for corporate planning. Responsibilities included supervision, review and
training of junior staff. Prepared and reviewed workout plans for troubled real estate loans.
Manager, Valuation Services                                                                      1989‐1991

INTERFIRST BANK, Dallas, TX
Worked in real estate appraisal area for national bank.
Vice‐ President                                                                                 1984‐1989

EDUCATION
Ph.D. Coursework, Real Estate                                                                   1988‐1990
University of North Texas, Denton, TX
M.S., Real Estate Finance and Urban Land Economics                                                    1979
University of Wisconsin, Madison (studied under Dr. James A. Graaskamp)

B.B.A., Finance                                                                                      1978
University of Wisconsin, Madison

PROFESSIONAL LICENSES/AFFILIATIONS
     State of California – Certified General Appraiser, AG3002063
     State of Washington‐ Certified General Appraiser, 1102357
     State of Oregon‐ Certified General Appraiser, C001171
     Appraisal Institute‐ MAI Designation
     Appraisal Institute – AI‐GRS Designation
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                   Property Information Search Results
                             One matching record was found for APN 026-104-001.

      Assessment Number            Street Address(es)            Structure Type        Characteristics Map
                              1172 San Marcos Rd
             026-104-001                                              Land #0          Select            Map
                              1166 San Marcos Rd




                                                                     Property Information as of March 1, 1982
  Assessment Information for the 2019/2020 Tax Year                                    Miscellaneous
                                                                     Structure
                                                                                       Improvements
                                                                     Structure
                                                                                   Land
                                     Assessed                        Type:
   Assessment                                        13,765,066
                     026-104-001     Value:                          Original
   Number:                                                                         0
                                     Land Value:     1,538,138       Size:
                     1172 San Marcos                                 Addition
   Street Address:                   Improvements: 10,827,217                      0
                     Rd                                              Size:
                     1166 San Marcos Personal        224,223         Total Area:   0    Improvements: (none)
   Street Address 2:                 Property:
                     Rd
                                     Fixtures Value: 1,175,488       Year Built:   0
   Tax Rate Area:    104-001
                                     Total                           Bedrooms:     0
   Parcel Size:      156.09 Acres                    0
                                     Exemption:                      Bathrooms:    0
   Link to Map:      026104001
                                     Net:            13,765,066      Levels:       0
                                                                     Parking:      None
                                                        Disclaimer:
  The data contained in this database is deemed reliable but not guaranteed. This information should be used for
   informational use only and does not constitute a legal document for the description of these properties. Every
    effort has been made to ensure the accuracy of this data; however, this material may be slightly dated which
         would have an impact on its accuracy. The San Luis Obispo County Assessor's Office disclaims any
           responsibility or liability for any direct or indirect damages resulting from the use of this data.




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                   Property Information Search Results
                             One matching record was found for APN 026-342-039.

      Assessment Number           Street Address(es)             Structure Type        Characteristics Map
                              2380 Live Oak Rd
             026-342-039                                           Residence #1        Select            Map
                              2370 Live Oak Rd




                                                               Property Information as of January 4, 2011
  Assessment Information for the 2019/2020 Tax Year                                   Miscellaneous
                                                               Structure
                                                                                      Improvements
                                                                Structure     Residence
                                 Assessed                       Type:         #1                       Pool -
   Assessment                                    2,537,337
                   026-342-039 Value:                           Original
                                                                              4,830
                                                                                          Description: Below
   Number:                                                      Size:                                  Ground
                                 Land Value:     277,975
                   2380 Live Oak                                Addition                  Size:        0
   Street Address:               Improvements: 2,205,052                      2,233
                   Rd                                           Size:                     Description: Pool House
   Street Address 2370 Live Oak Personal         54,310         Total Area:   7,063
   2:              Rd            Property:                                                Size:        305
                                 Fixtures Value: 0              Year Built:   1987        Description: Workshop
   Tax Rate Area: 104-009
                                 Total                          Bedrooms:     3           Size:        0
   Parcel Size:    160 Acres                     0
                                 Exemption:                     Bathrooms:    4                        Tennis
   Link to Map:    026342039                                                              Description:
                                 Net:            2,537,337      Levels:       1                        Court
                                                                Parking:      Garage
                                                        Disclaimer:
  The data contained in this database is deemed reliable but not guaranteed. This information should be used for
   informational use only and does not constitute a legal document for the description of these properties. Every
    effort has been made to ensure the accuracy of this data; however, this material may be slightly dated which
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                     Property Information Search Results
                             One matching record was found for APN 027-145-022.

      Assessment Number     Street Address(es)                    Structure Type        Characteristics Map
          027-145-022   0 San Marcos Rd                               Land #0           Select          Map




                                                                  Property Information as of December 29, 2000
  Assessment Information for the 2019/2020 Tax Year                                  Miscellaneous
                                                                  Structure
                                                                                     Improvements
                                                                   Structure
                                                                                 Land
                                      Assessed                     Type:
                                                      1,255,864
                                      Value:                       Original
   Assessment                                                                    0
                      027-145-022     Land Value:     173,023      Size:
   Number:
                                      Improvements: 1,082,841      Addition
                      0 San Marcos                                               0
   Street Address:                                                 Size:
                      Rd              Personal
                                                      0            Total Area:   0      Improvements: (none)
                                      Property:
   Tax Rate Area:     104-001
                                      Fixtures Value: 0            Year Built:   0
   Parcel Size:       155 Acres
                                      Total                        Bedrooms:     0
   Link to Map:       027145022                       0
                                      Exemption:                   Bathrooms:    0
                                      Net:            1,255,864    Levels:       0
                                                                   Parking:      None
                                                        Disclaimer:
  The data contained in this database is deemed reliable but not guaranteed. This information should be used for
   informational use only and does not constitute a legal document for the description of these properties. Every
    effort has been made to ensure the accuracy of this data; however, this material may be slightly dated which
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      JAMES W. HAMILTON, CPA                                         Auditor-Controller / Treasurer-Tax Collector
                                  2019/20 ANNUAL SECURED PROPERTY TAX BILL
                                                       FISCAL YEAR JULY 1, 2019 TO JUNE 30, 2020
                                                                         DUPLICATE BILL


                                                                                                                www.SloCountyTax.org
              RUSSELL ERICH
                                                                                                                    1055 Monterey Street, Rm D-290
                                                                                                                         San Luis Obispo, CA 93408
                                                                                                                                    (805) 781-5831
                                                                                          Property Assessment For Fiscal Year 2019/20
                                                                                          12   Description                          Assessed Values
                                                                                          LAND                                                 1,538,138
                                                                                          IMPROVEMENTS                                        10,827,217
 1   Assessment          2   Bill Number         3   Tax Rate Area   4   Total Tax Rate
                                                                                          PERSONAL PROPERTY              *                       224,223
     026-104-001         2019/20 950-000-502           104-001             1.08368        FIXTURES                       *                     1,175,488

 5 Assessed Owner                            9    First Installment Due
As of January 1, 2019
RUSSELL ERICH
                                                 12/12/2019               $74,584.63
                                                                                           Net Assessed Value †                            13,765,066
                                            10    Second Installment Due                  † For Questions Regarding Assessed Values Call 805-461-6143
 6   Property Description
T26S R12E PTN SECS 5 & 6 PAR 1
                                                  2/1/2020                $74,584.63 Tax Calculation
                                                                                          13   Service Agency        Contact         Rate        Amount
OR 2370/228
                                                 Total
                                            11
                                                 Taxes Due
                                                                         $149,169.26      PROP 13 TAX RATE         (805) 781-5831   1.00000       137,650.68
                                                                                          STATE WATER PROJ         (805) 781-5252   0.00400           550.60
7    Legal Description                                                                    CUESTA CCD 2014 BOND     (805) 788-2968   0.01925         2,649.76
                                                                                          PASO UNIF 2006 GO BD     (805) 788-2968   0.01190         1,638.04
T26S R12E PTN SECS 5 & 6 PAR 1 OR 2370/228                                                PASO SFID 2016 BND       (805) 788-2968   0.04853         6,680.18
8    Important Messages                                                                   Total                                     1.08368       149,169.26
     This is a Revised tax bill for the fiscal year 2019/20
     This revised tax bill has been generated due to a change in the assessed values
            of the property listed above. Additional bill information listed below.
                  THIS BILL REPLACES BILL NUMBER(S):
                            2019/20 026,104,001
             AND IS DUE AND PAYABLE ON DATES INDICATED.



    See reverse side for important taxpayer information.
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      Assessment                                         MainDocument
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                                                                          Installment       Due Date:                           Amount Due:

    026-104-001                          2019/20 950-000-502                      2           February 1, 2020                      $74,584.63
                                                                                            If paid AFTER April 10, 2020, amount due is $82,063.09

                                                                                                         Duplicate Bill
                                   14916926                                   Pay online with e-Check (no fee) or credit / debit card (2.39% fee) at:
                                                                                                    www.slocountytax.org
  New mailing address? Line out old address and write in new address below.
  Signature required for address change _____________________________



                                                                                If paying by check, return this stub with check payable to:
RUSSELL ERICH                                                                   County Tax Collector (or "SLOCTC")
                                                                                1055 Monterey St., Room D-290
                                                                                San Luis Obispo, CA 93408


      Assessment                                  Bill Number                 Installment           Due Date:                   Amount Due:

    026-104-001                          2019/20 950-000-502                      1         December 12, 2019                       $74,584.63

                                                                                      If paid AFTER January 13, 2020, amount due is $82,043.09

                                                                                                        Duplicate Bill
                                   14916926                                   Pay online with e-Check (no fee) or credit / debit card (2.39% fee) at:
  New mailing address? Line out old address and write in new address below.                         www.slocountytax.org
  Signature required for address change _____________________________




                                                                                If paying by check, return this stub with check payable to:
RUSSELL ERICH                                                                   County Tax Collector (or "SLOCTC")
                                                                                1055 Monterey St., Room D-290
                                                                                San Luis Obispo, CA 93408                              ENV2
               Case 8:20-bk-13014-MW Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                                                                               Desc
                               QUESTIONS?
                                      MainCONTACT THESEPage
                                           Document     DEPARTMENTS
                                                            138 of 177FOR HELP
                                                                                                                                                       1055 Monterey St., Room D-290,
  TAX COLLECTOR                                   www.slocountytax.org                      (805) 781-5831             Email: ttc@co.slo.ca.us
                                                                                                                                                         San Luis Obispo, CA 93408
PAYMENTS: The Tax Collector's office is responsible for collecting and processing tax payments. We accept as payments only those items drawn in U.S. dollars on U.S. banks.
CREDIT CARD FEE – Payments made by credit or debit cards are subject to a 2.39% fee ($3.95 minimum), which covers the charges made to the County by credit card companies.
ONLINE – Electronic bank transfers (e-Checks) and credit card payments are accepted on the Tax Collector’s website at: www.slocountytax.org
HOME BANKING – Enter Assessment Number(s) in the Account Number field.
BY MAIL – Payment should be made by check, cashier's check, or money order. Do not mail cash. The Tax Collector is not responsible for cash sent by mail.
BY PHONE – Credit cards or e-Checks only.
IN PERSON – Cash, checks, and credit cards at the above address.
TO AVOID PENALTIES: The first installment must be paid no later than December 10 and the second installment must be paid no later than April 10. A 10% penalty is added to the
first installment after December 10, and a 10% penalty and delinquency cost are added to the second installment after April 10. If December 10 or April 10 falls on a Saturday,
Sunday, or legal holiday, payments made by 5:00 p.m. or the close of business, whichever is later, on the next business day are not considered delinquent.
IMPORTANT: The second installment cannot be paid before the first installment is paid. Partial payments are not accepted.
RETURNED PAYMENTS: If payment is returned by the bank for any reason, that payment will be removed, a returned payment fee will be added, and delinquent penalties will
accrue as required by law.
PRIOR TAXES ARE UNPAID: If this wording appears in box 8, there are delinquent taxes which could jeopardize the property. When taxes become delinquent, redemption
penalties, costs, and fees are added as required by law. Prior years’ taxes are not included in this tax bill. For payment information, including MONTHLY and ANNUAL payment plan
options, contact the Redemption Division of the Tax Collector's office at (805) 781-5836.
RESPONSIBILITY OF TAXPAYER: The taxpayer is responsible to ensure that the taxes are paid. Failure to receive a tax bill does not relieve the taxpayer of the responsibility to
pay the taxes when they become due and payable and does not provide a basis for removing penalties. Examine the bill carefully before paying. Be certain it covers your property.
The property description is located in box 6. Be certain that you have obtained a bill for each assessment for which you are responsible. The Tax Collector does not determine the
amount of tax you pay.
TAX BILL CALCULATIONS: The Auditor-Controller's office is responsible for calculating taxes due by multiplying the assessed value of your property by the tax rate shown in box
13, plus any special assessments shown in box 13. Tax rates are established by the County Board of Supervisors.
DISTRIBUTION OF TAXES: Additional information regarding the distribution of property taxes may be obtained at: http://www.slocounty.ca.gov/acttc/property-tax-allocation
PROPERTY TAX POSTPONEMENT FOR SENIOR CITIZENS, BLIND, OR DISABLED PERSONS:
The State Controller’s Office (SCO) administers the Property Tax Postponement (PTP) program, which allows eligible homeowners to postpone payment of current-year property
taxes on their primary residence. PTP applications are accepted from October 1 to February 10 each year.
Go to the SCO website at http://www.sco.ca.gov/ardtax_prop_tax_postponement.html for more information. If you have any questions, call 800-952-5661 or email
postponement@sco.ca.gov


                                                                                                                                                             1055 Monterey St., Room D-360,
        ASSESSOR                           www.slocounty.ca.gov/assessor                   (805) 781-5643          Email: assessor@co.slo.ca.us
                                                                                                                                                               San Luis Obispo, CA 93408
ASSESSED VALUE: The Assessor's office is responsible for assessing property values. If the taxpayer disagrees with the assessed value shown in box 12, the taxpayer has the
right to an informal review by contacting the County Assessor's office. If an informal agreement cannot be reached, the taxpayer has the right to file an Application for Changed
Assessment with the County Assessment Appeals Board. Applications must be filed with the County Clerk, 1055 Monterey Street, Room D-120, County Government Center, San Luis
Obispo, CA 93408, from July 2 through September 15, or for 60 days following the mailing of any notice of assessment outside the regular period. Additional information regarding the
Assessment Appeals and forms may be obtained at: www.slocounty.ca.gov/clerk
If an informal or formal assessment review is requested, relief from penalties shall apply only to the difference between the County Assessor’s final determination of value and the
value on the assessment roll for the fiscal year covered.
ADDRESS CHANGES: Tax bills are mailed to the latest address on the Assessor’s roll. To change the mailing address, please see the stubs below or go to: www.slocountytax.org
ASSESSMENT DATE: The fiscal year is for the period of July 1 through June 30. Taxes for the current fiscal year are levied on both real and personal property as it existed at 12:01
a.m. on January 1 of the preceding fiscal year.
10% PENALTY: An asterisk (*) in box 12 next to the property value indicates the assessed valuation includes a 10% penalty pursuant to Revenue & Taxation Code Section 463.
HOMEOWNERS’ EXEMPTION REQUIREMENTS: If you filed a claim for the Homeowners' Property Tax Exemption, you declared under penalty of perjury that you are the owner of
this property and that it is your principal place of residence. You are required by law to terminate this claim if either or both of the following events occurred prior to 12:01 a.m.,
January 1: (1) ownership of the property transfers to another party, (2) your principal place of residence changes to another location. If you are not eligible for this exemption, you
must notify the Assessor in writing on or before December 10, or you will be subject to payment in the amount of taxes the exemption represents, plus applicable penalties and
interest. If you move to another home, you must file a new exemption claim for that property. The exemption cannot be transferred. To request a new Homeowners' Exemption Claim
form or if you have questions, contact the County Assessor.
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To avoid penalties, payment must be in the Tax Collector’s office by 5:00 p.m., or deposited in the United States mail or independent delivery
service, or entered online through the Tax Collector’s website prior to midnight on the delinquency date. Home Banking payments must be
entered with a posting date prior to midnight on the delinquency date. DO NOT SEND CASH BY MAIL; any loss is assumed by the taxpayer.

 If paying online: e-Check is free; fee for using credit or debit card           If paying by check:
  Go to www.slocountytax.org                                                     Make check payable to:
  Options to pay:                                                                 SLO County Tax Collector or “SLOCTC”
                                                                                  Insert this stub with your payment
                                                                     If the return envelope is not available, mail to:
             IMPORTANT – ADDRESS CHANGE
                                                                     James W. Hamilton, CPA
  If needed, please change the address information on the            County Auditor – Controller – Treasurer – Tax Collector



                                                                                                                                   2
  front of this stub, sign your name, and send with your             1055 Monterey St., Room D-290
  payment, or go to www.slocountytax.org for an address              San Luis Obispo, CA 93408
  change form to complete.




To avoid penalties, payment must be in the Tax Collector’s office by 5:00 p.m., or deposited in the United States mail or independent delivery
service, or entered online through the Tax Collector’s website prior to midnight on the delinquency date. Home Banking payments must be
entered with a posting date prior to midnight on the delinquency date. DO NOT SEND CASH BY MAIL; any loss is assumed by the taxpayer.

 If paying online: e-Check is free; fee for using credit or debit card           If paying by check:
  Go to www.slocountytax.org                                                     Make check payable to:
  Options to pay:                                                                 SLO County Tax Collector or “SLOCTC”
                                                                                  Insert this stub with your payment
                                                                     If the return envelope is not available, remit to:
             IMPORTANT – ADDRESS CHANGE
                                                                     James W. Hamilton, CPA
  If needed, please change the address information on the            County Auditor – Controller – Treasurer – Tax Collector



                                                                                                                                   1
  front of this stub, sign your name, and send with your             1055 Monterey St., Room D-290
  payment, or go to www.slocountytax.org for an address              San Luis Obispo, CA 93408
  change form to complete.
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                                                                           Amounts 11/16/20 20:10:27                 Desc
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                                                                                                   Tuesday, March 31, 2020




     James W. Hamilton, Auditor - Controller - Treasurer - Tax Collector - Public Administrator
   | Taxes on the Web Home | New Search |             Information for Year: 2019/20



                      Redemption Summary Amounts
     Assessment Number: 026,104,001
     Assessee: RUSSELL ERICH

     Default Information:                                            Power of Sale Information:

     Number: C4928                                                   Number:
     Date: 6/30/2009                                                 Date:

     Description: T26S R12E PTN SECS 5 & 6 PAR 1 OR 2370/228

     Payoff Calculation for:      April 2020

     Audit Amount (see detail below)                                                                                1,377,528.87

     Redemption Penalty/Interest (see detail below)                                                                 1,466,686.00

     Redemption Fee                                                                                                       15.00

     Search and Rescission                                                                                                   0.00

     Miscellaneous Fees (see detail below)                                                                                   0.00

     Less Installment Plan Credit                                                                                            0.00

                                                                            Total Payoff Amount:                   $2,814,407.80
    Miscellaneous Fees Detail
    Date                              Description                                                                        Amount



                                                                   Total Miscellaneous Fees (included above):               $0.00

     Tax Bill Detail and Redemption Penalties/Interest

                                                                 Tax + Penalty + Cost = Audit Amount
      Roll     Penalty                          1st                                                                 Redemption
                             Bill Number                                                                 Audit
      Year      Year                           Paid                Tax         Penalty    Cost                        Penalties
                                                                                                        Amount
     04-05 6/30/2011        11-952,000,587      N           10,456.30             0.00     0.00        10,456.30       16,625.51
     05-06 6/30/2011        11-952,000,581      N            6,985.78             0.00     0.00         6,985.78       11,107.39
     06-07 6/30/2011        11-952,000,582      N              626.02             0.00     0.00          626.02           995.37
     07-08 6/30/2011        11-952,000,583      N                69.76            0.00     0.00           69.76           110.91
     08-09 6/30/2009        09-026,104,001      Y           72,549.70        7,254.97     10.00        79,814.67      141,471.91
     08-09 6/30/2013        13-951,000,007      N            1,698.52          130.64     20.00         1,849.16        2,089.17


https://services.slocountytax.org/redemptionSummary.aspx?rollNumber=026,104,001&month=4                                             1/2
3/31/2020   Case 8:20-bk-13014-MW    Doc 24 Filed   11/16/20
                                                Redemption SummaryEntered
                                                                   Amounts 11/16/20 20:10:27                        Desc
     09-10 6/30/2010 10-026,104,001 Main
                                     N   Document
                                            146,737.66 Page    141  of 177
                                                            14,673.76    10.00    161,421.42                        259,725.65
     09-10 6/30/2013       13-951,000,006       N            1,415.14          116.94     20.00        1,552.08        1,740.62
     10-11 6/30/2011       11-026,104,001       N         143,990.42        14,399.04     10.00     158,399.46      228,944.76
     10-11 6/30/2013       13-951,000,005       N            1,217.16          108.66     20.00        1,345.82        1,497.10
     11-12 6/30/2012       12-026,104,001       N         142,370.38        14,237.02     10.00     156,617.40      200,742.23
     11-12 6/30/2013       13-951,000,004       N            1,069.06          103.78     20.00        1,192.84        1,314.94
     12-13 6/30/2013       13-026,104,001       N         143,342.70        14,334.26     20.00     157,696.96      176,311.52
     13-14 6/30/2014       14-026,104,001       N         142,513.72        14,251.36     20.00     156,785.08      149,639.40
     14-15 6/30/2015       15-026,104,001       N         142,012.94        14,201.28     20.00     156,234.22      123,551.25
     15-16 6/30/2016       16-026,104,001       Y           71,705.13        7,170.51     20.00      78,895.64       49,476.53
     16-17 6/30/2017       17-026,104,001       N         150,432.62        15,043.26     20.00     165,495.88       76,720.63
     17-18 6/30/2018       18-026,104,001       Y           74,609.44        7,460.94     20.00      82,090.38        24,621.11

                                              Totals   $1,253,802.45     $123,486.42 $240.00      $1,377,528.87   $1,466,686.00


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https://services.slocountytax.org/redemptionSummary.aspx?rollNumber=026,104,001&month=4                                           2/2
              Case 8:20-bk-13014-MW                     Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                                   Desc
                                                       Main Document    Page 142 of 177




       JAMES W. HAMILTON, CPA                                        Auditor-Controller / Treasurer-Tax Collector
                                   2019/20 ANNUAL SECURED PROPERTY TAX BILL
                                                       FISCAL YEAR JULY 1, 2019 TO JUNE 30, 2020
                                                                         DUPLICATE BILL


                                                                                                                www.SloCountyTax.org
              RUSSELL ERICH
                                                                                                                    1055 Monterey Street, Rm D-290
                                                                                                                         San Luis Obispo, CA 93408
                                                                                                                                    (805) 781-5831
                                                                                          Property Assessment For Fiscal Year 2019/20
                                                                                          12   Description                          Assessed Values
                                                                                          LAND                                                     277,975
                                                                                          IMPROVEMENTS                                           2,205,052
 1    Assessment          2   Bill Number        3   Tax Rate Area   4   Total Tax Rate
                                                                                          PERSONAL PROPERTY              *                          11,460
      026-342-039         2019/20 026-342-039          104-009             1.08368        HOMEOWNERS                                                -7,000

 5 Assessed Owner                           9    First Installment Due
As of January 1, 2019
RUSSELL ERICH
                                                 11/1/2019                $13,478.19
                                                                                           Net Assessed Value †                             2,487,487
                                            10   Second Installment Due                   † For Questions Regarding Assessed Values Call 805-461-6143
 6    Property Description
T27S R11E SEC 12 NE 1/4
                                                 2/1/2020                 $13,478.19 Tax Calculation
                                                                                          13   Service Agency        Contact         Rate        Amount
                                                 Total
                                            11
                                                 Taxes Due
                                                                          $26,956.38      PROP 13 TAX RATE         (805) 781-5831   1.00000        24,874.90
                                                                                          STATE WATER PROJ         (805) 781-5252   0.00400            99.48
7     Legal Description                                                                   CUESTA CCD 2014 BOND     (805) 788-2968   0.01925           478.84
                                                                                          PASO UNIF 2006 GO BD     (805) 788-2968   0.01190           296.00
T27S R11E SEC 12 NE 1/4                                                                   PASO SFID 2016 BND       (805) 788-2968   0.04853         1,207.16
 8    Important Messages                                                                  Total                                     1.08368        26,956.38
     View and pay taxes online at: www.slocountytax.org
ADDRESS CHANGE - To change address information make changes on stub, sign, and
send with your payment, or complete Change of Address form at: www.slocountytax.org
         PRIOR YEAR TAXES ARE UNPAID – Please call 805-781-5836
                 **** 1ST INSTALLMENT PAID 12/10/19 ***




     See reverse side for important taxpayer information.
            Case 8:20-bk-13014-MW                         Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                         Desc
      Assessment                                         MainDocument
                                                   Bill Number            Page     143 of 177
                                                                          Installment       Due Date:                           Amount Due:

    026-342-039                          2019/20 026-342-039                      2           February 1, 2020                      $13,478.19
                                                                                            If paid AFTER April 10, 2020, amount due is $14,846.00

                                                                                                         Duplicate Bill
                                    2695638                                   Pay online with e-Check (no fee) or credit / debit card (2.39% fee) at:
                                                                                                    www.slocountytax.org
  New mailing address? Line out old address and write in new address below.
  Signature required for address change _____________________________



                                                                                If paying by check, return this stub with check payable to:
RUSSELL ERICH                                                                   County Tax Collector (or "SLOCTC")
                                                                                1055 Monterey St., Room D-290
                                                                                San Luis Obispo, CA 93408


      Assessment                                  Bill Number                 Installment           Due Date:                   Amount Due:

    026-342-039                          2019/20 026-342-039                      1          November 1, 2019                               PAID

                                                                                1st installment has been paid on December 10, 2019 $13,478.19

                                                                                                        Duplicate Bill
                                    2695638                                   Pay online with e-Check (no fee) or credit / debit card (2.39% fee) at:
  New mailing address? Line out old address and write in new address below.                         www.slocountytax.org
  Signature required for address change _____________________________




                                                                                If paying by check, return this stub with check payable to:
RUSSELL ERICH                                                                   County Tax Collector (or "SLOCTC")
                                                                                1055 Monterey St., Room D-290
                                                                                San Luis Obispo, CA 93408                              ENV1
               Case 8:20-bk-13014-MW Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                                                                               Desc
                               QUESTIONS?
                                      MainCONTACT THESEPage
                                           Document     DEPARTMENTS
                                                            144 of 177FOR HELP
                                                                                                                                                       1055 Monterey St., Room D-290,
  TAX COLLECTOR                                   www.slocountytax.org                      (805) 781-5831             Email: ttc@co.slo.ca.us
                                                                                                                                                         San Luis Obispo, CA 93408
PAYMENTS: The Tax Collector's office is responsible for collecting and processing tax payments. We accept as payments only those items drawn in U.S. dollars on U.S. banks.
CREDIT CARD FEE – Payments made by credit or debit cards are subject to a 2.39% fee ($3.95 minimum), which covers the charges made to the County by credit card companies.
ONLINE – Electronic bank transfers (e-Checks) and credit card payments are accepted on the Tax Collector’s website at: www.slocountytax.org
HOME BANKING – Enter Assessment Number(s) in the Account Number field.
BY MAIL – Payment should be made by check, cashier's check, or money order. Do not mail cash. The Tax Collector is not responsible for cash sent by mail.
BY PHONE – Credit cards or e-Checks only.
IN PERSON – Cash, checks, and credit cards at the above address.
TO AVOID PENALTIES: The first installment must be paid no later than December 10 and the second installment must be paid no later than April 10. A 10% penalty is added to the
first installment after December 10, and a 10% penalty and delinquency cost are added to the second installment after April 10. If December 10 or April 10 falls on a Saturday,
Sunday, or legal holiday, payments made by 5:00 p.m. or the close of business, whichever is later, on the next business day are not considered delinquent.
IMPORTANT: The second installment cannot be paid before the first installment is paid. Partial payments are not accepted.
RETURNED PAYMENTS: If payment is returned by the bank for any reason, that payment will be removed, a returned payment fee will be added, and delinquent penalties will
accrue as required by law.
PRIOR TAXES ARE UNPAID: If this wording appears in box 8, there are delinquent taxes which could jeopardize the property. When taxes become delinquent, redemption
penalties, costs, and fees are added as required by law. Prior years’ taxes are not included in this tax bill. For payment information, including MONTHLY and ANNUAL payment plan
options, contact the Redemption Division of the Tax Collector's office at (805) 781-5836.
RESPONSIBILITY OF TAXPAYER: The taxpayer is responsible to ensure that the taxes are paid. Failure to receive a tax bill does not relieve the taxpayer of the responsibility to
pay the taxes when they become due and payable and does not provide a basis for removing penalties. Examine the bill carefully before paying. Be certain it covers your property.
The property description is located in box 6. Be certain that you have obtained a bill for each assessment for which you are responsible. The Tax Collector does not determine the
amount of tax you pay.
TAX BILL CALCULATIONS: The Auditor-Controller's office is responsible for calculating taxes due by multiplying the assessed value of your property by the tax rate shown in box
13, plus any special assessments shown in box 13. Tax rates are established by the County Board of Supervisors.
DISTRIBUTION OF TAXES: Additional information regarding the distribution of property taxes may be obtained at: http://www.slocounty.ca.gov/acttc/property-tax-allocation
PROPERTY TAX POSTPONEMENT FOR SENIOR CITIZENS, BLIND, OR DISABLED PERSONS:
The State Controller’s Office (SCO) administers the Property Tax Postponement (PTP) program, which allows eligible homeowners to postpone payment of current-year property
taxes on their primary residence. PTP applications are accepted from October 1 to February 10 each year.
Go to the SCO website at http://www.sco.ca.gov/ardtax_prop_tax_postponement.html for more information. If you have any questions, call 800-952-5661 or email
postponement@sco.ca.gov


                                                                                                                                                             1055 Monterey St., Room D-360,
        ASSESSOR                           www.slocounty.ca.gov/assessor                   (805) 781-5643          Email: assessor@co.slo.ca.us
                                                                                                                                                               San Luis Obispo, CA 93408
ASSESSED VALUE: The Assessor's office is responsible for assessing property values. If the taxpayer disagrees with the assessed value shown in box 12, the taxpayer has the
right to an informal review by contacting the County Assessor's office. If an informal agreement cannot be reached, the taxpayer has the right to file an Application for Changed
Assessment with the County Assessment Appeals Board. Applications must be filed with the County Clerk, 1055 Monterey Street, Room D-120, County Government Center, San Luis
Obispo, CA 93408, from July 2 through September 15, or for 60 days following the mailing of any notice of assessment outside the regular period. Additional information regarding the
Assessment Appeals and forms may be obtained at: www.slocounty.ca.gov/clerk
If an informal or formal assessment review is requested, relief from penalties shall apply only to the difference between the County Assessor’s final determination of value and the
value on the assessment roll for the fiscal year covered.
ADDRESS CHANGES: Tax bills are mailed to the latest address on the Assessor’s roll. To change the mailing address, please see the stubs below or go to: www.slocountytax.org
ASSESSMENT DATE: The fiscal year is for the period of July 1 through June 30. Taxes for the current fiscal year are levied on both real and personal property as it existed at 12:01
a.m. on January 1 of the preceding fiscal year.
10% PENALTY: An asterisk (*) in box 12 next to the property value indicates the assessed valuation includes a 10% penalty pursuant to Revenue & Taxation Code Section 463.
HOMEOWNERS’ EXEMPTION REQUIREMENTS: If you filed a claim for the Homeowners' Property Tax Exemption, you declared under penalty of perjury that you are the owner of
this property and that it is your principal place of residence. You are required by law to terminate this claim if either or both of the following events occurred prior to 12:01 a.m.,
January 1: (1) ownership of the property transfers to another party, (2) your principal place of residence changes to another location. If you are not eligible for this exemption, you
must notify the Assessor in writing on or before December 10, or you will be subject to payment in the amount of taxes the exemption represents, plus applicable penalties and
interest. If you move to another home, you must file a new exemption claim for that property. The exemption cannot be transferred. To request a new Homeowners' Exemption Claim
form or if you have questions, contact the County Assessor.
            Case 8:20-bk-13014-MW               Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                           Desc
                                               Main Document    Page 145 of 177
To avoid penalties, payment must be in the Tax Collector’s office by 5:00 p.m., or deposited in the United States mail or independent delivery
service, or entered online through the Tax Collector’s website prior to midnight on the delinquency date. Home Banking payments must be
entered with a posting date prior to midnight on the delinquency date. DO NOT SEND CASH BY MAIL; any loss is assumed by the taxpayer.

 If paying online: e-Check is free; fee for using credit or debit card           If paying by check:
  Go to www.slocountytax.org                                                     Make check payable to:
  Options to pay:                                                                 SLO County Tax Collector or “SLOCTC”
                                                                                  Insert this stub with your payment
                                                                     If the return envelope is not available, mail to:
             IMPORTANT – ADDRESS CHANGE
                                                                     James W. Hamilton, CPA
  If needed, please change the address information on the            County Auditor – Controller – Treasurer – Tax Collector



                                                                                                                                   2
  front of this stub, sign your name, and send with your             1055 Monterey St., Room D-290
  payment, or go to www.slocountytax.org for an address              San Luis Obispo, CA 93408
  change form to complete.




To avoid penalties, payment must be in the Tax Collector’s office by 5:00 p.m., or deposited in the United States mail or independent delivery
service, or entered online through the Tax Collector’s website prior to midnight on the delinquency date. Home Banking payments must be
entered with a posting date prior to midnight on the delinquency date. DO NOT SEND CASH BY MAIL; any loss is assumed by the taxpayer.

 If paying online: e-Check is free; fee for using credit or debit card           If paying by check:
  Go to www.slocountytax.org                                                     Make check payable to:
  Options to pay:                                                                 SLO County Tax Collector or “SLOCTC”
                                                                                  Insert this stub with your payment
                                                                     If the return envelope is not available, remit to:
             IMPORTANT – ADDRESS CHANGE
                                                                     James W. Hamilton, CPA
  If needed, please change the address information on the            County Auditor – Controller – Treasurer – Tax Collector



                                                                                                                                   1
  front of this stub, sign your name, and send with your             1055 Monterey St., Room D-290
  payment, or go to www.slocountytax.org for an address              San Luis Obispo, CA 93408
  change form to complete.
3/31/2020   Case 8:20-bk-13014-MW             Doc 24 Filed 11/16/20
                                                        Redemption SummaryEntered
                                                                           Amounts 11/16/20 20:10:27                   Desc
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                                                                                                       Tuesday, March 31, 2020




     James W. Hamilton, Auditor - Controller - Treasurer - Tax Collector - Public Administrator
   | Taxes on the Web Home | New Search |            Information for Year: 2019/20



                      Redemption Summary Amounts
     Assessment Number: 026,342,039
     Assessee: RUSSELL ERICH

     Default Information:                                            Power of Sale Information:

     Number: E9042                                                   Number:
     Date: 6/30/2019                                                 Date:

     Description: T27S R11E SEC 12 NE 1/4

     Payoff Calculation for:      April 2020

     Audit Amount (see detail below)                                                                                       805.66

     Redemption Penalty/Interest (see detail below)                                                                        107.13

     Redemption Fee                                                                                                          15.00

     Search and Rescission                                                                                                       0.00

     Miscellaneous Fees (see detail below)                                                                                       0.00

     Less Installment Plan Credit                                                                                                0.00

                                                                                          Total Payoff Amount:            $927.79
    Miscellaneous Fees Detail
    Date                              Description                                                                          Amount



                                                                   Total Miscellaneous Fees (included above):                 $0.00

     Tax Bill Detail and Redemption Penalties/Interest

                                                                    Tax + Penalty + Cost = Audit Amount
       Roll       Penalty                               1st                                                           Redemption
                                    Bill Number                                                            Audit
       Year        Year                                Paid            Tax     Penalty          Cost                    Penalties
                                                                                                          Amount
      17-18      6/30/2019       18-972,196,822          N         714.24        71.42         20.00       805.66           107.13




https://services.slocountytax.org/redemptionSummary.aspx?rollNumber=026,342,039&month=4                                                 1/2
3/31/2020   Case 8:20-bk-13014-MW             Doc 24 Filed 11/16/20
                                                        Redemption SummaryEntered
                                                                           Amounts 11/16/20 20:10:27          Desc
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                                                       Totals     $714.24       $71.42    $20.00   $805.66       $107.13




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                                                                                            California




https://services.slocountytax.org/redemptionSummary.aspx?rollNumber=026,342,039&month=4                                    2/2
              Case 8:20-bk-13014-MW                     Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                                   Desc
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       JAMES W. HAMILTON, CPA                                        Auditor-Controller / Treasurer-Tax Collector
                                   2019/20 ANNUAL SECURED PROPERTY TAX BILL
                                                       FISCAL YEAR JULY 1, 2019 TO JUNE 30, 2020
                                                                         DUPLICATE BILL


                                                                                                                www.SloCountyTax.org
              RUSSELL ERICH
                                                                                                                    1055 Monterey Street, Rm D-290
                                                                                                                         San Luis Obispo, CA 93408
                                                                                                                                    (805) 781-5831
                                                                                          Property Assessment For Fiscal Year 2019/20
                                                                                          12   Description                          Assessed Values
                                                                                          LAND                                                     173,023
                                                                                          IMPROVEMENTS                                           1,082,841
 1    Assessment          2   Bill Number        3   Tax Rate Area   4   Total Tax Rate

      027-145-022         2019/20 027-145-022          104-001             1.08368

 5 Assessed Owner                           9    First Installment Due
As of January 1, 2019
RUSSELL ERICH
                                                 11/1/2019                 $6,804.77
                                                                                           Net Assessed Value †                             1,255,864
                                            10   Second Installment Due                   † For Questions Regarding Assessed Values Call 805-461-6143
 6    Property Description
T25S R12E PTN SEC 31 SW1/4
                                                 2/1/2020                  $6,804.77 Tax Calculation
                                                                                          13   Service Agency        Contact         Rate        Amount
                                                 Total
                                            11
                                                 Taxes Due
                                                                          $13,609.54      PROP 13 TAX RATE         (805) 781-5831   1.00000        12,558.68
                                                                                          STATE WATER PROJ         (805) 781-5252   0.00400            50.22
7     Legal Description                                                                   CUESTA CCD 2014 BOND     (805) 788-2968   0.01925           241.74
                                                                                          PASO UNIF 2006 GO BD     (805) 788-2968   0.01190           149.44
T25S R12E PTN SEC 31 SW1/4                                                                PASO SFID 2016 BND       (805) 788-2968   0.04853           609.46
 8    Important Messages                                                                  Total                                     1.08368        13,609.54
     View and pay taxes online at: www.slocountytax.org
ADDRESS CHANGE - To change address information make changes on stub, sign, and
send with your payment, or complete Change of Address form at: www.slocountytax.org
                    **** 1ST INSTALLMENT PAID 12/10/19 ***




     See reverse side for important taxpayer information.
            Case 8:20-bk-13014-MW                         Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                         Desc
      Assessment                                         MainDocument
                                                   Bill Number            Page     149 of 177
                                                                          Installment       Due Date:                           Amount Due:

    027-145-022                          2019/20 027-145-022                      2          February 1, 2020                         $6,804.77
                                                                                            If paid AFTER April 10, 2020, amount due is $7,505.24

                                                                                                        Duplicate Bill
                                    1360954                                   Pay online with e-Check (no fee) or credit / debit card (2.39% fee) at:
                                                                                                   www.slocountytax.org
  New mailing address? Line out old address and write in new address below.
  Signature required for address change _____________________________



                                                                                If paying by check, return this stub with check payable to:
RUSSELL ERICH                                                                   County Tax Collector (or "SLOCTC")
                                                                                1055 Monterey St., Room D-290
                                                                                San Luis Obispo, CA 93408


      Assessment                                  Bill Number                 Installment          Due Date:                    Amount Due:

    027-145-022                          2019/20 027-145-022                      1         November 1, 2019                                PAID

                                                                                 1st installment has been paid on December 10, 2019 $6,804.77

                                                                                                       Duplicate Bill
                                    1360954                                   Pay online with e-Check (no fee) or credit / debit card (2.39% fee) at:
  New mailing address? Line out old address and write in new address below.                        www.slocountytax.org
  Signature required for address change _____________________________




                                                                                If paying by check, return this stub with check payable to:
RUSSELL ERICH                                                                   County Tax Collector (or "SLOCTC")
                                                                                1055 Monterey St., Room D-290
                                                                                San Luis Obispo, CA 93408                              ENV1
               Case 8:20-bk-13014-MW Doc 24 Filed 11/16/20 Entered 11/16/20 20:10:27                                                                               Desc
                               QUESTIONS?
                                      MainCONTACT THESEPage
                                           Document     DEPARTMENTS
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                                                                                                                                                       1055 Monterey St., Room D-290,
  TAX COLLECTOR                                   www.slocountytax.org                      (805) 781-5831             Email: ttc@co.slo.ca.us
                                                                                                                                                         San Luis Obispo, CA 93408
PAYMENTS: The Tax Collector's office is responsible for collecting and processing tax payments. We accept as payments only those items drawn in U.S. dollars on U.S. banks.
CREDIT CARD FEE – Payments made by credit or debit cards are subject to a 2.39% fee ($3.95 minimum), which covers the charges made to the County by credit card companies.
ONLINE – Electronic bank transfers (e-Checks) and credit card payments are accepted on the Tax Collector’s website at: www.slocountytax.org
HOME BANKING – Enter Assessment Number(s) in the Account Number field.
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BY PHONE – Credit cards or e-Checks only.
IN PERSON – Cash, checks, and credit cards at the above address.
TO AVOID PENALTIES: The first installment must be paid no later than December 10 and the second installment must be paid no later than April 10. A 10% penalty is added to the
first installment after December 10, and a 10% penalty and delinquency cost are added to the second installment after April 10. If December 10 or April 10 falls on a Saturday,
Sunday, or legal holiday, payments made by 5:00 p.m. or the close of business, whichever is later, on the next business day are not considered delinquent.
IMPORTANT: The second installment cannot be paid before the first installment is paid. Partial payments are not accepted.
RETURNED PAYMENTS: If payment is returned by the bank for any reason, that payment will be removed, a returned payment fee will be added, and delinquent penalties will
accrue as required by law.
PRIOR TAXES ARE UNPAID: If this wording appears in box 8, there are delinquent taxes which could jeopardize the property. When taxes become delinquent, redemption
penalties, costs, and fees are added as required by law. Prior years’ taxes are not included in this tax bill. For payment information, including MONTHLY and ANNUAL payment plan
options, contact the Redemption Division of the Tax Collector's office at (805) 781-5836.
RESPONSIBILITY OF TAXPAYER: The taxpayer is responsible to ensure that the taxes are paid. Failure to receive a tax bill does not relieve the taxpayer of the responsibility to
pay the taxes when they become due and payable and does not provide a basis for removing penalties. Examine the bill carefully before paying. Be certain it covers your property.
The property description is located in box 6. Be certain that you have obtained a bill for each assessment for which you are responsible. The Tax Collector does not determine the
amount of tax you pay.
TAX BILL CALCULATIONS: The Auditor-Controller's office is responsible for calculating taxes due by multiplying the assessed value of your property by the tax rate shown in box
13, plus any special assessments shown in box 13. Tax rates are established by the County Board of Supervisors.
DISTRIBUTION OF TAXES: Additional information regarding the distribution of property taxes may be obtained at: http://www.slocounty.ca.gov/acttc/property-tax-allocation
PROPERTY TAX POSTPONEMENT FOR SENIOR CITIZENS, BLIND, OR DISABLED PERSONS:
The State Controller’s Office (SCO) administers the Property Tax Postponement (PTP) program, which allows eligible homeowners to postpone payment of current-year property
taxes on their primary residence. PTP applications are accepted from October 1 to February 10 each year.
Go to the SCO website at http://www.sco.ca.gov/ardtax_prop_tax_postponement.html for more information. If you have any questions, call 800-952-5661 or email
postponement@sco.ca.gov


                                                                                                                                                             1055 Monterey St., Room D-360,
        ASSESSOR                           www.slocounty.ca.gov/assessor                   (805) 781-5643          Email: assessor@co.slo.ca.us
                                                                                                                                                               San Luis Obispo, CA 93408
ASSESSED VALUE: The Assessor's office is responsible for assessing property values. If the taxpayer disagrees with the assessed value shown in box 12, the taxpayer has the
right to an informal review by contacting the County Assessor's office. If an informal agreement cannot be reached, the taxpayer has the right to file an Application for Changed
Assessment with the County Assessment Appeals Board. Applications must be filed with the County Clerk, 1055 Monterey Street, Room D-120, County Government Center, San Luis
Obispo, CA 93408, from July 2 through September 15, or for 60 days following the mailing of any notice of assessment outside the regular period. Additional information regarding the
Assessment Appeals and forms may be obtained at: www.slocounty.ca.gov/clerk
If an informal or formal assessment review is requested, relief from penalties shall apply only to the difference between the County Assessor’s final determination of value and the
value on the assessment roll for the fiscal year covered.
ADDRESS CHANGES: Tax bills are mailed to the latest address on the Assessor’s roll. To change the mailing address, please see the stubs below or go to: www.slocountytax.org
ASSESSMENT DATE: The fiscal year is for the period of July 1 through June 30. Taxes for the current fiscal year are levied on both real and personal property as it existed at 12:01
a.m. on January 1 of the preceding fiscal year.
10% PENALTY: An asterisk (*) in box 12 next to the property value indicates the assessed valuation includes a 10% penalty pursuant to Revenue & Taxation Code Section 463.
HOMEOWNERS’ EXEMPTION REQUIREMENTS: If you filed a claim for the Homeowners' Property Tax Exemption, you declared under penalty of perjury that you are the owner of
this property and that it is your principal place of residence. You are required by law to terminate this claim if either or both of the following events occurred prior to 12:01 a.m.,
January 1: (1) ownership of the property transfers to another party, (2) your principal place of residence changes to another location. If you are not eligible for this exemption, you
must notify the Assessor in writing on or before December 10, or you will be subject to payment in the amount of taxes the exemption represents, plus applicable penalties and
interest. If you move to another home, you must file a new exemption claim for that property. The exemption cannot be transferred. To request a new Homeowners' Exemption Claim
form or if you have questions, contact the County Assessor.
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To avoid penalties, payment must be in the Tax Collector’s office by 5:00 p.m., or deposited in the United States mail or independent delivery
service, or entered online through the Tax Collector’s website prior to midnight on the delinquency date. Home Banking payments must be
entered with a posting date prior to midnight on the delinquency date. DO NOT SEND CASH BY MAIL; any loss is assumed by the taxpayer.

 If paying online: e-Check is free; fee for using credit or debit card           If paying by check:
  Go to www.slocountytax.org                                                     Make check payable to:
  Options to pay:                                                                 SLO County Tax Collector or “SLOCTC”
                                                                                  Insert this stub with your payment
                                                                     If the return envelope is not available, mail to:
             IMPORTANT – ADDRESS CHANGE
                                                                     James W. Hamilton, CPA
  If needed, please change the address information on the            County Auditor – Controller – Treasurer – Tax Collector



                                                                                                                                   2
  front of this stub, sign your name, and send with your             1055 Monterey St., Room D-290
  payment, or go to www.slocountytax.org for an address              San Luis Obispo, CA 93408
  change form to complete.




To avoid penalties, payment must be in the Tax Collector’s office by 5:00 p.m., or deposited in the United States mail or independent delivery
service, or entered online through the Tax Collector’s website prior to midnight on the delinquency date. Home Banking payments must be
entered with a posting date prior to midnight on the delinquency date. DO NOT SEND CASH BY MAIL; any loss is assumed by the taxpayer.

 If paying online: e-Check is free; fee for using credit or debit card           If paying by check:
  Go to www.slocountytax.org                                                     Make check payable to:
  Options to pay:                                                                 SLO County Tax Collector or “SLOCTC”
                                                                                  Insert this stub with your payment
                                                                     If the return envelope is not available, remit to:
             IMPORTANT – ADDRESS CHANGE
                                                                     James W. Hamilton, CPA
  If needed, please change the address information on the            County Auditor – Controller – Treasurer – Tax Collector



                                                                                                                                   1
  front of this stub, sign your name, and send with your             1055 Monterey St., Room D-290
  payment, or go to www.slocountytax.org for an address              San Luis Obispo, CA 93408
  change form to complete.
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                                                                                                  Analytical Chemists

    July 1, 2019                                                                                    SOIL ANALYSIS       CC 1981978:1-3
                                                                                                    Customer ID : 8-1089
   Buttonwillow Warehouse Company                                                                   Sampled On : June 17, 2019
   Attn: Eric Browning                                                                              Sampled By : Pedro Guillen
   2203 Wisteria Lane                                                                               Received On : June 18, 2019
   Paso Robles, CA 93446                                                                            Depth       : 5"
   Analytical Results for R.R. Live Oak
                                                                       Syrah Soil Analysis - Primary and Secondary Nutrients
                                                        PPM              PPM            PPM          meq/L             PPM            meq/L                PPM               meq/L              PPM          meq/L           meq/L
             Sample Area                 Variety
                                                      Nitrate-N       Phosphorus       Exch. K       Sol. K          Exch. Ca         Sol. Ca            Exch. Mg           Sol. Mg           Exch. Na       Sol. Na         Sulfate

   Field 2: System 4 Syrah                Syrah     11.7             20             200           0.128   (2%)     6950             6.03    (72%)      397               1.06   (13%)       60             1.14    (14%)   0.863
   Field 1: System 19 Syrah               Syrah     19.7             30             160           0.206   (2%)     5630             7.73    (62%)      440               2.25   (18%)       70             2.36    (19%)   1.94
   Field 1: System 12 Syrah               Syrah     20.3             13             110           0.146   (1%)     5430             8.06    (62%)      451               2.53   (20%)       60             2.21    (17%)   2.60



                                                                    Syrah Soil Analysis - Micro Nutrients and Base Saturation
                                             PPM      PPM                  PPM           PPM         PPM               meq/L         meq/100g               %                %                     %           %               %
             Sample Area
                                             Zinc   Manganese              Iron         Copper       Boron            Chloride         CEC               CEC - Ca         CEC - Mg               CEC - K    CEC - Na         CEC - H

   Field 2: System 4 Syrah            1.9           5.6              7.7            1.8           0.12             0.36             38.7               89.7              8.45               1.30           0.651           < 1.00
   Field 1: System 19 Syrah           10.5          9.7              8.2            1.3           0.15             2.26             32.4               86.7              11.2               1.23           0.880           < 1.00
   Field 1: System 12 Syrah           3.6           6.6              6.9            1.2           0.19             2.16             31.3               86.6              11.9               0.885          0.767           < 1.00



                                                                                   Syrah Soil Analysis - Additional Elements
                                          Units           dS/m                           %          Tons/AF              Tons/AF                     Moisture                               %
             Sample Area                                                   SAR
                                           pH             ECe                         Limestone   GypReq Calc.           Lime Req      %            Low Opt       High                  Saturation

   Field 2: System 4 Syrah            7.73          0.68             0.6            20.2          < 0.50             0               17.8                                 63.4 (Clay )
   Field 1: System 19 Syrah           7.75          1.09             1.1            41.0          < 0.50             0               22.8                                 68.3 (Clay )
   Field 1: System 12 Syrah           7.79          1.12             1.0            36.8          < 0.50             0               22.5                                 66.5 (Clay )
   Good                                               Problem     Low                    High         Indicates physical conditions and/or phenological and amendment requirements.
   Note: Color coded bar graphs have been used to provide you with 'AT-A-GLANCE' interpretations.
   Note: Soils with gypsum requirements over 10 tons should be applied incrementally at a maximum of 10 tons per acre per year and reanalyzed yearly after each application.




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Santa Paula, CA 93060                                      Stockton, CA 95215                            Chico, CA 95926                                        San Luis Obispo, CA 93401                   Visalia, CA 93291
TEL: (805)392-2000                                         TEL: (209)942-0182                            TEL: (530)343-5818                                     TEL: (805)783-2940                          TEL: (559)734-9473
Env FAX: (805)525-4172 / Ag FAX: (805)392-2063             FAX: (209)942-0423                            FAX: (530)343-3807                                     FAX: (805)783-2912                          FAX: (559)734-8435
CA ELAP Certification No. 1573                             CA ELAP Certification No. 1563                CA ELAP Certification No. 2670                         CA ELAP Certification No. 2775              CA ELAP Certification No. 2810
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July 1, 2019                                                          SOIL ANALYSIS                 CC 1981978:1-3
Buttonwillow Warehouse Company                                        Customer ID : 8-1089
 SOIL ANALYSIS         Footnotes and comments:
1) The need for soil Nitrate is dependent upon crop phenology (Growth Stage) and crop requirement. A soil Nitrate level of 10 - 40 ppm is
preferred for a short time during critical periods of uptake into the vine. It is highly desirable to have low soil Nitrate (< 5ppm) prior to winter
rainfall and cold soil conditions. Use the leaf Nitrogen level to determine primary Nitrogen requirement.
2) The color code for each plant nutient reflects the relative nutrient availablitity for each nutrient as it is influenced by pH, soil texture, CEC,
limestone, salinity and organic matter content.
If you have any questions regarding your results, please call.
                                                           FRUIT GROWERS LABORATORY, INC.


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                                                           Scott Bucy, Director of Ag. Services
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  July 1, 2019                                                                                   Recommendation          CC 1981978:1-3
                                                                                                 Customer ID : 8-1089
   Buttonwillow Warehouse Company                                                                Sampled On : June 17, 2019
   Attn: Eric Browning                                                                           Sampled By : Pedro Guillen
   2203 Wisteria Lane                                                                            Received On : June 18, 2019
   Paso Robles, CA 93446                                                                         Depth       : 5"
   Analytical Results for R.R. Live Oak
  Based on the results of the laboratory analysis conducted on your soil samples, the following are our recommendations.



                                                                                      Soil Recommendation for Syrah
                                                      N       P2O5       K2O              Ca         Mg            SO4              Zn       Mn           Fe          Cu           B         Lime Req
           Sample Area                  Variety
                                                  Nitrogen Phosphorus Potassium         Calcium   Magnesium       Sulfur           Zinc   Manganese      Iron       Copper       Boron       Tons/AF

 Field 2: System 4 Syrah                 Syrah      70          185          120         None        None           65         None         None          56         None        1.60            0
 Field 1: System 19 Syrah                Syrah      50          335          120         None        None          None        None         None          62         None        1.60            0
 Field 1: System 12 Syrah                Syrah      45          365          300         None        None          None        None         None          66         None        1.40            0
 Lbs/Acre/Year    Applied via                       Soil        Soil         Soil         Soil        Soil         Soil            Soil      Soil        Soil         Soil       Soil           Soil




   If you have any questions regarding your results, please call.
                                                                                    FRUIT GROWERS LABORATORY, INC.


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                                                                                    Scott Bucy, Director of Ag. Services




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    July 1, 2019                                                                                   PLANT ANALYSIS CC 1981978:4-5, 7-8
                                                                                                   Customer ID : 8-1089
   Buttonwillow Warehouse Company                                                                  Sampled On : June 17, 2019
   Attn: Eric Browning                                                                             Sampled By : Pedro Guillen
   2203 Wisteria Lane                                                                              Received On : June 18, 2019
   Paso Robles, CA 93446
   Analytical Results for R.R. Live Oak
                                                                                           Syrah Plant Tissue Analysis
                                            %            %               %              %            %                 ppm        ppm               ppm            ppm            ppm          %
               Sample Area
                                         Nitrogen    Phosphorus      Potassium       Calcium     Magnesium             Zinc    Manganese            Iron          Copper         Boron       Sodium

   Field   2: System   4 Syrah        3.59           0.288          0.916          2.33          0.240          70.0          58              160            11              41.1          0.029
   Field   1: System   19 Syrah       3.59           0.359          0.922          1.44          0.281          93.5          73              130            14              54.5          0.034
   Field   1: System   15 Syrah       3.92           0.321          0.653          1.96          0.285          56.6          49              91             9               74.9          0.028
   Field   1: System   12 Syrah       3.83           0.270          0.777          2.18          0.297          79.9          70              102            8               70.7          0.024
      Optimum Range - Average            3.5 - 4.5    0.25 - 0.50     1.2 - 1.4      1.5 - 3.5    0.23 - 0.50     30 - 150         30 - 200     100 - 250          6 - 20        25 - 40     0.0 - 0.15
   Good                                              Problem      Low              High
   Note: Color coded bar graphs have been used to provide you with 'AT-A-GLANCE' interpretations.


   If you have any questions regarding your results, please call.
                                                                                      FRUIT GROWERS LABORATORY, INC.


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    July 1, 2019                                                                                   PLANT ANALYSIS CC 1981978:6
                                                                                                   Customer ID : 8-1089
   Buttonwillow Warehouse Company                                                                  Sampled On : June 17, 2019
   Attn: Eric Browning                                                                             Sampled By : Pedro Guillen
   2203 Wisteria Lane                                                                              Received On : June 18, 2019
   Paso Robles, CA 93446
   Analytical Results for R.R. Live Oak
                                                                                          Mourvedre Plant Tissue Analysis
                                            %            %               %              %            %                 ppm        ppm                ppm            ppm            ppm          %
             Sample Area
                                         Nitrogen    Phosphorus      Potassium       Calcium     Magnesium             Zinc    Manganese             Iron          Copper         Boron       Sodium

   Field 1: System 20 Mourvedre       2.95           0.230          0.716          1.68          0.264          61.7          55              86               9              66.1          0.020
      Optimum Range - Average            3.5 - 4.5    0.25 - 0.50     1.2 - 1.4      1.5 - 3.5    0.23 - 0.50     30 - 150         30 - 200        100 - 250        6 - 20        25 - 40     0.0 - 0.15
   Good                                              Problem      Low              High
   Note: Color coded bar graphs have been used to provide you with 'AT-A-GLANCE' interpretations.


   If you have any questions regarding your results, please call.
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  July 1, 2019                                                                                             Recommendation          CC 1981978:4-5, 7-8
                                                                                                           Customer ID : 8-1089
   Buttonwillow Warehouse Company                                                                          Sampled On : June 17, 2019
   Attn: Eric Browning                                                                                     Sampled By : Pedro Guillen
   2203 Wisteria Lane                                                                                      Received On : June 18, 2019
   Paso Robles, CA 93446                                                                                   Depth       :
   Analytical Results for R.R. Live Oak
  Based on the results of the laboratory analysis conducted on your plant tissue samples, the following are our recommendations.



                                                                                     Plant Tissue Recommendation for Syrah
                                            N          P205           K2O           Ca           Mg               Zn          Mn              Fe           Cu             B
            Sample Area
                                        Nitrogen    Phosphorus     Potassium      Calcium     Magnesium          Zinc      Manganese         Iron        Copper         Boron

 Field 2: System 4 Syrah                  15            None           35           None           20              1             1           None         None          None
 Field 1: System 19 Syrah                 15            None           35            10            20             0.5            1            0.5         None          None
 Field 1: System 15 Syrah                None           None           35           None           20              1            1.5            1          None          None
 Field 1: System 12 Syrah                None           None           35           None           20             0.5            1             1            1           None
 Lbs/Acre/Year     Applied via            Soil          Soil          Soil          Soil          Foliar         Foliar        Foliar        Foliar       Foliar         Soil
  * Apply either the soil or the foliar but not both. The amount of nitrogen recommended (soil/foliar) accounts for the relative differences in uptake between soil applied and foliar applied nitrogen.
  See application notes for further explaination.

   If you have any questions regarding your results, please call.
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  July 1, 2019                                                                                             Recommendation          CC 1981978:6
                                                                                                           Customer ID : 8-1089
   Buttonwillow Warehouse Company                                                                          Sampled On : June 17, 2019
   Attn: Eric Browning                                                                                     Sampled By : Pedro Guillen
   2203 Wisteria Lane                                                                                      Received On : June 18, 2019
   Paso Robles, CA 93446                                                                                   Depth       :
   Analytical Results for R.R. Live Oak
  Based on the results of the laboratory analysis conducted on your plant tissue samples, the following are our recommendations.



                                                                                 Plant Tissue Recommendation for Mourvedre
                                            N          P205           K2O           Ca           Mg               Zn          Mn              Fe           Cu
            Sample Area
                                        Nitrogen    Phosphorus     Potassium      Calcium     Magnesium          Zinc      Manganese         Iron        Copper

 Field 1: System 20 Mourvedre              20           None           35           None           20              1             1             1          None
 Lbs/Acre/Year     Applied via            Soil          Soil          Soil          Soil          Foliar         Foliar        Foliar        Foliar       Foliar
  * Apply either the soil or the foliar but not both. The amount of nitrogen recommended (soil/foliar) accounts for the relative differences in uptake between soil applied and foliar applied nitrogen.
  See application notes for further explaination.

   If you have any questions regarding your results, please call.
                                                                                           FRUIT GROWERS LABORATORY, INC.


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                                                                                           Scott Bucy, Director of Ag. Services




Corporate Offices & Laboratory                              Office & Laboratory                             Office & Laboratory                           Office & Laboratory                      Office & Laboratory
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                                     FARM 960‐‐‐LIVE OAK ROAD

BLOCK NUMBER      ACRES                      VARIETY                     YEAR PLANTED               SPACING

     1             1.81                      PETITE SIRAH                   2018                     6'6 X 6'6
     2             4.54                      TEMPRANILLO                    2018                     6'6 X 6'6
     3             2.57                      PETIT VERDOT                   2020                     3'3 X 6'6
     4             0.92                 CABERNET SAUVIGNON                  2018                     6'6 X 6'6
     5             0.54                 CABERNET SAUVIGNON                  2018                     6'6 X 6'6
     6             3.48         CABERNET SAUVIGNON & PETITE VERDOT          2018                     6'6 X 6'6
     7             3.55               GRENACHE & MOURVEDRE                  2017                     6'6 X 6'6
     8             4.87                         SYRAH                       2017                     6'6 X 3'3
     9            10.33    SYRAH & CABERNET SAUVIGNON & CABERNET FRANC   2017 & 1999                  6'6 x 3'3
    10             3.83                  SYRAH & GRENACHE                   2017        6'6 X 6'6‐GRENACHE 6'6 X 3'3 SYRAH
    11             2.67               PETIT VERDOT & GRENACHE               2018                     6'6 X 6'6
    12             5.21               MOURVEDRE & GRENACHE                  2019                     6'6 X 3'3
    13             1.01                       GRENACHE                      2019                     6'6 X 3'3
    14             0.21                        VIOGNIER                     2008                     3'6 X 2'3
    15             1.84
    16             4.37                    PETIT VERDOT                     2020                     6'6 X 3'3
    17             3.94                   PETITE VERDOT                  1999 & 2020                 6'6 X 3'3
    18             1.44               CABERNET SAUVIGNON                    2017                     6'6 X 6'6
    19             2.83              NERO D'AVOLA & GRENACHE                2019                     6'6 X 3'3
    20             5.16               AGLIANICO & GRENACHE                  2019                     6'6 X 3'3
    21             0.2                 CABERNET SAUVIGNON                   2017                     6'6 X 6'6
    22             3.36                CABERNET SAUVIGNON                   2017                     6'6 X 3'3
    23              0                       UNPLANTED
    24             3.59                CABERNET SAUVIGNON                    2017                    6'6 X 6'6
    25             0.49                CABERNET SAUVIGNON                    2017                    6'6 X 6'6
    26             2.26                    PETITE SIRAH                      2018                    6'6 X 6'6
    27             2.61                    PETIT VERDOT                      2020                    6'6 X 3'3
    28             1.3                   CABERNET FRANC                      2017                    6'6 X 3'3
    29             1.66                  CABERNET FRANC                      2017                    6'6 X 3'3
    30             2.55                CABERNET SAUVIGNON                    2017                    6'6 X 6'6
    31             4.78                CABERNET SAUVIGNON                    1999                    6'6 X 3'3
    32                                 FUTURE DEVELOPMENT
   TOTAL          87.92


                                    FARM 593 SAN MARCOS ROAD

     1             6.18                     PRIMITIVO                        1997                     6' X 4
     2            16.27                CABERNET SAUVIGNON                    1998                     6' X 4
     3            11.03                     PRIMITIVO                        1998                     6' X 4
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  4         4.19                SAUVIGNON BLANC             1997               6' X 4
  5         4.64                SAUVIGNON BLANC             1997               6' X 4
  6         2.82                     SYRAH                  1998               6' X 4
  7         8.96                SAUVIGNON BLANC             1997               6' X 4
  8         6.81                   ZINFANDEL                1997               6' X 4
  9         4.32                     SYRAH                  1998               6' X 4
 10        13.14                  PETITE SIRAH              1997               6' X 4
 11         2.63                     SYRAH                  1997               6' X 4
 12         3.58                   ZINFANDEL                1997               6' X 4
 13         6.43                   ZINFANDEL                1997               6' X 4

TOTAL       91
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                                                Texas Breakdown
                          Field # 1                                               Row Spacing / Acreage
System #      # Vines            Variety/Rootstock                    6.5 x 4 =            26          Square feet
System 1                 6,749                                        43,560 / 26 =        1,675       Vines to the acre
System 2                 6,626                                        184,887 / 1675 =     110.38      Total planted acres
System 3                 6,664
System 4                 6,666                                                                 2005
System 5                 6,666                                        6.5x4
System 6                 6,745                                                                 2006
System 7                 6,185                                        6.5x2
System 8                 7,265
Total                   53,566 acres 32 all trellis & irrigation in   6.5x2                    2007



                          Field # 2                                                 Acreage by Variety
System #      # Vines            Variety/Rootstock                    Variety              Acres
System 1                 7,468                                        Merlot               18.80
System 2                 6,012                                        Zinfandel            31.00
System 3                 6,685                                        Petite Sirah         11.92
System 4                 6,390                                        Petite Verdot        12.20
System 5                 4,835                                        Syrah                3.60
Total                   31,390                                        Cabernet Sauvignon   3.96
                                                                      Viognier             1.25
                                                                      Grenache Blanc               4
                          Field # 3                                   Grenache 362              3.28
System #      # Vines            Variety/Rootstock                    Mourvedre            4           6.5 X 2
System 1                 6,701                                        Grenache                      4 6.5 X 2
System 2                 6,693                                        Tuscan Olive Trees              5-6 acres?
System 3                 6,751
System 4                 6,662                                                                 98.01
System 5                 6,792
System 6                 6,631 Cabernet Sauvignon 337, 420A
System 7                 6,739 Petite Sirah 03, 5BB
System 8                 6,756 Petite Sirah 03, 5BB
System 9                 6,591
System 10                6,735
System 11                5,976
Total                   73,027



                          Field # 4
System #      # Vines            Variety/Rootstock
System 1                 6,799
System 2                 6,741 Petite Verdot 400, 420A
System 3                 6,894
System 4                 6,470
Total                   26,904
Acres                    16.06

Grand Total         184,887 PLANTED IN 2003
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                                    ENGAGEMENT CONTRACT

Arthur O. Neudek, MAI, AI-GRS                                   Via email Arthur.Neudek@propsci.com
The Property Sciences Group, Inc.
395 Taylor Blvd, Ste. 250
Pleasant Hill, CA 94523

Business Loan Capital, Inc. would like to retain you to prepare an appraisal of the property referred to
below. You are authorized to proceed under the following parameters:

Assignment Order Date:           March 11, 2020
Assignment Due Date:             March 31, 2020
Client:                          Business Loan Capital, Inc.
Intended users:                  Business Loan Capital, Inc.
Purpose:                         Mortgage Lending
Property rights:                 Fee Simple
Approaches to value:             All relevant approaches are required
Value definitions:               Market Value - per attached guidelines
                                 Insurable Replacement Cost - per attached guidelines
                                 Liquidation Value – per attached guidelines
Report format:                   Narrative, Complete Appraisal
Fee amount:                      $6,000.00 (50% Up front-50% prior to final release of report)
Number of Report Copies:         Electronic copy (PDF)
Date of report:                  Date of inspection
Property address:                         1172 San Marcos Rd, Paso Robles Ca 93446
                                          San Marcos Vineyard APN#026-104-001

                                         1172 San Marcos Rd, Paso Robles Ca 93446
                                         Texas Road Vineyard APN# 027-145-022

                                         2380 Live Oak Rd, Paso Robles Ca 93446
                                         Live Oak Vineyard APN# 026-342-039

Property type:                   Winery/Vineyard
Name of Borrower:                TBD/Rabbit Ridge Wine Sales, Inc.
Name of Current Owner:           Erich Russell
Property contact:                Lee Codding 952-220-8216
                                 lecoddingiv@icloud.com (advisor)
Information provided:            Business Loan Capital Appraisal Guidelines


    •   The report will include an estimate of replacement cost for insurance purposes and a liquidation
        value.


    15375 Barranca Parkway, Suite B-202 ● Irvine, CA 92618 ● Phone 877-774-4240 ● Fax 949-450-2010
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    •   Disclose any sales or listings of the property within the last three years.

    •   The report will include the remaining economic life of the improvements.

    •   The site contact is to be contacted within three days of receipt of this contract.

    •   The appraisal report shall be prepared, and contain one or more statements attesting to the fact
        that it was prepared, in accordance with the Uniform Standards of Appraisal Practice 2018/19,
        the Financial Institutions Reform, Recovery and Enforcement Act of 1989, and the Interagency
        Appraisal and Evaluation Guidelines, 2010 as jointly issued by the OCC, FRB, FDIC and NCUA, as
        well as Business Loan Capital Appraisal Guidelines.

    •   The report will be reviewed by Business Loan Capital. It may also undergo a USPAP Standard 3/4
        technical review by a certified appraiser retained by the bank. Your cooperation during the
        review process is considered an integral part of this assignment.

    •   All reports must include a copy of this contract.

    •   Appraisal must include a statement that the appraiser has acted in an independent capacity and
        that the assignment is not based on a requested minimum valuation, specific valuation, or the
        approval of loan.

    •   While we have attempted to provide you with the information necessary to commence the
        assignment, we ask that you assist Business Loan Capital, Inc in completing its files on
        information on the subject property by providing Business Loan Capital, Inc copies of additional
        documents pertaining to the subject which you obtained in your investigation but which were
        not provided to you by Business Loan Capital, Inc (e.g. copies of additional financial statements,
        permits, listing brochures, plans, etc.).

    •   The appraisal must include your state appraiser license / certification number. Please note that
        you, as the principal approved appraiser, must sign the report.

Confidentiality

All documents furnished to the appraiser from Business Loan Capital, Inc are to be considered
confidential information to the appraiser pursuant to the disclosure requirements in the confidentiality
section of the ethics provision and Statement on Appraisal Standards Number 5 of USPAP. You are not
authorized to release information pertaining to the appraisal content or conclusions to any other
persons without our prior written approval. Please be aware, however, that the report will be released
to the applicant by us upon final disposition of the loan application.




    15375 Barranca Parkway, Suite B-202 ● Irvine, CA 92618 ● Phone 877-774-4240 ● Fax 949-450-2010
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Fee Payment

We will review your submission within ten (10) working days, at which time we will provide you written
comments, if any are required. You will be paid as soon as we review your response and the final report
is approved by Business Loan Capital, Inc. To expedite payment, please include with the final report an
invoice which states the amount due, as well as the address of the subject property and borrower’s
name (provided above). Omitted by BLC

If, during your investigation of the property, you should discover anything that might materially modify
the assignment or which would result in a change of terms of this agreement, please contact us
immediately.

Business Loan Capital is to be provided one electronic copy (which must be provided in Adobe Acrobat
(PDF) format and be text searchable OCR).

Upon receipt and agreement, sign and return this engagement via email to the undersigned. Should you
have any questions or need additional information to complete this appraisal, please do not hesitate to
contact me at 949-450-2000 or 877-774-4240.


Sincerely,
Business Loan Capital, Inc.




Carrie Beavers
Vice President / Loan Administrator




                                        Appraiser Acceptance:

                                        I agree to the terms of this engagement letter.



                                        (Name)


                                        Date:           3/11/2020




    15375 Barranca Parkway, Suite B-202 ● Irvine, CA 92618 ● Phone 877-774-4240 ● Fax 949-450-2010
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

17609 Ventura Blvd., Suite 314, Encino, CA 91316.

A true and correct copy of the foregoing document entitled (specify): DEBTORS' OPPOSITION TO MOTION FOR RELIEF
FROM THE AUTOMATIC STAY UNDER 11 U.S.C. § 362 (2380 Live Oak Road, Paso Robles, CA 93446, 1172 San
Marcos Road, Paso Robles, CA 93446 and APN 027-145-022); DECLARATIONS OF LEROY CODDING AND BRANT A.
SHEAFFER IN SUPPORT THEREOF will be served or was served (a) on the judge in chambers in the form and manner
required by LBR 5005-2(d); and (b) in the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/16/2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL: On (date) 11/16/2020, I served the following persons and/or entities at the last
known addresses in this bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed
envelope in the United States mail, first class, postage prepaid, and addressed as follows. Listing the judge here
constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the document is filed.




                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/16/2020, I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 11/16/2020                                 Ja’Nita Fisher                                      /s/ Ja’Nita Fisher
 Date                           Printed Name                                                    Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF) [CONTINUED]:

   •   (UST) Nancy S Goldenberg nancy.goldenberg@usdoj.gov
   •   (COUNSEL FOR FARM CREDIT) Michael J Gomez mgomez@frandzel.com,
       dmoore@frandzel.com
   •   (DEBTOR’S COUNSEL) Roksana D. Moradi-Brovia roksana@rhmfirm.com,
       matt@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla
       @rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rh
       mfirm.com;sloan@rhmfirm.com
   •   (DEBTOR’S COUNSEL) Matthew D. Resnik matt@rhmfirm.com,
       roksana@rhmfirm.com;janita@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;prisc
       illa@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@
       rhmfirm.com;sloan@rhmfirm.com
   •   United States Trustee (SA) ustpregion16.sa.ecf@usdoj.gov
   •   (COUNSEL FOR FARM CREDIT)Reed S Waddell rwaddell@frandzel.com,
       sking@frandzel.com
   •   (COUNSEL FOR FARM CREDIT) TFM Gerrick Warrington gwarrington@frandzel.com,
       sking@frandzel.com
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2. SERVED BY UNITED STATES MAIL [CONTINUED]:

Hon. Mark S. Wallace
U.S. Bankruptcy Court
Central District – S.A. Division
411 West Fourth Street, Suite 6135
Santa Ana, CA 92701-4593

Northern Holding, LLC
13217 Jamboree Rd #429
Tustin CA 92783
